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                                                    Main Document    Page 1 of 184


                     1   MORGAN, LEWIS & BOCKIUS LLP
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                     2   richard.esterkin@morganlewis.com
                         300 S Grand Ave Fl 22
                     3   Los Angeles CA 90071-3132
                         Tel: (213) 612-2500
                     4   Fax: (213) 612-2501

                     5   Attorneys for
                         Amazon Logistics, Inc.
                     6

                     7

                     8                                 UNITED STATES BANKRUPTCY COURT
                     9                                  CENTRAL DISTRICT OF CALIFORNIA
                    10                                            LOS ANGELES DIVISION
                    11

                    12   In re:                                                       Case No. 2:19-bk-14989-WB
                                                                                      Jointly Administered:
                    13            SCOOBEEZ, et al.1,                                  2:19-bk-14991-WB, and 2:19-bk-14997-WB

                    14                                                                Chapter 11
                                           Debtors and Debtors in
                    15                     Possession.           AMAZON LOGISTICS, INC.’S NOTICE
                                                                 OF MOTION AND MOTION FOR AN
                    16   _______________________________________ ORDER: (A) DETERMINING THAT
                                                                 THE AUTOMATIC STAY DOES NOT
                    17   Affects:                                REQUIRE AMAZON TO UTILIZE
                         ■ All Debtors                           DEBTOR’S SERVICES, AND (B)
                    18   □ Scoobeez, ONLY                        MODIFYING THE AUTOMATIC STAY;
                         □ Scoobeez Global, Inc., ONLY           MEMORANDUM OF POINTS AND
                    19   □ Scoobur LLC, ONLY                     AUTHORITIES AND REQUEST TO
                                                                 TAKE JUDICIAL NOTICE IN SUPPORT
                    20                                           THEREOF

                    21                                                                Date:            November 19, 2019
                                                                                      Time:            10:00 a.m.
                    22                                                                Dept.:           United States Bankruptcy Court
                                                                                                       Edward Roybal Federal Building
                    23                                                                                 255 E Temple St., Ctrm 1375
                                                                                                       Los Angeles CA 90012
                    24
                                                                                      Judge: The Hon. Julia W. Brand
                    25

                    26

                    27   1
                              The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                              Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463
                    28        Foothill Boulevard, in Glendale, California 91214.
MORGAN, LEWIS &
 BOCKIUS LLP                                                                      -1-
 ATTORNEYS AT LAW
   COSTA MESA
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                     1                                                       MOTION

                     2            Amazon Logistics, Inc. (“Amazon”) hereby moves the Court for the entry of an order: (a)

                     3   determining that the automatic stay does not require Amazon to utilize the Debtor’s services; (b)

                     4   granting it relief from the automatic stay in the event the Court determines that the automatic stay

                     5   requires Amazon to utilize the Debtors’ services; and (c) granting it relief from the stay to

                     6   terminate its contract with the Debtor.2

                     7   Dated: October 28, 2019                                     MORGAN, LEWIS & BOCKIUS LLP
                     8

                     9                                                               By:   /s/ Richard W. Esterkin
                                                                                               Richard W. Esterkin
                    10                                                               Attorneys for Amazon Logistics, Inc.
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                              This motion is not utilizing any of the Court’s mandatory relief from stay forms as those forms do not apply to
                    28        the form of relief being sought in this motion.
MORGAN, LEWIS &
 BOCKIUS LLP                                                                     -2-
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                     1                          MEMORANDUM OF POINTS AND AUTHORITIES

                     2            Amazon Logistics, Inc. (“Amazon”) respectfully submits the following Memorandum of

                     3   Points and Authorities in support of the instant motion:

                     4                                                     I.
                                                                     INTRODUCTION
                     5

                     6            This motion seeks an order: (a) that the automatic stay does not compel Amazon to

                     7   provide the debtor, Scoobeez, Inc. (“Scoobeez”), with any particular volume of business, (b) if

                     8   the Court concludes that the automatic stay applies, for relief from the stay and (c) for relief from

                     9   the automatic stay to permit Amazon to terminate its contract with Scoobeez (the “Agreement”).3
                    10   In brief, the Agreement provides that, to the extent that Amazon wishes to utilize Scoobeez’s

                    11   services, Scoobeez will provide those services pursuant to the terms and conditions of the

                    12   Agreement. The Agreement explicitly states that Amazon does not guarantee that it will utilize

                    13   Scoobeez’s services in any minimum amount, or at all:

                    14                     You acknowledge and agree that Amazon makes no promises or
                                           representations whatsoever as to the amount of business that you
                    15                     can expect at any time under these Terms …
                    16   Terms at ¶ 1(c). While the Agreement is property of the bankruptcy estate that is protected by the

                    17   automatic stay, the automatic stay does not expand Scoobeez’s rights under the Agreement,

                    18   contrary to the express terms of the Agreement, to require Amazon to utilize Scoobeez’s services

                    19   contrary to Amazon’s wishes.
                    20            The Terms also provide that either Amazon or Scoobeez may terminate the Agreement at

                    21   any time, provided that they give the other party 30 days’ notice of the termination.

                    22                     Either party may terminate these Terms at any time, with or without
                                           cause, by providing the other party with 30 days’ prior written
                    23                     notice.
                    24   Terms at ¶ 8(a). Amazon wishes to exercise that right and, accordingly, seeks an order modifying

                    25   the automatic stay to permit it to do so. Cause exists to modify the stay as requested for two

                    26

                    27   3
                              The Agreement consists of two documents, the Delivery Provider Terms of Service – Work Order (the “Work
                              Order”) and the Delivery Provider Terms of Service (the “Terms”). Copies of the Work Order and Terms,
                    28        including the 18 amendments to the Work Order are attached hereto as Exhibits 1 through 20, respectively.
MORGAN, LEWIS &
 BOCKIUS LLP                                                                  -3-
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                     1   reasons. First, Scoobeez cannot provide Amazon with adequate protection for Amazon’s interest

                     2   in the Agreement. The Agreement was carefully written to permit Amazon to cease utilizing

                     3   Scoobeez’s services by not providing Scoobeez with business and/or terminating the Agreement

                     4   on 30 days’ notice. Amazon’s ability to sever its relationship with Scoobeez is a property right

                     5   held by Amazon to which Amazon is being denied by reason of the continuance of the automatic

                     6   stay (assuming that it applies). Scoobeez cannot provide adequate protection for that property

                     7   right, other than by permitting the automatic stay to be modified so as to permit Amazon to

                     8   exercise its rights.

                     9            Second, there is no purpose to be served by continuing the automatic stay in effect. As
                    10   noted above, Amazon is not obligated to provide Scoobeez with any business. As a result, the

                    11   Agreement is of no benefit to Scoobeez. Even assuming that this Court were to approve the sale

                    12   of Scoobeez’s assets and, over Amazon’s pending objection, approve the assumption and

                    13   assignment of the Agreement to a buyer, the buyer would take the Agreement as it is written and,

                    14   as a result, would succeed to a contract under which it was not entitled to any business and,

                    15   because the automatic stay would not protect the purchaser, could be terminated 30 days

                    16   following the date upon which the sale closed. Thus, while perpetuation of the stay would

                    17   interfere with Amazon’s contractual rights, it would not confer any benefit upon Scoobeez’s

                    18   estate. As a result, cause exists to modify the stay to permit Amazon to terminate the Agreement.

                    19                                           II.
                                                THE AUTOMATIC STAY DOES NOT REQUIRE
                    20                          AMAZON TO UTILIZE SCOOBEEZ’S SERVICES
                    21            Although the automatic stay provides broad protection to debtors, it is not an amorphous

                    22   provision that enlarges the debtor’s rights. More specifically, the only section of 11 U.S.C. § 362

                    23   that is even arguably implicated here is § 362(a)(3), which stays all entities from engaging in “any

                    24   act to obtain possession of property of the estate or of property from the estate or to exercise

                    25   control over property of the estate; . . . “ It is axiomatic that a debtor’s property rights are defined

                    26   by applicable non-bankruptcy law. Butner v. Untied States, 440 U.S. 48, 55, 99 S.Ct. 914 (1979)

                    27   (“Property interests are created and defined by state law. Unless some federal interest requires a

                    28   different result, there is no reason why such interests should be analyzed differently simply
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                     1   because an interested party is involved in a bankruptcy proceeding.”).

                     2            Here, Scoobeez’s property interest in the Agreement is defined by the terms of the

                     3   Agreement itself. That property interest does not include a right to receive any Amazon business.

                     4   To the contrary, the Agreement is explicit that Amazon has made no promises or representations

                     5   as to the amount of business that Scoobeez will receive under the Agreement. As a result, under

                     6   Washington law, the covenant of good faith and fair dealing does not require Amazon to act

                     7   “reasonably” in awarding, or failing to award, Scoobeez business.4 Johnson v. Yousoofian, 84

                     8   Wash. App. 755 (1966) (“The implied duty of good faith is derivative, in that it applies to the

                     9   performance of specific contract obligations. If there is no contractual duty, there is nothing that
                    10   must be performed in good faith.” (Internal citations omitted)).5 Thus, whether Amazon elects to

                    11   provide Scoobeez with business or not, it has not interfered with Scoobeez’s interest under the

                    12   Agreement, which is limited to such business as Amazon elects to provide to Scoobeez, and the

                    13   automatic stay simply does not apply to prevent Amazon from failing to award Scoobeez

                    14   business.

                    15                                            III.
                                                   AMAZON IS ENTITLED TO RELIEF FROM
                    16                           THE STAY TO TERMINATE THE AGREEMENT
                    17            11 U.S.C. § 362(d)(1) provides that “the court shall grant relief from the stay provided

                    18   under subsection (a) of this section …(1) for cause, including the lack of adequate protection of

                    19   an interest in property of such party in interest.” Emphasis added. “‘Cause’ is not defined in that
                    20   statute, giving bankruptcy courts the flexibility to define cause in a particular case.” In re

                    21   Mantachie Apartment Homes, LLC, 488 B.R. 325, 331 (Bankr. N.D. Miss. 2013). Here, cause

                    22   exists to grant relief from the stay for two independent reasons.

                    23            First, under the terms of the Agreement, Amazon has a right, with or without cause, to

                    24   decline to provide Scoobeez with business and to terminate the Agreement on 30 days written

                    25   notice to Scoobeez. Those rights are property rights that Scoobeez contends to be stayed by the

                    26
                         4
                    27        The Agreement provides for the application of Washington law. Terms at ¶ 11(f).
                         5
                              Although not obligated to do so, Amazon has acted reasonably under the circumstances. For the Court’s
                    28        convenience, a copy of Johnson is attached hereto as Exhibit B.
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                     1   automatic stay. Computer Communications, Inc. v. Codex Corp. (In re Computer

                     2   Communications, Inc.), 824 F.2d 725 (9th Cir. 1987). As a result, Amazon is entitled to adequate

                     3   protection of those property interests or to relief from the automatic stay to exercise those

                     4   property interests. 11 U.S.C. § 362(d)(1). Scoobeez has not suggested any means of adequately

                     5   protecting those property interests, nor is there any apparent means for it to do so, other than

                     6   stipulating to relief from the stay so that Amazon can exercise its contractual rights. Thus,

                     7   Amazon is entitled to relief from the stay for lack of adequate protection.

                     8            Second, as a court of equity, when determining whether “cause” exists for modifying the

                     9   automatic stay, courts “may consider the consequences of the stay on the parties and the “balance
                    10   of hurt” in tailoring relief appropriate for the factual scenario.” In re Tudor Motor Lodge

                    11   Associates, LTD. Partnership, 102 B.R. 936 (Bankr. N.J. 1989). In this case, the Agreement

                    12   provides that Amazon has the right, with or without cause, to terminate the Agreement on 30

                    13   days’ notice to Scoobeez. That right is enforceable as written. Mayer v. Pierce County Medical

                    14   Bureau, Inc., 80 Wash. App. 416, 422 (1995) (“Provisions providing for the at will cancellation

                    15   of an agreement, although sometimes harsh, are enforceable in this State.”).6 Numerous courts

                    16   have held that, when a party has an unqualified right to terminate a contract, relief from the

                    17   automatic stay is appropriate to allow that party to exercise that right.

                    18            For example, in Matter of West Electronics Inc., 852 F.2d 79 (3rd Cir. 1988), the

                    19   government had a contract with the chapter 11 debtor that could not be assumed because,
                    20   pursuant to 11 U.S.C. § 365(c)(1), non-bankruptcy federal law prohibited assignment of the

                    21   contract. The government moved for relief from the stay to terminate the contract. The

                    22   bankruptcy court denied the motion and the district court affirmed the bankruptcy court’s

                    23   decision. The Third Circuit reversed stating:

                    24                     The bankruptcy court was, therefore, confronted with a situation in
                                           which the debtor in possession was not entitled to assume the
                    25                     contract without the government’s consent and the government was
                                           unwilling to give that consent. In that situation, the debtor in
                    26                     possession did not have a legally cognizable interest in the contract
                    27

                    28   6
                              For the convenience of the Court, a copy of Mayer is attached hereto as Exhibit C.
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                     1                     and it was an abuse of discretion for the court to decline to lift the
                                           stay.”
                     2
                         852 F.2d at 83-84. See also, Bonneville Power Administration v. Mirant Corp. (In re Mirant
                     3
                         Corp.), 449 F.3d 238 (5th Cir. 2006) (relief from stay appropriate if exception to enforcement of
                     4
                         ipso facto clause provided for in § 365(e)(2) applies); In re Adana Mortgage Bankers, Inc., 12
                     5
                         B.R. 977 (Bankr. N.D. Ga. 1980) (relief from stay granted to terminate contract that was not
                     6
                         assumable); In re National Environmental Waste Corp., 191 B.R. 832, 838 (Bankr. C.D. Cal.
                     7
                         1996) (court annuls stay retroactively to ratify discretionary termination of waste hauling contract
                     8
                         by City as, “had the City applied to the Court for relief from the automatic stay to terminate the
                     9
                         Newco contract, the Court would have routinely granted the motion.”); In re Deppe, 110 B.R.
                    10
                         898, 907 (Bankr. Minn. 1990) (court grants relief from the stay to permit termination of rejected
                    11
                         contract, stating: “11 U.S.C. § 362(a)(3) maintains a tenuous veil of protection over the estate’s
                    12
                         rights , such as they are. Nothing would be gained for creditors of the estate by preserving that
                    13
                         veil. [The non-debtor] is entitled to the relief which it requests.”).
                    14
                                  As in each of the foregoing cases, there is nothing to be gained by continuing the
                    15
                         automatic stay in effect in this case. Amazon has the right to “de facto” end the Agreement by
                    16
                         refusing to award routes to Scoobeez. But, even setting that fact aside, Amazon has the right to
                    17
                         terminate the Agreement on 30 days’ notice. The estate has now had the benefit of the automatic
                    18
                         stay preventing Amazon from exercising those rights for six months. The automatic stay “is
                    19
                         meant to preserve the status quo of the entity with an interest in the debtor’s property during a
                    20
                         reasonable length of time. The rights of the creditor are frozen, but not changed.” In re Tudor
                    21
                         Motor Lodge Associates, LTD. Partnership, 102 B.R. 936, 954 (Bankr. N.J. 1989). In sum, the
                    22
                         estate has no right to insist upon the indefinite continuation of the Agreement contrary to the
                    23
                         express provisions of the Agreement that permit Amazon to decline to do business with Scoobeez
                    24
                         and to terminate the Agreement at its will on 30 days’ notice.
                    25
                                  Not only does the estate not have the right to prevent Amazon from terminating the
                    26
                         Agreement for an indefinite period of time, but the Agreement is not something that can provide
                    27
                         the foundation for a reorganization or that the estate can sell. If Scoobeez does not sell its
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 BOCKIUS LLP                                                                 -7-
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                     1   business and attempts to reorganize, at such time as the Agreement vests in the reorganized

                     2   debtor, the automatic stay will terminate and Amazon will be free to exercise its termination right.

                     3   11 U.S.C. § 362(c)(1). If Scoobeez is successful in assigning the Agreement to a buyer, similarly,

                     4   the automatic will terminate because the Agreement will no longer be property of the estate. Id.

                     5   In either case, the Agreement is not an asset that will further Scoobeez’s reorganization in any

                     6   material way, whether this case proceeds as a liquidation or a true reorganization. Having

                     7   supported Scoobeez’s reorganization efforts for the past six months by continuing to provide

                     8   Scoobeez with routes and refraining from seeking relief from the automatic stay to exercise its

                     9   termination right, Amazon is now entitled to relief from the stay.
                    10                                                 IV.
                                                                   CONCLUSION
                    11

                    12            Under the terms of the Agreement and Washington law, Scoobeez does not have any

                    13   cognizable property right to require Amazon to utilize its services. As a result, were Amazon to

                    14   reduce the number of routes assigned to Scoobeez, it would not violate the automatic stay’s

                    15   prohibition on acts to obtain or exercise control over property of Scoobeez’s bankruptcy estate.

                    16            In addition, because the Agreement and Washington law provide that Amazon has the

                    17   unfettered right to terminate the Agreement without cause, Amazon is entitled to relief from the

                    18   automatic stay to exercise that right. Scoobeez cannot provide adequate protection to Amazon for

                    19   the automatic stay’s deferral of that right and, in any event, because the continuation of the stay
                    20   cannot confer any lasting benefit upon the estate, cause exists to modify the stay.

                    21   Dated: October 28, 2019                             MORGAN, LEWIS & BOCKIUS LLP
                    22

                    23                                                       By:   /s/ Richard W. Esterkin
                                                                                       Richard W. Esterkin
                    24                                                       Attorneys for Amazon Logistics, Inc.
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MORGAN, LEWIS &
 BOCKIUS LLP                                                             -8-
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                     1                             REQUEST TO TAKE JUDICIAL NOTICE

                     2            Pursuant to the provisions of Federal Rule of Evidence 201, Amazon Logistics, Inc.

                     3   hereby requests that the Court take judicial notice of the contents of the Declaration of Vanessa

                     4   Delaney filed as part of Amazon Logistics, Inc.’s Objection to Assumption and Assignment of

                     5   Delivery Provider Terms of Service Work Order; and Declarations of Vanessa Delaney and Zane

                     6   Brown in Support Thereof, filed herein at Docket No. 349. For the convenience of the Court and

                     7   the parties, a copy of the foregoing declaration, together with the exhibits to that declaration, is

                     8   attached hereto as Exhibit A.

                     9   Dated: October 28, 2019                             MORGAN, LEWIS & BOCKIUS LLP
                    10

                    11                                                       By:    /s/ Richard W. Esterkin
                                                                                        Richard W. Esterkin
                    12                                                        Attorneys for Amazon Logistics, Inc.
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                    2                                  CERTIFICATE       OF SERVICE FORM

                    3                                     FOR ELECTRONIC          FILINGS

                    4             I hereby certify that on October 28,2019, I electronically filed the foregoing document,

                    5   Amazon Logistics, Inc.'s Notice of Motion and Motion for An Order:             (A) Determining That

                    6   the Automatic Stay Does Not Require Amazon to Utilize Debtor's Services. and (B)

                    7   Modifying the Automatic Stay; Memorandum            of Points and Authorities and Request to

                    8   Take Judicial Notice in Support Thereof, with the Clerk of the United States Bankruptcy

                    9   Court, Central District of Califomi a, Los Angeles Division, using the CM/ECF       system, which

                   10   will send notification of such filing to those parties registered to receive notice on this matter.

                   11

                   12                                                  Renee Robles
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  BOCKIUS LLP
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                 EXHIBIT A
                             Exhibit A - page 11
                Case
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                     2:19-bk-14989-WB             Doc
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                                                                     Page 8 of 168


                     1                              DECLARATION OF VANESSA DELANEY

                     2            I, Vanessa Delaney, declare:

                     3            1.       I am employed by Amazon Logistics, Inc. as a Contractor Relations Principal. As

                     4   a result, I am familiar with the contractual relationship between Amazon Logistics, Inc.

                     5   (“Amazon”) and Scoobeez, Inc. (“Scoobeez”).

                     6            2.       The contractual relationship between Amazon and Scoobeez is documented in two

                     7   agreements: a Delivery Provider Terms of Service Work Order (the “Work Order”) and a

                     8   Delivery Service Provider Terms of Service, which is incorporated into the Work Order, (the

                     9   “Terms”). Copies of the Work Order and Terms are attached hereto as Exhibits 1 and 2,
                    10   respectively.

                    11            3.       The distribution points from which Scoobeez is to receive materials from Amazon

                    12   for delivery are set forth in Schedule B to the Work Order. The fees payable to Scoobeez for its

                    13   delivery services from the various distribution points are set forth in Exhibit C to the Work Order.

                    14   Over time, both the distribution points and the fees varied. As a result, there are 18 amendments

                    15   to the Work Order that document those changes. Attached hereto as Exhibits 3 through 20 are

                    16   copies of the foregoing amendments.

                    17            4.       As of September 6, 2019, Amazon and Amazon.com, Inc. had been named as

                    18   defendants in at least three lawsuits in which the plaintiffs contended that Scoobeez had violated

                    19   various labor laws and that each of Amazon and Amazon.com, Inc. were liable to them as “co-
                    20   employers” with Scoobeez:

                    21                     (a)    Jassim Addal v. Amazon.com, Inc., et al., Los Angeles County Superior

                    22                            Court Case No. BC719783;

                    23                     (b)    Unta Key, et al. v. Scoobeez, et al., San Diego County Superior Court Case

                    24                            No. 37-2017-00018285, consolidated with Case No. 37-2017-0039527; and

                    25                     (c)    Bennie Hamilton v. Scoobeez, Inc., et al., Los Angeles County Superior

                    26                            Court Case No. BC669835.

                    27            5.       To date, Scoobeez has not provided Amazon or Amazon.com, Inc. with a defense

                    28   in the foregoing litigation or indemnified them with respect to the plaintiffs’ claims. To date,
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 BOCKIUS LLP                                                              -8-
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                                                         Exhibit A - page 12
   COSTA MESA
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                       1   Amazon and Amazon.com, Inc. have incurred defense costs in connection with the foregoing

                       2   litigation and have not been reimbursed by Scoobeez for those costs.

                       3          I declare under penalty of perjury that the foregoing is true and correct and that this
                                                       Hoboken
                       4   declaration was executed at _______________, New Jersey on September 30
                                                                                                __, 2019.

                       5
                                                                                 _____________________________
                       6                                                         Vanessa Delaney
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  BOCKIUS LLP                                                              -9-
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                                                         Exhibit A - page 13
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Case
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     2:19-bk-14989-WB   Doc
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                           EXHIBIT 1

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                                             Delivery Provider Terms of Service

                                                             Work Order

            This Work Order (this “Work Order”) is effective as of September 2, 2015 (“Work Order
            Agreement Date”), and is made a part of the Delivery Provider Terms of Service (as the same
            may be amended, modified or supplemented from time to time, the “Terms”) between Amazon
            Logistics, Inc. (“Amazon”), and Scoobeez, Inc., a California corporation (“you”). By accepting
            this Work Order, you (a) agree to be bound by all terms and conditions of this Work Order, and
            (b) represent and warrant that you have legal authority to enter into and perform your obligations
            under this Work Order. This Work Order incorporates the terms and conditions of each
            Schedule attached to this Work Order (including the policies set forth on Schedule A to this
            Work Order (the “Policies”)). Please see the Terms for definitions of certain capitalized terms
            used in this Work Order.

            1.      Services. Services under this Work Order will commence on the Work Order Agreement
            Date, and this Work Order will be subject to the same termination rights set forth in the Terms.
            Deliverables may be tendered by Amazon or its designees from delivery stations, sort centers,
            fulfillment centers, and/or other distribution points (including merchant locations) (collectively,
            the “Distribution Points”) and accepted by you Monday through Sunday, 365 days a year, at
            times and days designated by Amazon. The initial Distribution Points at which Deliverables will
            be tendered are set forth on Schedule B to this Work Order. Amazon and you may from time to
            time and at any time update the Distribution Points set forth on Schedule B to this Work Order.
            Deliveries of Deliverables are to be made on the same day they are tendered to you and within
            the delivery time window specified by Amazon. You will perform the Services in accordance
            with the Policies and with any standard operating procedures (including those relating to check-
            in and loading of Deliverables at Distribution Points and the delivery of Deliverables to Amazon
            customers) that are agreed between Amazon and you from time to time.

            2.     Service Areas. Deliverables will be delivered within the geographic areas serviced by
            the Distribution Points set forth on Schedule B to this Work Order, as updated from time to time
            by Amazon and you.

            3.     Fees Payable by Amazon. The Fees for Services set forth on Schedule C to this Work
            Order are the rates and charges to be charged to and paid by Amazon in consideration of the
            Services furnished by you.

            4.      Insurance. You will, at all times during which you provide the Services and for at least
            two years after all Services are completed, carry, at your expense: (a) “Commercial General
            Liability” insurance with limits of not less than $1,000,000 per occurrence and $2,000,000 in the
            general aggregate (or such other amounts approved by Amazon in writing); (b) “Business
            Automobile Liability” insurance (also known as ‘motor fleet’ insurance) with limits of not less
            than $1,000,000 per occurrence for bodily injury and property damage combined (or such other
            amount approved by Amazon in writing); (c) “Worker’s Compensation” insurance, including but
            not limited to coverage for all costs, benefits and liabilities under workers’ compensation and
            similar Laws that may accrue in favor of any person employed by you in all states where you
            perform Services, and “Employer’s Liability” insurance with a limit of not less than $1,000,000




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            (or such other amount approved by Amazon in writing); and (d) “Cargo Legal Liability”
            insurance, or similar coverage, with limits sufficient to cover your liability under Section 6
            (Claims for Loss or Damage) of the Terms, but in no event less than $25,000 per loss (or such
            other amount approved by Amazon in writing). You may satisfy the foregoing minimum limits
            by any combination of primary liability and umbrella excess liability coverage that results in the
            same protection to you and Amazon insured parties. You may self-insure for workers’
            compensation where allowed by applicable Law. Each of your insurance policies must: (u) be
            issued by companies with a rating of A-/VII or better in the current Best’s Insurance Reports
            published by A.M. Best Company, Inc.; (v) provide that the coverage limits will not be reduced
            below the minimum amounts required by this paragraph and such policy will not be canceled or
            allowed to expire without at least 30 days’ prior written notice from the insurance carrier to
            Amazon; (w) for (a) and (b) above, name Amazon and its Affiliates, and their respective officers,
            directors, employees, successors, assigns, licensees, distributors, contractors and agents as
            additional insureds with the standard separation of insureds provision or an endorsement for
            cross-liability coverage; (x) provide coverage on an occurrence basis; (y) waive any insurer right
            of subrogation against Amazon and its Affiliates and their respective officers, directors,
            employees, successors, assigns, licensees, distributors, contractors and agents, where allowed by
            applicable Law; and (z) provide primary coverage, without any right of contribution from any
            other insurance that Amazon or any of its Affiliates may have.

            5.     Audit Rights. Upon 72 hours’ advance written notice to you, Amazon may, during
            normal business hours and at the expense of Amazon, review your records relating to the Terms,
            the Program Policies, this Work Order or your performance of the Services under this Work
            Order. Upon 24 hours’ advance written notice to you, Amazon may, during normal business
            hours and at the expense of Amazon, perform an on-site visit of your delivery operations or
            conduct “ride-along” observations of your Personnel performing the Services (each, a “Ride-
            Along Observation”); provided, that, without your consent, (a) during the first week of providing
            the Services under this Work Order, Amazon will conduct no more than one Ride-Along
            Observation per day, and (b) after the first week of providing the Services under this Work
            Order, Amazon will conduct no more than four Ride-Along Observations per month. If any
            review establishes that there has been any noncompliance by you or overpayment by Amazon,
            you will promptly cure the non-compliance and/or refund the overpayment, as applicable, and
            will bear all expenses in connection with the review, all without limiting any other rights or
            remedies that may be available to Amazon. Also, upon 24 hours’ advance written notice,
            Amazon may, during normal business hours and at the expense of Amazon, inspect any of the
            processes, procedures, or systems related to your delivery operations.

            6.     Personnel Performing Services. You agree that you and all of your Personnel that
            perform the Services will satisfy the criteria set forth in the Policies and on Schedule F to this
            Work Order.

            7.     Notices to Amazon. Notices to Amazon under this Work Order or the Terms may be
            provided by (a) facsimile transmission to 206-266-2009, or (B) nationally recognized overnight
            courier service, certified mail (return receipt requested), or personal delivery to Amazon
            Logistics, Inc., 410 Terry Avenue North, Seattle, WA 98109-5210, Attention: General Counsel.

                                                    [Signature Page Follows]




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                           IN WITNESS WHEREOF, properly authorized representatives of the undersigned
            have executed this Work Order.

             Amazon Logistics, Inc.                                Scoobeez, Inc.


             By:                                                   By:
                        Hany Elkordy                                          Benjamin Art
             Name:                                                 Name:
                        Director, AMZL NA                                     CEO
             Title:                                                Title:
                               August 18, 2015                                      August 17, 2015
             Date Signed: _________________________                Date Signed: _________________________




                                                   [Signature Page to Work Order]



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                                                             Schedule A

                                                              Policies

            Your Personnel; No Subcontractors.

            Except as otherwise provided in this Work Order, (a) you will hire and employ all drivers,
            cyclists, walkers, and other Personnel who are assigned by you to perform the Services under
            this Work Order, and (b) you will not engage subcontractors to perform the Services without the
            prior                 written               consent                 of                Amazon.




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                                                             Schedule B

                                                       Distribution Points

                1. UCA3 – Los Angeles, CA

                2. UCA4 – Irvine, CA

                3. UCA5 – Los Angeles, CA




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                                                             Schedule C

                                                   Fees Payable by Amazon

            Prime Now

            Distribution       Duration of           Fees for Services    Uniform and     Total (per
            Point              Planned Route         (per Planned         Vehicle Brand   Planned Route)
                                                     Route)               Promotion Fee
                                                                          (per Planned
                                                                          Route)
            UCA3, UCA4,        4.5 hours             $81.00               $5.00           $86.00
            and UCA5           6.5 hours             $124.00              $5.00           $129.00
                               8.5 hours             $167.00              $5.00           $172.00
                               10.5 hours            $210.00              $5.00           $215.00

            For a period of three weeks commencing on the date on which you perform your first Planned
            Route under this Work Order, you will be permitted to engage independent contractors to
            perform the Services. Thereafter, unless you obtain prior written consent from Amazon to the
            contrary, you will hire and employ all drivers, cyclists, walkers, and other Personnel who are
            assigned by you to perform the Services under this Work Order. Notwithstanding the existence
            or terms of any subcontract, you will remain responsible for the full performance of the Services
            in accordance with the Terms and this Work Order. The terms and conditions of this Work
            Order and the Terms are binding upon you, your Affiliates and your and their respective
            Personnel. You will (a) ensure that such entities and individuals comply with this Work Order
            and the Terms, and (b) be responsible for all acts, omissions, negligence and misconduct of such
            entities and individuals. You will also ensure that all of your independent contractors effectively
            and irrevocably waive any lien upon (or other right with respect to) the Deliverables transported,
            regardless of whether such independent contractor would otherwise be entitled to such lien or
            other rights under contract or applicable Law, and waive any claim (including for amounts owed
            for delivery services) against Amazon, its Affiliates and any recipient. Without in any way
            limiting your obligations or Amazon’s rights under Section 9 (Indemnification) of the Terms, if
            any of your independent contractors asserts any claim, demand, suit, or action (an “IC Claim”)
            against Amazon or any of its Affiliates and you are then undergoing any bankruptcy proceeding,
            then Amazon may at its sole discretion, but is not obligated to, defend or settle such IC Claim at
            your cost and expense; provided, that, for the avoidance of doubt, if Amazon incurs or pays any
            loss, damage, settlement, cost, expense or any other liability (including reasonable attorneys’
            fees) relating to such IC Claim, Amazon may set off such amounts in full against any amounts
            Amazon owes to you or demand immediate full reimbursement from you.




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                                                             Schedule D

                                                    Uniform Specifications
            Uniform Shirt and Jacket:

            To be determined from time to time by Amazon.

            Uniform Pants or Shorts:

            To be determined from time to time by Amazon.

            Uniform Hat:

            To be determined from time to time by Amazon.




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                                                             Schedule E

                                               Vehicle Branding Specifications

            Upon a request from Amazon, you agree to make available for branding by Amazon any and all
            Vehicles that will be used to provide Services under this Work Order. If required by Amazon,
            such Vehicles must be branded before they are used to provide Services under this Work Order.
            Unless Amazon agrees otherwise, Vehicles that display Amazon branding will be dedicated
            exclusively to the Services and will not be used for any other purpose.




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                                                             Schedule F

                                                  Delivery Personnel Criteria

            Minimum Delivery Personnel Requirements

            All of your delivery Personnel must satisfy the following requirements:

                    Must possess valid driver’s license of the type required by Law to operate applicable
                     Vehicles and transport applicable Deliverables
                    Minimum age: 21
                    Minimum six months of verifiable experience in like Vehicle within last three years
                    No DUI/DWI within five previous years
                    No major preventable collisions within three previous years
                    Maximum of two non-serious moving violation convictions or preventable minor
                     collisions or any combinations thereof in a commercial or personal vehicle within
                     previous three years
                    No driver’s license suspensions within previous three years relative to a moving violation
                     in a commercial or personal vehicle
                    Pass a drug and alcohol screening test
                    Pass a background verification (described further below)
                    Verify competency in critical skill areas for the specific driving position

            Background Verification

            You will require each applicant to provide a Social Security Number (“SSN”) or equivalent
            unique identifier, and will conduct a SSN search confirming that the supplied SSN is valid and
            that it correctly identifies the applicant. The SSN search (“SSN Search”) must include:

            1.       An identification of aliases via SSN search results; and

            2.     A search by all aliases (including those provided by SSN search and those supplied by
            applicant) when conducting each criminal records search.

            You will conduct:

            1.     a search of the National Criminal Database and a search in each county and
            corresponding federal district, if any, in which a criminal history is identified by the National
            Criminal Database search;

            2.      a federal crimes search of all federal districts in which the applicant has lived within the
            past seven years (as determined by a self-report and the SSN search);

            3.     a felony and misdemeanor search of all county courts in which the applicant has lived in
            the past seven years (as determined by a self-report and the SSN Search); provided, that for
            former addresses located within AL, AK, AR, CO, CT, DE, DC, ID, MD, MN, NE, NJ, NM,




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            NY, NC, ND, OR, RI, SD, UT, WA, and WI only, a “statewide” search is permitted in lieu of a
            county court search;

            4.     a search of the U.S. Department of Justice’s National Sex Offender Database and a search
            in each county and corresponding federal district, if any, in which a criminal history is identified
            by the National Sex Offender Database; and

            5.     a search of any relevant national governmental restricted or prohibited dealings lists,
            including the Office of Foreign Assets Control (OFAC) Specially Designated Nationals and
            Blocked Persons List.

            Criminal History Review

            Background checks should be adjudicated on a case by case basis using your best judgment to
            protect Amazon’s and your respective employees, customers, data, and property. The factors
            listed below can help the decision-making process:
                    a)       the nature of the job to be performed, including the job’s duties, identification of
                             the job’s essential functions, the circumstances under which the job is performed,
                             and the environment in which the job’s duties are performed;
                    b)       type of offense(s) or conduct;
                    c)       facts or circumstances surrounding the offense or conduct;
                    d)       number of offenses for which the individual was convicted;
                    e)       age at the time of conviction or release from prison;
                    f)       evidence that the individual performed the same type of work post-conviction;
                    g)       length and consistency of employment history before and after the offense or
                             conduct;
                    h)       rehabilitation efforts;
                    i)       employment or character references; and
                    j)       whether the individual is bonded under a federal, state, or local bonding program.




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                       DELIVERY PROVIDER TERMS OF SERVICE
                              (Last Updated: June 21, 2016)

        These Delivery Provider Terms of Service (these “Terms”) contain the terms and
conditions that govern your performance of the Services and constitute a legally binding agreement
between the applicable Amazon Contracting Party or any of its Affiliates that enters into a Work
Order under these Terms (“Amazon”), on the one hand, and you or the entity that you represent
(“you”), on the other hand. These Terms take effect on the date when you click an “Agree” or
similar button or check box presented with these Terms or, if earlier, when you begin to perform
the Services (the “Effective Date”). By accepting these Terms, you (a) on behalf of yourself and
the entity that you represent, agree to be bound by all terms and conditions of these Terms, and (b)
represent and warrant that you have legal authority to bind the entity that you represent to these
Terms. Please see Section 11 for definitions of certain capitalized terms used in these Terms.

1.     Services.

        a.      Work Orders. At Amazon’s request and as specified in one or more work orders
that become binding on you (whether by executing the same or otherwise agreeing to the applicable
terms, including pursuant to the functionality of the Site) (“Work Orders”), you will provide
transportation, delivery and related services (whether on foot, by bicycle, by motor vehicle, or
otherwise) (“Services”, as such term is further described in any Work Order) in accordance with
the terms and conditions of these Terms, the Program Policies, and any performance standards set
forth in each applicable Work Order. These Terms and the Program Policies govern each Work
Order, and if you commence Services for Amazon in the absence of a Work Order, these Terms
and the Program Policies will nevertheless apply.

        b.     Affiliates. Any Affiliate of the applicable Amazon Contracting Party may enter
into Work Orders with you pursuant to these Terms, and with respect to such Work Orders, such
Affiliate becomes a party to these Terms and references to Amazon in these Terms are deemed to
be references to such Affiliate. Each Work Order is a separate obligation of the Affiliate of the
applicable Amazon Contracting Party that is named in such Work Order, and neither the Amazon
Contracting Party nor any other Affiliate of the Amazon Contracting Party has any obligation
under such Work Order.

        c.      No Minimum Volume/No Exclusivity. You acknowledge and agree that Amazon
makes no promises or representations whatsoever as to the amount of business that you can expect
at any time under these Terms, whether before or after any Work Order becomes binding on you.
Amazon may from time to time give volume, density, weight, product distribution or other
projections to you, but such projections are speculative only and will not in any event give rise to
any liability on the part of Amazon. The parties acknowledge and agree that Amazon may engage
the services of other companies that may perform the same or similar services as those provided
by you. These Terms do not obligate you to perform any Services unless and until a Work Order
has become binding on you in accordance with Section 1.a.




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2.    Personnel Performing Services; Relationship of the Parties; Transportation
Authority; Vehicles; License of Equipment.

       a.      Personnel Performing Services; Relationship of the Parties.

               i.      Each driver, cyclist, walker, and other Personnel provided by you to
perform the Services will: (i) have such credentials (e.g., background investigation or references
and drug screening), skills, training and expertise as are required by Law, the Program Policies
and each applicable Work Order and otherwise be suitable and appropriate to perform the Services;
and (ii) have satisfactorily completed your delivery person training program (as applicable) and
any other vetting process that you have established prior to providing any Services to or on behalf
of Amazon. You will not permit any of your Personnel who at any time fails to satisfy the
requirements of this Section 2.a to provide Services directly or indirectly for or on behalf of
Amazon. Further, upon receipt of a written notice (which may be by email) from Amazon
specifying that any of your Personnel has failed to satisfy the requirements of this Section 2.a, you
will not permit such Personnel to provide Services directly or indirectly for or on behalf of
Amazon.

                ii.      You are an independent contractor of Amazon. As between Amazon and
you, you have exclusive responsibility for your Personnel and exclusive control over your policies
relating to wages, fees and other compensation, hours, and working conditions. You have the
exclusive right to hire, engage, transfer, suspend, lay off, recall, promote, discipline, discharge and
adjust grievances with your Personnel. Your Personnel are not eligible to participate in any
employee benefit plans or other benefits available to employees of Amazon or any of its Affiliates.
Neither you nor any of your Personnel has any authority to bind Amazon or any of its Affiliates to
any agreement or obligation.

        b.     Transportation Authority. During the Term (as defined in Section 8.a), you will
obtain and maintain all motor carrier and other transportation related authorities, permits, and
registrations with Governmental Authorities (including, without limitation, those relating to the
transportation of alcohol products) as are required to perform the Services under these Terms, the
Program Policies, and each applicable Work Order.

        c.     Vehicles. You will provide, operate, maintain and be responsible for, at your
expense, all vehicles (including bicycles) required to perform the Services under these Terms, the
Program Policies, and each applicable Work Order (each, a “Vehicle”, and collectively, the
“Vehicles”), and you will keep the Vehicles in good working order in accordance with the
manufacturer’s recommendations. You agree that, if required by Law, all such Vehicles will
display any applicable registration numbers and will satisfy all applicable safety, speed, hours of
service and other requirements imposed by Law.

       d.      License of Equipment.

               i.    As used in these Terms: (A) “Equipment” means, collectively, Hardware
and Licensed Materials; (B) “Hardware” means handheld communication devices/scanners and all
associated equipment furnished to you by Amazon, together with any related manuals and other




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documentation; and (C) “Licensed Materials” means any software (including, without limitation,
any scanning and delivery application), content or other information furnished to you (whether
standalone or for use on Hardware, on devices owned by you, or otherwise) by Amazon, together
with any related manuals and other documentation.

                ii.     Amazon grants to you, during the Term, a limited, non-exclusive, non-
transferable, non-sublicensable, revocable license to use the Equipment in each country in which
you provide the Services, solely for the purpose of performing the Services. You will provide all
other equipment necessary for the performance of the Services at your own expense. You will not,
in whole or in part: (A) copy the Equipment; (B) distribute copies of the Equipment or any part of
the Equipment to any third party; (C) modify, adapt, translate, reverse engineer, make alterations
to, decompile, disassemble or make derivative works based on the Equipment or any part of the
Equipment; (D) rent, loan, sublicense, lease, distribute or attempt to grant other rights to the
Equipment or any part of the Equipment to third parties; (E) permit remote access to the Equipment
by any third party; or (F) use the Equipment other than to perform the Services. You will require
all of your Personnel using the Equipment to attend the training specified by Amazon, including
for updates and periodic refresher training. You will keep all Hardware in good repair, good
operating condition and working order and in compliance with the manufacturer’s specifications
and will furnish all Hardware to Amazon for maintenance, service and repair as specified by
Amazon. You will not make any additions, attachments, alterations or improvements to Hardware
without the prior written consent of Amazon. If any Hardware or part of any Hardware is lost,
stolen, unreturned, damaged, sold, transferred, leased, encumbered or assigned without the express
prior written consent of Amazon, you will promptly pay Amazon the full replacement cost of the
Hardware, together with any incidental costs that are incurred by Amazon to replace the Hardware.

            iii. AMAZON LICENSES THE EQUIPMENT TO YOU “AS IS” AND
MAKES NO WARRANTIES OF ANY KIND REGARDING THE EQUIPMENT, INCLUDING,
BUT NOT LIMITED TO, THE DESIGN, OPERATION OR CONDITION OF, OR THE
QUALITY OF THE MATERIAL, COMPONENTS OR WORKMANSHIP IN, THE
EQUIPMENT. TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW,
AMAZON EXPRESSLY DISCLAIMS ALL WARRANTIES, WHETHER EXPRESS OR
IMPLIED, INCLUDING BUT NOT LIMITED TO WARRANTIES OF MERCHANTABILITY,
NONINFRINGEMENT, TITLE OR FITNESS FOR A PARTICULAR PURPOSE. AMAZON
DOES NOT WARRANT THAT THE EQUIPMENT WILL MEET YOUR REQUIREMENTS
OR WILL OPERATE UNINTERRUPTED, ERROR FREE OR PROVIDE ACCURATE,
COMPLETE OR UP-TO-DATE INFORMATION. AMAZON WILL NOT BE RESPONSIBLE
FOR ANY LOSS, DAMAGE OR CLAIM CAUSED BY OR ATTRIBUTABLE TO ANY
DEFECT OR DEFICIENCY IN ANY EQUIPMENT WHETHER ARISING OUT OF THE
EQUIPMENT’S MANUFACTURE, DESIGN OR OTHERWISE.

               iv.    Amazon will defend and indemnify you from any loss, damage, cost, and
expense (including reasonable attorneys’ fees and expenses) arising out of any claim, action or
proceeding brought by a third party (each, a “Third-Party Claim”) alleging that your use of the
Equipment as authorized under this Section 2.d infringes or misappropriates any third-party patent,
copyright, trademark, trade secret or other intellectual property rights (collectively, “Third-Party
Proprietary Rights”). Amazon will have sole control of the defense of any Third-Party Claim, and




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you will cooperate (at Amazon’s expense) with Amazon in the defense. Amazon’s obligation to
indemnify under this Section 2.d(iv) will not apply to the extent that any Equipment infringes or
misappropriates any Third-Party Proprietary Rights as a result of (A) any modification of or to the
Equipment made by you or any of your Personnel, (B) use of the Equipment by you or any of your
Personnel other than as contemplated by this Section 2.d, or (C) the combination of the Equipment
with other products or services.

3.     Fees.

        a.      Amazon will pay you in accordance with the rate structure included in each
applicable Work Order or that is otherwise agreed between the parties pursuant to the functionality
of the Site. Except as provided in any Work Order or otherwise on the Site, the rate structure will
not be subject to adjustment in the event that delivery volumes, number of stops, time per stop or
between stops, distances traveled, labor or vehicle costs or any other forecast or assumption with
respect to a Planned Route differs in any respect from the forecasts and assumptions used to set
the rate structure set out in any Work Order or otherwise on the Site. Except as provided in any
Work Order or otherwise on the Site, you will be entitled to no compensation or reimbursement of
any expenses for performing the Services.

       b.     Amazon may (i) deduct from and offset against any amounts owing by Amazon to
you under these Terms or any Work Order any sums payable by you to Amazon, or (ii) invoice
you for such amounts due Amazon and you will pay Amazon invoiced amounts upon receipt of
such invoice.

        c.     You acknowledge that, depending on the jurisdiction in which the Services are
provided and the program to which the Services relate, an Amazon customer may be able during
order checkout, at the customer’s option, to provide that an e-tip be directed toward the delivery
person and/or the persons responsible for fulfilling orders (the “Tips”). If applicable, Amazon will
distribute to you all Tips collected in connection with applicable deliveries made by your
Personnel, and you agree to distribute all such Tips to your Personnel in accordance with applicable
Law.

4.      Invoicing. Unless otherwise directed by Amazon, you will provide weekly invoices (at no
charge) in a form acceptable to Amazon. Each invoice will include at least the following data in
addition to any other itemized data reasonably requested by Amazon: service date, service type,
number of Planned Routes per Service Area by shift (if applicable), and total cost. At Amazon’s
request, you will issue separate invoices for each account established under these Terms or any
Work Order. The payment obligation under each invoice is a separate obligation of the account to
which the invoiced Services were provided pursuant to the applicable Work Order, and no other
account has any obligation under such invoice or Work Order. Amazon will pay, or cause to be
paid, all undisputed portions of your properly submitted invoices within 30 days of receipt.
Amazon has no obligation to pay, or cause to be paid, any fees or expenses invoiced more than
three months after the applicable Services are performed, and you waive any claim for payment of
amounts not invoiced within that three-month period. Amazon or its designee may conduct invoice
audits to verify accuracy. Discrepant invoices will be rejected or short paid with appropriate




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explanation of the discrepancy. The parties will use their commercially reasonable efforts to
resolve any disputes promptly.

5.     Representations, Warranties and Covenants.

        a.     You represent and warrant to Amazon that you are a legal business entity duly
formed, validly existing and in good standing under the Laws of the jurisdiction of your formation
and that you have all requisite right, power and authority to enter into, and perform your obligations
under, these Terms and each Work Order.

       b.      In addition to any compliance obligations set forth in these Terms, you are solely
responsible for any and all obligations owed to your Personnel pursuant to applicable Law and for
the management of your Personnel and promptly investigating and resolving all workplace
complaints made by your Personnel.

        c.      You acknowledge that Amazon’s Code of Business Conduct and Ethics posted at
http://phx.corporate-ir.net/phoenix.zhtml?c=97664&p=irol-govConduct (the “Code”) prohibits
the paying of bribes to anyone for any reason, whether in dealings with Governmental Authorities
or the private sector. You will not violate or knowingly permit anyone to violate the Code’s
prohibition on bribery or any applicable anti-corruption Laws. Amazon may immediately
terminate or suspend performance under these Terms if you breach this Section. You will maintain
true, accurate and complete books and records concerning any payments made by you to any other
person or entity in connection with the performance of the Services, including any such payments
made on behalf of Amazon. Amazon and its designated representatives may inspect your books
and records to verify such payments and for compliance with this Section and the Code.

        d.      You will: (i) perform the Services in a competent and workmanlike manner in
accordance with the level of professional care customarily observed by highly skilled professionals
rendering similar services; (ii) not violate or infringe any third party’s right in proprietary or
confidential information in performing the Services; (iii) comply with all Laws pertaining to the
Services, including without limitation all Laws applicable to transport, health and safety; (iv) hold
and comply with all applicable licenses and permits required by Governmental Authorities in
performing the Services; (v) notify Amazon as soon as possible of any event or circumstance that
impairs the safety of or delays delivery of Deliverables, and use an acceptable industry standard
of care in the protection of the Deliverables; (vi) at all times have sufficient equipment, Personnel
and resources available to perform the Services (and, in any case in which you believe, in your
reasonable business judgment, that you do not have sufficient equipment, Personnel and resources
available to perform the Services, you will immediately notify Amazon); (vii) comply, at your sole
cost and expense, with any social compliance and product safety requirements specified by
Amazon, including Amazon’s Supplier Code of Standards and Responsibilities posted at
http://www.amazon.com/gp/help/customer/display.html?ie=UTF8&nodeId=200885140
(collectively, “Compliance Requirements”), and permit, as requested by Amazon from time to
time, Amazon’s designee to audit your compliance with any Compliance Requirements, and you
will implement any corrective actions required by Amazon resulting from such audits at your
expense; and (vii) not have any lien on Amazon property or assets, including any Deliverables or




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any documents relating to any Deliverables, and you waive all rights to any lien upon any shipment
or related documents on behalf of yourself and any third party engaged by you.

        e.       Hazardous Materials Notifications. You will notify Amazon’s dangerous goods
compliance department (at the phone number or email address designated by Amazon for this
purpose) promptly (and in any event within 24 hours) after you become aware of any (i) injury to
persons, property damage, environmental damage, fire, breakage, spillage, leakage, or any other
accident or incident involving any product defined, designated, or classified as hazardous material,
hazardous substance, or dangerous good (including limited and excepted quantities, consumer
commodity, ORM-D, lithium batteries, and radioactive and magnetic materials) under any
applicable Law and transported by you under these Terms (collectively, “Hazardous Materials”),
(ii) event or circumstance involving Hazardous Materials that violates or is reasonably likely to
violate any applicable Law, or (iii) investigation of any shipment containing Hazardous Materials
by any governmental agency or authority.

6.       Claims for Loss or Damage. You will be liable for Delay, loss or damage to Deliverables
occurring while such Deliverables are in the care, custody or control of you and/or your Personnel
in an amount equal to the actual cost of the Delayed, lost or damaged Deliverables, including the
replacement cost of the Deliverables and direct costs associated with the original packaging,
handling, and shipping (including the costs of packaging, handling and shipping the replacement).
Claims for Delayed, lost or damaged Deliverables may be based upon Amazon’s manifest, may
be initiated electronically (including via email), and may be filed at any time within 120 days after
the Deliverable was tendered to you. You will acknowledge all claims within 30 days of receipt
and will process all claims to conclusion and pay or credit the applicable account within 60 days
of receipt. You will cooperate with Amazon’s loss prevention and investigative personnel in the
conduct of investigations related to fraud, theft and other matters of mutual concern.

7.      Insurance. You will, at all times during which you provide the Services and for at least
two years after all Services are completed, carry, at your expense, the types of insurance and
minimum limits of insurance, in each case, that are specified in the Program Policies, each
applicable Work Order, or otherwise on the Site. You will submit certificates of insurance
evidencing required insurance coverages to Amazon through the Site or by such other means
specified by Amazon prior to the commencement of the Services and at each policy renewal
thereafter. You consent to Amazon disclosing your certificates of insurance or other information
to third parties for the purpose of verifying your compliance with this Section 7.

8.     Term and Termination.

       a.      Term and Termination. The term of these Terms will begin on the Effective Date
and will continue until terminated in accordance with this Section 8.a (the “Term.”). Either party
may terminate these Terms at any time, with or without cause, by providing the other party with
30 days’ prior written notice. If the term of any Work Order extends beyond the Term, these
Terms will survive for the purposes of that Work Order until the termination of that Work Order.

        b.      No Damages for Termination. Amazon will not be liable, on account of termination
or expiration of these Terms, for loss of goodwill, prospective profits or anticipated orders. Unless




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specifically provided in any Work Order, Amazon will not be liable, on account of termination of
these Terms or any Work Order, for any expenditures, investments, leases or commitments made
by you under these Terms or any Work Order or for any other reason. You acknowledge and agree
that you have no expectation, and that you have not received any assurances from Amazon or any
other person, that your business relationship with Amazon will continue beyond the Term.

       c.     Transition Assistance. In connection with the termination or expiration of these
Terms or any Work Order for any reason, you will provide reasonable assistance to Amazon in
order to enable and facilitate an orderly transition of the Services to Amazon or a third party
designated by Amazon.

9.     Indemnification.

        a.      You will defend, indemnify and hold harmless Amazon and its Affiliates and
successors, and each of their respective directors, officers and employees (each an “Indemnified
Party” and, collectively, the “Indemnified Parties”) from any third-party allegation or claim based
on, or any loss, damage, settlement, cost, expense and any other liability (including but not limited
to reasonable attorneys’ fees and expenses) arising out of or in connection with, (i) any allegation
or claim of negligence, strict liability or misconduct of you or your Personnel, (ii) a breach of these
Terms, the Program Policies, or any Work Order by you or your Personnel, (iii) any action or
inaction by you or any of your Personnel (including, without limitation, any and all loss or damage
to personal property or bodily harm (including death)), or (iv) any allegation or claim that you or
any of your Personnel failed to comply with applicable Law. However, the foregoing
indemnification obligation does not apply to the extent that any claim subject to indemnification
results from the negligence or willful misconduct of the Indemnified Parties.

        b.      Your duty to defend is independent of your duty to indemnify. Your obligations
under this Section are independent of any of your other obligations under these Terms. You will
use counsel reasonably satisfactory to the Indemnified Parties to defend each indemnified claim,
and the Indemnified Parties will cooperate (at your expense) with you in the defense. You will
not consent to the entry of any judgment or enter into any settlement without the Indemnified
Parties’ prior written consent.

10.    Confidentiality; Customer Information; Work Product.

         a.     You will at all times comply with the terms of any nondisclosure agreement
executed or otherwise agreed to by you in favor of Amazon and/or its Affiliates (an “NDA”). If
no NDA exists, you and your representatives will (i) protect and keep confidential the existence of
these Terms (including all Work Orders), their terms and conditions, and any other information
obtained from Amazon or any of its representatives that is identified as confidential or proprietary
or that, given the nature of such information or the manner of its disclosure, reasonably should be
considered confidential or proprietary (including, without limitation, all information relating to
Amazon’s technology, customers (including Customer Information (as defined below)), business
plans, marketing activities, and finances) (collectively, “Confidential Information”), (ii) use
Confidential Information solely for the purpose of providing Services, and (iii) return all
Confidential Information to Amazon promptly following a request from Amazon. All Confidential




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Information will remain Amazon’s exclusive property, and you will have no rights to use
Confidential Information except as expressly provided in an NDA or these Terms.

       b.      If you are required by any Governmental Authority to disclose the contents of any
Deliverable, you will promptly provide Amazon with notice of such requirement. In such
instances, you will use commercially reasonable efforts to (i) ensure that any items removed from
a container are promptly put back into the container following the relevant Government
Authority’s inspection, and (ii) provide Amazon with an audit against the manifest for such items.

        c.      Except as expressly set forth in these Terms, the Program Policies, or any Work
Order, you will not use any trade name, trademark, service mark, logo or commercial symbol, or
any other proprietary rights of Amazon or any of its Affiliates in any manner (including but not
limited to use in any client list, press release, advertisement or other promotional material) without
the prior written authorization of such use by a Vice President of Amazon. Without the prior
written authorization by a Vice President of Amazon, you will not make any public announcement
or other statement (including, without limitation, a press release, response to a media query,
advertisement, or other promotional material) in which you refer to Amazon or its Affiliates, these
Terms, any Work Order, the Services, or any Confidential Information.

        d.      You will, and will cause your Personnel to, use all personally identifiable
information concerning Amazon’s customers, including names and addresses (collectively,
“Customer Information”), solely for the purpose of providing Services. You will comply with all
instructions of Amazon in respect of the processing of Customer Information, and you will
maintain appropriate technical and organizational security measures to prevent unauthorized use
or disclosure of Customer Information. All Customer Information is and will remain the exclusive
property of Amazon, and you will not transfer, rent, barter, trade or sell Customer Information and
will not develop lists of or aggregate Customer Information. Except as otherwise required by
applicable Law, you will, and will cause your Personnel to, delete all instances (including backups
and other copies) of Customer Information associated with each shipment within two weeks after
completing the shipment. Before disposing of any hardware, media or software (including any
sale or transfer of such material or any disposition of your business) that contains or previously
contained Customer Information, at Amazon’s direction, you will either return such hardware,
media or software to Amazon, or perform a complete forensic destruction of the Customer
Information (which may include a physical destruction, preferably incineration, or secure data
wipe) such that no Customer Information can be recovered or retrieved. For the avoidance of
doubt, the contents of Deliverables tendered by Amazon to you are Customer Information subject
to this Section 10.

        e.     The parties agree that, between the parties, any information or data arising out of
or in connection with the Services, including without limitation any Amazon customer data or
Customer Information and any data, analysis or other work specifically commissioned by Amazon
and agreed to by you (collectively, “Work Product”), is owned by Amazon. For purposes of these
Terms, Work Product does not include: (a) any inventions or developments made by you and
existing prior to the Effective Date; or (b) any inventions or developments developed entirely
independently by you, at any time, without any use, knowledge of, or reference to, the Confidential
Information. The Work Product has been specially ordered and commissioned by Amazon. You




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agree that the Work Product is a “work made for hire” for copyright purposes, with all copyrights
in the Work Product owned by Amazon. To the extent that the Work Product does not qualify as
a work made for hire under applicable Law, and to the extent that the Work Product includes
material subject to copyright, trade secret, or other proprietary rights protection, you hereby assign
to Amazon (or to such of its Affiliates as it may designate), its successors and assigns, all right,
title and interest in and to the Work Product. To the extent necessary to effect this assignment,
you will execute any documents that Amazon reasonably requests. At any time upon request from
Amazon and upon termination or expiration of these Terms, you will deliver to Amazon in tangible
form all materials containing Work Product, whether complete or in process. All Work Product
will be Confidential Information that is subject to this Section 10.

11.    Defined Terms.

        a.      “Affiliate” means, with respect to any entity, any person or other entity that directly
or indirectly controls, is controlled by, or is under common control with, such first entity.

        b.    “Amazon Contracting Party” means: (i) if the Services are provided in the United
States, Amazon Logistics, Inc.; or (ii) if the Services are provided in the United Kingdom, Amazon
UK Services Ltd.

        c.     “Chosen Courts” means: (i) if the Services are provided in the United States, the
federal and state courts in King County, Washington; or (ii) if the Services are provided in the
United Kingdom, the courts in England and Wales.

        d.     “Delay” means, with respect to any Deliverable, that such Deliverable was not
delivered within the delivery window specified by Amazon.

       e.      “Deliverables” means parcels, totes or other deliverables tendered by Amazon to
you or any of your Personnel.

       f.      “Governing Laws” means: (i) if the Services are provided in the United States, the
laws of the State of Washington; or (ii) if the Services are provided in the United Kingdom, the
laws of England and Wales.

        g.     “Governmental Authority” means any governmental, quasi-governmental or
regulatory authority, body, department, commission, board, bureau, agency, division, court,
securities exchange or other legislative, executive or judicial governmental entity or
instrumentality, whether foreign or domestic, of any country, nation, state, county, parish or
municipality, jurisdiction or other political subdivision.

       h.      “Law” means any national, federal, state, local or foreign statute, common law,
ordinance, rule, regulation, order, judgment or agency requirement of, or issued, promulgated or
entered into with, any Governmental Authority.

       i.      “Personnel” means, with respect to any party, such party’s employees, agents,
representatives, and subcontractors. For the avoidance of doubt, your Personnel will include any
individual assigned by you to perform the Services.




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         j.     “Planned Route” means a number of Deliverables in a given area that Amazon plans
for a single person and/or Vehicle for delivery on a specific shift and day and that in turn is assigned
by you to a specific person and/or Vehicle for delivery on a specific shift and day.

       k.     “Program Policies” means any terms, conditions, policies, guidelines and other
information of which you are notified in accordance with Section 12.c or that are referenced in
these Terms or posted on the Site.

       l.     “Service Area” means the zip codes, cities, geographies or other areas with respect
to which you provide the Services, as specifically defined in a Work Order.

       m.     “Site” means the Amazon Delivery Provider website (or any successor or related
website designated by Amazon).

        n.      “Taxes” means those applicable sales or use taxes or value added taxes that you are
legally obligated to charge.

12.    Miscellaneous.

        a.      You will not assign any of your rights or obligations under these Terms or any
Work Order without Amazon’s prior written consent. Any attempt by you to assign, subcontract
or delegate in violation of this Section will be null and void.

        b.      These Terms and the Work Orders are governed by the applicable Governing Laws,
excluding any conflict of laws rules. You irrevocably submit to venue and exclusive jurisdiction
in the applicable Chosen Courts for any dispute arising out of or relating to these Terms, any Work
Order or the Services, and you waive all objections to jurisdiction and venue of the applicable
Chosen Courts.

        c.       Notices to you under these Terms may be provided by (i) posting a notice on the
Site, or (ii) sending a message to the email address then associated with your account. Notices
provided by posting on the Site will be effective upon posting, and notices provided by email will
be effective when sent by Amazon. It is your responsibility to keep your email address current,
and you will be deemed to have received any email sent to the email address then associated with
your account when Amazon sends the email, whether or not you actually receive it. Notices to
Amazon under these Terms may be provided by (A) facsimile transmission to the number stated
in the Program Policies or any applicable Work Order, or (B) pre-paid post requiring signature on
receipt or personal delivery to the address stated in the Program Policies or any applicable Work
Order. Amazon may update the facsimile number and/or address for notices to Amazon by posting
a notice on the Site. Notices to Amazon will be deemed effective when delivered in person, when
delivered by pre-paid post, or when received by facsimile.

       d.     If any provision of these Terms, the Program Policies, or any Work Order is
determined to be unenforceable, the parties intend that these Terms, the Program Policies, or the
Work Order (as applicable) be enforced as if the unenforceable provisions were not present and




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that any partially valid and enforceable provisions be enforced to the extent that they are
enforceable.

        e.      A party does not waive any right under any provision of these Terms, the Program
Policies, or any Work Order by failing to insist on compliance with, or by failing to exercise any
right under, the applicable provision. Any waivers granted under these Terms, the Program
Policies, or any Work Order are effective only if recorded in a writing signed by the party granting
such waiver. The rights and remedies of the parties under these Terms, the Program Policies, and
any Work Order are cumulative and are not exclusive, and either party may enforce any of its
rights or remedies under these Terms, the Program Policies, or any Work Order or other rights and
remedies available to it at law or in equity. The Section headings of these Terms are for
convenience only and have no interpretive value.

       f.     The following provisions, along with any other provisions that by their nature
should survive termination or expiration of these Terms, will survive: Sections 4, 6, 7, 8.b, 8.c,
and 9-12.

       g.     You acknowledge that any breach of these Terms, the Program Policies, or any
Work Order by you or any of your representatives would cause irreparable harm to Amazon for
which Amazon has no adequate remedies at law. Accordingly, Amazon is entitled to specific
performance or injunctive relief for any breach of these Terms, the Program Policies, or any Work
Order by you or any of your representatives without the necessity of proving damages or posting
bond.

        h.     Except for your indemnity obligations under Section 9 and liability arising out of
your breach of Section 10, neither party will be liable under any circumstances for lost
opportunities or profits, consequential, special, punitive, incidental or indirect damages of any
kind. Nothing in these Terms shall limit or exclude either party's liability for any matter that may
not be limited or excluded by applicable Law.

        i.      You may charge and Amazon will pay Taxes invoiced by you, provided that those
Taxes are stated on the original invoice that you provide to Amazon and your invoices state those
Taxes separately and meet the appropriate tax requirements for a valid tax invoice, if any. Amazon
may provide you an exemption certificate acceptable to the relevant taxing authority, in which
case, you will not collect the Taxes covered by the certificate. You will be responsible for all other
taxes (including interest and penalties) or fees arising from transactions and the documentation of
transactions under these Terms and any Work Order. Amazon will maintain the right to deduct or
withhold any taxes that Amazon determines it is obligated to withhold from any amounts payable
to you under these Terms or any Work Order, and payment to you as reduced by such deductions
or withholdings will constitute full payment and settlement to you of all amounts payable to you
under these Terms or any Work Order. You will provide Amazon with any forms, documents, or
certifications as may be required for Amazon to satisfy any information reporting or withholding
tax obligations with respect to any payments under these Terms or any Work Order.

      j.     These Terms (together with the Program Policies, which are incorporated in these
Terms by this reference), any Work Orders, and any NDA constitute the complete and final




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                              Main Document     Page  37 of 184
                                                Page 34 of 168


agreement of the parties pertaining to the Services and supersede and replace the parties’ prior
agreements, understandings, representations and discussions (whether written or oral) relating to
the Services.

        k.      Amazon may modify these Terms (including any Program Policies) at any time by
posting a revised version on the Site or by otherwise notifying you in accordance with Section
12.c. The modified Terms will become effective upon posting or, if Amazon notifies you by email,
as stated in the email message. By continuing to provide the Services after the effective date of
any modification to these Terms, you agree to be bound by the modified Terms. It is your
responsibility to check the Site regularly for modifications to these Terms.

       l.      The parties may use standard business forms or other communications, but use of
such forms is for convenience only and does not alter the provisions of these Terms. NEITHER
PARTY WILL BE BOUND BY, AND EACH SPECIFICALLY OBJECTS TO, ANY
PROVISION THAT IS DIFFERENT FROM OR IN ADDITION TO THESE TERMS
(WHETHER PROFFERED VERBALLY OR IN ANY QUOTATION, INVOICE, BILL OF
LADING,         SHIPPING        DOCUMENT,            ACCEPTANCE,            CONFIRMATION,
CORRESPONDENCE, OR OTHERWISE).

         m.     You will not be liable for your failure or delay in fulfilling your obligations under
these Terms, the Program Policies, or any Work Order if such failure or delay is caused by fire,
flood, weather conditions or other Acts of God, invasions, riots, closing of public highways, civil
unrest, war, or acts of terrorism or any circumstance beyond your reasonable control and without
fault or negligence on your part (“Force Majeure”); provided, that (i) you will promptly notify
Amazon in writing of the occurrence and details of any event of Force Majeure that has caused, or
is likely to cause, you to either delay or fail to perform your obligations under these Terms or any
Work Order, and (ii) you will use reasonable efforts to overcome or limit the effects of any such
event of Force Majeure on Amazon. If the service interruption caused by the Force Majeure
continues for 30 days, either party will have the right to terminate any affected Work Order with
respect to the Services not being performed by giving the other party 24 hours’ prior written notice.
To be effective, such notice must be delivered during the service interruption.

        n.     If there is a conflict among these Terms, the Program Policies, and any Work Order,
the Program Policies will prevail over these Terms and the Work Order, and the Work Order will
prevail over these Terms.




                                     Exhibit A - page 37
Case
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                        Main Document     Page  38 of 184
                                          Page 35 of 168




                           EXHIBIT 3

                             Exhibit A - page 38
DocuSign Envelope ID: 391BB439-81BC-44A4-9C5C-E72371EF5C2B
           Case
           Case 2:19-bk-14989-WB
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                                                               Page 36 of 168


                                                       First Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                    This First Amendment to Work Order (this “First Amendment”) is effective as of September 30,
            2015, and amends that certain Work Order, dated as of September 2, 2015 (the “Work Order”), by and
            between Scoobeez, Inc., a California corporation (“you”) and Amazon Logistics, Inc., a Delaware
            corporation (“Amazon”). All capitalized terms used and not defined in this First Amendment have the
            respective meanings assigned to such terms in the Delivery Provider Terms of Service to which you agreed
            on the Delivery Provider Platform (as the same may be amended, modified, or supplemented from time to
            time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this First Amendment and the terms of the Work Order, the terms of this First Amendment will control.

                                                      [Signature Page Follows]




                                                     Exhibit A - page 39
DocuSign Envelope ID: 391BB439-81BC-44A4-9C5C-E72371EF5C2B
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                                             Main Document     Page  40 of 184
                                                               Page 37 of 168


                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this First Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
                         Hany Elkordy                                         Benjamin Art
               Name:                                                 Name:
                         Director, AMZL NA                                    CEO
               Title:                                                Title:
                              September 21, 2015                                    September 20, 2015
               Date Signed: ____________________________             Date Signed: ____________________________




                                          [Signature Page to First Amendment to Work Order]



                                                     Exhibit A - page 40
DocuSign Envelope ID: 391BB439-81BC-44A4-9C5C-E72371EF5C2B
           Case
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                                             Main Document     Page  41 of 184
                                                               Page 38 of 168


                                                             Schedule B

                                                        Distribution Points

                1. UCA1 – San Francisco, CA

                2. UCA3 – Los Angeles, CA

                3. UCA4 – Irvine, CA

                4. UCA5 – Los Angeles, CA

                5. UNV1 – Las Vegas, NV




                                                     Exhibit A - page 41
DocuSign Envelope ID: 391BB439-81BC-44A4-9C5C-E72371EF5C2B
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                                                       Filed 10/28/19
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                                              Main Document     Page  42 of 184
                                                                Page 39 of 168


                                                             Schedule C

                                                     Fees Payable by Amazon

            Prime Now

              Distribution       Duration of           Fees for Services   Uniform and     Total (per
              Point              Planned Route         (per Planned        Vehicle Brand   Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1               4.5 hours             $111.00             $5.00           $116.00
                                 6.5 hours             $169.00             $5.00           $174.00
                                 8.5 hours             $227.00             $5.00           $232.00
                                 10.5 hours            $285.00             $5.00           $290.00
              UCA3, UCA4,        4.5 hours             $81.00              $5.00           $86.00
              and UCA5           6.5 hours             $124.00             $5.00           $129.00
                                 8.5 hours             $167.00             $5.00           $172.00
                                 10.5 hours            $210.00             $5.00           $215.00
              UNV1               4.5 hours             $73.00              $5.00           $78.00
                                 6.5 hours             $112.00             $5.00           $117.00
                                 8.5 hours             $151.00             $5.00           $156.00
                                 10.5 hours            $190.00             $5.00           $195.00




                                                     Exhibit A - page 42
Case
Case 2:19-bk-14989-WB
     2:19-bk-14989-WB   Doc
                        Doc 393
                            349 Filed
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                                          Page 40 of 168




                           EXHIBIT 4

                             Exhibit A - page 43
DocuSign Envelope ID: 03BB3EC3-1657-4B83-A6FE-CFD4E0941F6F
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                                             Main Document     Page  44 of 184
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                                                      Second Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                     This Second Amendment to Work Order (this “Second Amendment”) is effective as of October 19,
            2015, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015 (the “Work Order”), by and between Scoobeez,
            Inc., a California corporation (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”).
            All capitalized terms used and not defined in this Second Amendment have the respective meanings
            assigned to such terms in the Delivery Provider Terms of Service to which you agreed on the Delivery
            Provider Platform (as the same may be amended, modified, or supplemented from time to time, the
            “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Second Amendment and the terms of the Work Order, the terms of this Second Amendment will
            control.

                                                      [Signature Page Follows]




                                                     Exhibit A - page 44
DocuSign Envelope ID: 03BB3EC3-1657-4B83-A6FE-CFD4E0941F6F
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                                             Main Document     Page  45 of 184
                                                               Page 42 of 168


                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Second Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
                        Hany Elkordy                                          Benjamin Art
               Name:                                                 Name:
                        Director, AMZL NA                                     CEO
               Title:                                                Title:
                               October 9, 2015                                        October 8, 2015
               Date Signed: ____________________________             Date Signed: ____________________________




                                         [Signature Page to Second Amendment to Work Order]



                                                     Exhibit A - page 45
DocuSign Envelope ID: 03BB3EC3-1657-4B83-A6FE-CFD4E0941F6F
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                                                               Page 43 of 168


                                                             Schedule B

                                                        Distribution Points

                1. UCA1 – San Francisco, CA

                2. UCA3 – Los Angeles, CA

                3. UCA4 – Irvine, CA

                4. UCA5 – Los Angeles, CA

                5. UCA6 – San Diego, CA

                6. UNV1 – Las Vegas, NV




                                                     Exhibit A - page 46
DocuSign Envelope ID: 03BB3EC3-1657-4B83-A6FE-CFD4E0941F6F
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                                              Main Document     Page  47 of 184
                                                                Page 44 of 168


                                                             Schedule C

                                                     Fees Payable by Amazon

            Prime Now

              Distribution       Duration of           Fees for Services   Uniform and     Total (per
              Point              Planned Route         (per Planned        Vehicle Brand   Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1               4.5 hours             $111.00             $5.00           $116.00
                                 6.5 hours             $169.00             $5.00           $174.00
                                 8.5 hours             $227.00             $5.00           $232.00
                                 10.5 hours            $285.00             $5.00           $290.00
              UCA3, UCA4,        4.5 hours             $81.00              $5.00           $86.00
              and UCA5           6.5 hours             $124.00             $5.00           $129.00
                                 8.5 hours             $167.00             $5.00           $172.00
                                 10.5 hours            $210.00             $5.00           $215.00
              UCA6               4.5 hours             $75.00              $5.00           $80.00
                                 6.5 hours             $115.00             $5.00           $120.00
                                 8.5 hours             $155.00             $5.00           $160.00
                                 10.5 hours            $195.00             $5.00           $200.00
              UNV1               4.5 hours             $73.00              $5.00           $78.00
                                 6.5 hours             $112.00             $5.00           $117.00
                                 8.5 hours             $151.00             $5.00           $156.00
                                 10.5 hours            $190.00             $5.00           $195.00




                                                     Exhibit A - page 47
Case
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                           EXHIBIT 5

                             Exhibit A - page 48
DocuSign Envelope ID: EAB18E29-340A-44D4-AE95-046C70A1552E
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                                                       Third Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                    This Third Amendment to Work Order (this “Third Amendment”) is effective as of October 19,
            2015, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, and the Second Amendment to Work Order,
            dated as of October 19, 2015 (the “Work Order”), by and between Scoobeez, Inc., a California corporation
            (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”). All capitalized terms used and
            not defined in this Third Amendment have the respective meanings assigned to such terms in the Delivery
            Provider Terms of Service to which you agreed on the Delivery Provider Platform (as the same may be
            amended, modified, or supplemented from time to time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule A. Schedule A to the Work Order is hereby deleted in its entirety
            and replaced with Schedule A attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Third Amendment and the terms of the Work Order, the terms of this Third Amendment will control.

                                                      [Signature Page Follows]




                                                     Exhibit A - page 49
DocuSign Envelope ID: EAB18E29-340A-44D4-AE95-046C70A1552E
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                                             Main Document     Page  50 of 184
                                                               Page 47 of 168


                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Third Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
                        Hany Elkordy                                          Benjamin Art
               Name:                                                 Name:
                         Director, AMZL NA                                    CEO
               Title:                                                Title:
                               October 14, 2015                                       October 14, 2015
               Date Signed: ____________________________             Date Signed: ____________________________




                                          [Signature Page to Third Amendment to Work Order]



                                                     Exhibit A - page 50
DocuSign Envelope ID: EAB18E29-340A-44D4-AE95-046C70A1552E
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                                             Main Document     Page  51 of 184
                                                               Page 48 of 168


                                                             Schedule A

                                                              Policies

            Your Personnel; No Subcontractors.

            Except as otherwise provided in this Work Order, (a) you will hire and employ all drivers, cyclists, walkers,
            and other Personnel who are assigned by you to perform the Services under this Work Order, and (b) you
            will not engage subcontractors to perform the Services without the prior written consent of Amazon.

            Tips.

            Without limiting the generality of Section 3(c) of the Terms, which requires you to distribute all Tips to
            your Personnel in accordance with applicable Law, you will distribute each Tip to your specific Personnel
            who delivered the shipment to which the Tip relates in accordance with the disbursement report derived
            from Amazon’s systems and furnished to you by Amazon.




                                                     Exhibit A - page 51
DocuSign Envelope ID: EAB18E29-340A-44D4-AE95-046C70A1552E
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                                                                Page 49 of 168


                                                             Schedule C

                                                     Fees Payable by Amazon

            Prime Now

              Distribution       Duration of           Fees for Services   Uniform and     Total (per
              Point              Planned Route         (per Planned        Vehicle Brand   Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1               4.5 hours             $129.00             $5.00           $134.00
                                 6.5 hours             $196.00             $5.00           $201.00
                                 8.5 hours             $263.00             $5.00           $268.00
                                 10.5 hours            $330.00             $5.00           $335.00
              UCA3, UCA4,        4.5 hours             $81.00              $5.00           $86.00
              and UCA5           6.5 hours             $124.00             $5.00           $129.00
                                 8.5 hours             $167.00             $5.00           $172.00
                                 10.5 hours            $210.00             $5.00           $215.00
              UCA6               4.5 hours             $75.00              $5.00           $80.00
                                 6.5 hours             $115.00             $5.00           $120.00
                                 8.5 hours             $155.00             $5.00           $160.00
                                 10.5 hours            $195.00             $5.00           $200.00
              UNV1               4.5 hours             $73.00              $5.00           $78.00
                                 6.5 hours             $112.00             $5.00           $117.00
                                 8.5 hours             $151.00             $5.00           $156.00
                                 10.5 hours            $190.00             $5.00           $195.00




                                                     Exhibit A - page 52
Case
Case 2:19-bk-14989-WB
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                        Doc 393
                            349 Filed
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                           EXHIBIT 6

                             Exhibit A - page 53
DocuSign Envelope ID: 1B2EAE3F-A5BF-4201-A162-7B40BE8983FC
           Case
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                                             Main Document     Page  54 of 184
                                                               Page 51 of 168


                                                      Fourth Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                    This Fourth Amendment to Work Order (this “Fourth Amendment”) is effective as of January 17,
            2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, and the Third Amendment to Work Order, dated as of October 19, 2015 (the “Work
            Order”), by and between Scoobeez, Inc., a California corporation (“you”) and Amazon Logistics, Inc., a
            Delaware corporation (“Amazon”). All capitalized terms used and not defined in this Fourth Amendment
            have the respective meanings assigned to such terms in the Delivery Provider Terms of Service to which
            you agreed on the Delivery Provider Platform (as the same may be amended, modified, or supplemented
            from time to time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     2.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Fourth Amendment and the terms of the Work Order, the terms of this Fourth Amendment will
            control.

                                                      [Signature Page Follows]




                                                     Exhibit A - page 54
DocuSign Envelope ID: 1B2EAE3F-A5BF-4201-A162-7B40BE8983FC
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                                             Main Document     Page  55 of 184
                                                               Page 52 of 168


                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Fourth Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name: Hany Elkordy                                    Name: Benjamin Art
               Title:   Director, AMZL NA                            Title:   CEO
                             January 16, 2016
               Date Signed: ____________________________                           January 16, 2016
                                                                     Date Signed: ____________________________




                                         [Signature Page to Fourth Amendment to Work Order]




                                                     Exhibit A - page 55
DocuSign Envelope ID: 1B2EAE3F-A5BF-4201-A162-7B40BE8983FC
           Case
           Case 2:19-bk-14989-WB
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                                              Main Document     Page  56 of 184
                                                                Page 53 of 168


                                                             Schedule C

                                                     Fees Payable by Amazon

            Prime Now

              Distribution       Duration of           Fees for Services   Uniform and     Total (per
              Point              Planned Route         (per Planned        Vehicle Brand   Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1               4.5 hours             $129.00             $5.00           $134.00
                                 6.5 hours             $196.00             $5.00           $201.00
                                 8.5 hours             $263.00             $5.00           $268.00
                                 10.5 hours            $330.00             $5.00           $335.00
              UCA3, UCA4,        4.5 hours             $86.04              $5.00           $91.04
              UCA5, and          6.5 hours             $131.56             $5.00           $136.56
              UCA6               8.5 hours             $174.08             $5.00           $182.08
                                 10.5 hours            $222.60             $5.00           $227.60
              UNV1               4.5 hours             $73.00              $5.00           $78.00
                                 6.5 hours             $112.00             $5.00           $117.00
                                 8.5 hours             $151.00             $5.00           $156.00
                                 10.5 hours            $190.00             $5.00           $195.00




                                                     Exhibit A - page 56
Case
Case 2:19-bk-14989-WB
     2:19-bk-14989-WB   Doc
                        Doc 393
                            349 Filed
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                        Main Document     Page  57 of 184
                                          Page 54 of 168




                           EXHIBIT 7

                             Exhibit A - page 57
DocuSign Envelope ID: 075A2450-2B1F-4B8B-AFFA-3E07247AE197
            Case
            Case 2:19-bk-14989-WB
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                                              Doc 393
                                                  349 Filed
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                                              Main Document     Page  58 of 184
                                                                Page 55 of 168


                                                       Fifth Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                     This Fifth Amendment to Work Order (this “Fifth Amendment”) is effective as of February 14,
            2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, and the Fourth
            Amendment to Work Order, dated as of January 17, 2016 (the “Work Order”), by and between Scoobeez,
            Inc., a California corporation (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”).
            All capitalized terms used and not defined in this Fifth Amendment have the respective meanings assigned
            to such terms in the Delivery Provider Terms of Service to which you agreed on the Delivery Provider
            Platform (as the same may be amended, modified, or supplemented from time to time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Fifth Amendment and the terms of the Work Order, the terms of this Fifth Amendment will control.

                                                      [Signature Page Follows]




                                                     Exhibit A - page 58
DocuSign Envelope ID: 075A2450-2B1F-4B8B-AFFA-3E07247AE197
            Case
            Case 2:19-bk-14989-WB
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                                              Doc 393
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                                              Main Document     Page  59 of 184
                                                                Page 56 of 168


                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Fifth Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name:     Hany Elkordy                                Name:     Benjamin Art

               Title:   Director, AMZL NA                            Title:   CEO
                             February 17, 2016
               Date Signed: ____________________________                           February 15, 2016
                                                                     Date Signed: ____________________________




                                          [Signature Page to Fifth Amendment to Work Order]



                                                     Exhibit A - page 59
DocuSign Envelope ID: 075A2450-2B1F-4B8B-AFFA-3E07247AE197
            Case
            Case 2:19-bk-14989-WB
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                                              Main Document
                                              Main Document     Page  60 of 184
                                                                Page 57 of 168


                                                             Schedule B

                                                         Distribution Points

                 1. UCA1 – San Francisco, CA

                 2. UCA3 – Los Angeles, CA

                 3. UCA4 – Irvine, CA

                 4. UCA5 – Los Angeles, CA

                 5. UCA6 – San Diego, CA

                 6. UCA8 – Berkeley, CA

                 7. UNV1 – Las Vegas, NV




                                                     Exhibit A - page 60
DocuSign Envelope ID: 075A2450-2B1F-4B8B-AFFA-3E07247AE197
            Case
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                                              Main Document     Page  61 of 184
                                                                Page 58 of 168


                                                             Schedule C

                                                      Fees Payable by Amazon

            Prime Now

              Distribution       Duration of            Fees for Services   Uniform and     Total (per
              Point              Planned Route          (per Planned        Vehicle Brand   Planned Route)
                                                        Route)              Promotion Fee
                                                                            (per Planned
                                                                            Route)
              UCA1               4.5 hours              $102.00             $5.00           $107.00
                                 6.5 hours              $155.50             $5.00           $160.50
                                 8.5 hours              $209.00             $5.00           $214.00
                                 10.5 hours             $262.50             $5.00           $267.50
              UCA3, UCA4,        4.5 hours              $86.04              $5.00           $91.04
              UCA5, and          6.5 hours              $131.56             $5.00           $136.56
              UCA6               8.5 hours              $177.08             $5.00           $182.08
                                 10.5 hours             $222.60             $5.00           $227.60
              UCA8               4.5 hours              $97.60              $5.00           $102.60
                                 6.5 hours              $148.90             $5.00           $153.90
                                 8.5 hours              $200.20             $5.00           $205.20
                                 10.5 hours             $251.50             $5.00           $256.50
              UNV1               4.5 hours              $73.00              $5.00           $78.00
                                 6.5 hours              $112.00             $5.00           $117.00
                                 8.5 hours              $151.00             $5.00           $156.00
                                 10.5 hours             $190.00             $5.00           $195.00




                                                     Exhibit A - page 61
Case
Case 2:19-bk-14989-WB
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                        Doc 393
                            349 Filed
                                 Filed 10/28/19
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                                          Page 59 of 168




                           EXHIBIT 8

                             Exhibit A - page 62
DocuSign Envelope ID: DB1D49CE-267A-4C25-AC19-9410AB25F868
           Case
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                                             Main Document     Page  63 of 184
                                                               Page 60 of 168


                                                       Sixth Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                    This Sixth Amendment to Work Order (this “Sixth Amendment”) is effective as of February 19,
            2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth
            Amendment to Work Order, dated as of January 17, 2016, and the Fifth Amendment to Work Order, dated
            as of February 14, 2016 (the “Work Order”), by and between Scoobeez, Inc., a California corporation
            (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”). All capitalized terms used and
            not defined in this Sixth Amendment have the respective meanings assigned to such terms in the Delivery
            Provider Terms of Service to which you agreed on the Delivery Provider Platform (as the same may be
            amended, modified, or supplemented from time to time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Sixth Amendment and the terms of the Work Order, the terms of this Sixth Amendment will control.

                                                      [Signature Page Follows]




                                                     Exhibit A - page 63
DocuSign Envelope ID: DB1D49CE-267A-4C25-AC19-9410AB25F868
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           Case 2:19-bk-14989-WB
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                                             Main Document     Page  64 of 184
                                                               Page 61 of 168


                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Sixth Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name:     Hany Elkordy                                Name: Benjamin Art
               Title:   Director, AMZL NA                            Title: CEO
                             February 20, 2016
               Date Signed: ____________________________                           February 18, 2016
                                                                     Date Signed: ____________________________




                                          [Signature Page to Sixth Amendment to Work Order]




                                                     Exhibit A - page 64
DocuSign Envelope ID: DB1D49CE-267A-4C25-AC19-9410AB25F868
           Case
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                                             Main Document     Page  65 of 184
                                                               Page 62 of 168


                                                             Schedule B

                                                        Distribution Points

                1. UCA1 – San Francisco, CA

                2. UCA3 – Los Angeles, CA

                3. UCA4 – Irvine, CA

                4. UCA5 – Los Angeles, CA

                5. UCA6 – San Diego, CA

                6. UCA8 – Berkeley, CA

                7. UIL1 – Chicago, IL

                8. UNV1 – Las Vegas, NV




                                                     Exhibit A - page 65
DocuSign Envelope ID: DB1D49CE-267A-4C25-AC19-9410AB25F868
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                                              Main Document     Page  66 of 184
                                                                Page 63 of 168


                                                             Schedule C

                                                     Fees Payable by Amazon

            Prime Now

              Distribution       Duration of           Fees for Services   Uniform and     Total (per
              Point              Planned Route         (per Planned        Vehicle Brand   Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1               4.5 hours             $102.00             $5.00           $107.00
                                 6.5 hours             $155.50             $5.00           $160.50
                                 8.5 hours             $209.00             $5.00           $214.00
                                 10.5 hours            $262.50             $5.00           $267.50
              UCA3, UCA4,        4.5 hours             $86.04              $5.00           $91.04
              UCA5, and          6.5 hours             $131.56             $5.00           $136.56
              UCA6               8.5 hours             $177.08             $5.00           $182.08
                                 10.5 hours            $222.60             $5.00           $227.60
              UCA8               4.5 hours             $97.60              $5.00           $102.60
                                 6.5 hours             $148.90             $5.00           $153.90
                                 8.5 hours             $200.20             $5.00           $205.20
                                 10.5 hours            $251.50             $5.00           $256.50
              UIL1               4.5 hours             $88.56              $5.00           $93.56
                                 5.5 hours             $111.95             $5.00           $116.95
                                 6.5 hours             $135.34             $5.00           $140.34
                                 8.5 hours             $182.12             $5.00           $187.12
                                 9.5 hours             $205.51             $5.00           $210.51
                                 10.5 hours            $228.90             $5.00           $233.90
              UNV1               4.5 hours             $73.00              $5.00           $78.00
                                 6.5 hours             $112.00             $5.00           $117.00
                                 8.5 hours             $151.00             $5.00           $156.00
                                 10.5 hours            $190.00             $5.00           $195.00




                                                     Exhibit A - page 66
Case
Case 2:19-bk-14989-WB
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                        Doc 393
                            349 Filed
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                                          Page 64 of 168




                           EXHIBIT 9

                             Exhibit A - page 67
DocuSign Envelope ID: EC6377C7-5DCF-4BE8-BAC3-6BA3CDEAAA67
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                                            Doc 393
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                                            Main Document     Page  68 of 184
                                                              Page 65 of 168


                                                    Seventh Amendment
                                                        to Work Order
                                         under the Delivery Provider Terms of Service

                    This Seventh Amendment to Work Order (this “Seventh Amendment”) is effective as of April 10,
            2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth
            Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as
            of February 14, 2016, and the Sixth Amendment to Work Order, dated as of February 19, 2016 (the “Work
            Order”), by and between Scoobeez, Inc., a California corporation (“you”) and Amazon Logistics, Inc., a
            Delaware corporation (“Amazon”). All capitalized terms used and not defined in this Seventh Amendment
            have the respective meanings assigned to such terms in the Delivery Provider Terms of Service to which
            you agreed on the Delivery Provider Platform (as the same may be amended, modified, or supplemented
            from time to time, the “Terms”).

                    Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Seventh Amendment and the terms of the Work Order, the terms of this Seventh Amendment will
            control.

                                                     [Signature Page Follows]




                                                    Exhibit A - page 68
DocuSign Envelope ID: EC6377C7-5DCF-4BE8-BAC3-6BA3CDEAAA67
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                                                     Filed 10/28/19
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                                            Main Document     Page  69 of 184
                                                              Page 66 of 168


                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Seventh Amendment.

              Amazon Logistics, Inc.                               Scoobeez, Inc.


              By:                                                  By:
              Name: Hany Elkordy                                   Name: Benjamin Art
              Title:   Director, AMZL NA                           Title: CEO
                            April 14, 2016
              Date Signed: ____________________________                          April 11, 2016
                                                                   Date Signed: ____________________________




                                       [Signature Page to Seventh Amendment to Work Order]



                                                   Exhibit A - page 69
DocuSign Envelope ID: EC6377C7-5DCF-4BE8-BAC3-6BA3CDEAAA67
           Case
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                                            Main Document     Page  70 of 184
                                                              Page 67 of 168


                                                             Schedule B

                                                       Distribution Points

                1. UCA1 – San Francisco, CA

                2. UCA3 – Los Angeles, CA

                3. UCA4 – Irvine, CA

                4. UCA5 – Los Angeles, CA

                5. UCA6 – San Diego, CA

                6. UCA8 – Berkeley, CA

                7. UCA9 – Sacramento, CA

                8. UIL1 – Chicago, IL

                9. UNV1 – Las Vegas, NV




                                                   Exhibit A - page 70
DocuSign Envelope ID: EC6377C7-5DCF-4BE8-BAC3-6BA3CDEAAA67
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                                             Main Document     Page  71 of 184
                                                               Page 68 of 168


                                                             Schedule C

                                                   Fees Payable by Amazon

            Prime Now

             Distribution       Duration of          Fees for Services    Uniform and     Total (per
             Point              Planned Route        (per Planned         Vehicle Brand   Planned Route)
                                                     Route)               Promotion Fee
                                                                          (per Planned
                                                                          Route)
             UCA1               4.5 hours            $102.00              $5.00           $107.00
                                6.5 hours            $155.50              $5.00           $160.50
                                8.5 hours            $209.00              $5.00           $214.00
                                10.5 hours           $262.50              $5.00           $267.50
             UCA3, UCA4,        4.5 hours            $86.04               $5.00           $91.04
             UCA5, UCA6,        6.5 hours            $131.56              $5.00           $136.56
             and UCA9           8.5 hours            $177.08              $5.00           $182.08
                                10.5 hours           $222.60              $5.00           $227.60
             UCA8               4.5 hours            $97.60               $5.00           $102.60
                                6.5 hours            $148.90              $5.00           $153.90
                                8.5 hours            $200.20              $5.00           $205.20
                                10.5 hours           $251.50              $5.00           $256.50
             UIL1               4.5 hours            $88.56               $5.00           $93.56
                                5.5 hours            $111.95              $5.00           $116.95
                                6.5 hours            $135.34              $5.00           $140.34
                                8.5 hours            $182.12              $5.00           $187.12
                                9.5 hours            $205.51              $5.00           $210.51
                                10.5 hours           $228.90              $5.00           $233.90
             UNV1               4.5 hours            $73.00               $5.00           $78.00
                                6.5 hours            $112.00              $5.00           $117.00
                                8.5 hours            $151.00              $5.00           $156.00
                                10.5 hours           $190.00              $5.00           $195.00




                                                   Exhibit A - page 71
Case
Case 2:19-bk-14989-WB
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                        Doc 393
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                                 Filed 10/28/19
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                                          Page 69 of 168




                          EXHIBIT 10

                             Exhibit A - page 72
DocuSign Envelope ID: B4A6CF74-AE8E-4717-BBC5-2DAFCAD9629E
           Case
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                                            Doc 393
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                                            Main Document     Page  73 of 184
                                                              Page 70 of 168


                                                     Eighth Amendment
                                                        to Work Order
                                         under the Delivery Provider Terms of Service

                     This Eighth Amendment to Work Order (this “Eighth Amendment”) is effective as of April 22,
            2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth
            Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as
            of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, and the Seventh
            Amendment to Work Order, dated as of April 10, 2016 (the “Work Order”), by and between Scoobeez,
            Inc., a California corporation (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”).
            All capitalized terms used and not defined in this Eighth Amendment have the respective meanings assigned
            to such terms in the Delivery Provider Terms of Service to which you agreed on the Delivery Provider
            Platform (as the same may be amended, modified, or supplemented from time to time, the “Terms”).

                    Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Eighth Amendment and the terms of the Work Order, the terms of this Eighth Amendment will
            control.

                                                     [Signature Page Follows]




                                                    Exhibit A - page 73
DocuSign Envelope ID: B4A6CF74-AE8E-4717-BBC5-2DAFCAD9629E
           Case
           Case 2:19-bk-14989-WB
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                                            Main Document     Page  74 of 184
                                                              Page 71 of 168


                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Eighth Amendment.

               Amazon Logistics, Inc.                               Scoobeez, Inc.


               By:                                                  By:
               Name:    Hany Elkordy                                Name: Benjamin Art
               Title:   Director, AMZL NA                           Title:   CEO

                             April 26, 2016
               Date Signed: ____________________________                          April 26, 2016
                                                                    Date Signed: ____________________________




                                        [Signature Page to Eighth Amendment to Work Order]



                                                    Exhibit A - page 74
DocuSign Envelope ID: B4A6CF74-AE8E-4717-BBC5-2DAFCAD9629E
           Case
           Case 2:19-bk-14989-WB
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                                            Main Document     Page  75 of 184
                                                              Page 72 of 168


                                                             Schedule B

                                                       Distribution Points

                1. UCA1 – San Francisco, CA

                2. UCA2 – Redondo Beach, CA

                3. UCA3 – Los Angeles, CA

                4. UCA4 – Irvine, CA

                5. UCA5 – Los Angeles, CA

                6. UCA6 – San Diego, CA

                7. UCA8 – Berkeley, CA

                8. UCA9 – Sacramento, CA

                9. UIL1 – Chicago, IL

                10. UNV1 – Las Vegas, NV




                                                    Exhibit A - page 75
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                                                             Schedule C

                                                    Fees Payable by Amazon

            Prime Now

             Distribution       Duration of           Fees for Services   Uniform and     Total (per
             Point              Planned Route         (per Planned        Vehicle Brand   Planned Route)
                                                      Route)              Promotion Fee
                                                                          (per Planned
                                                                          Route)
             UCA1               4.5 hours             $102.00             $5.00           $107.00
                                6.5 hours             $155.50             $5.00           $160.50
                                8.5 hours             $209.00             $5.00           $214.00
                                10.5 hours            $262.50             $5.00           $267.50
             UCA2, UCA3,        4.5 hours             $86.04              $5.00           $91.04
             UCA4, UCA5,        6.5 hours             $131.56             $5.00           $136.56
             UCA6, and          8.5 hours             $177.08             $5.00           $182.08
             UCA9               10.5 hours            $222.60             $5.00           $227.60
             UCA8               4.5 hours             $97.60              $5.00           $102.60
                                6.5 hours             $148.90             $5.00           $153.90
                                8.5 hours             $200.20             $5.00           $205.20
                                10.5 hours            $251.50             $5.00           $256.50
             UIL1               4.5 hours             $88.56              $5.00           $93.56
                                5.5 hours             $111.95             $5.00           $116.95
                                6.5 hours             $135.34             $5.00           $140.34
                                8.5 hours             $182.12             $5.00           $187.12
                                9.5 hours             $205.51             $5.00           $210.51
                                10.5 hours            $228.90             $5.00           $233.90
             UNV1               4.5 hours             $73.00              $5.00           $78.00
                                6.5 hours             $112.00             $5.00           $117.00
                                8.5 hours             $151.00             $5.00           $156.00
                                10.5 hours            $190.00             $5.00           $195.00




                                                    Exhibit A - page 76
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                                          Page 74 of 168




                          EXHIBIT 11

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                                                       Ninth Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                    This Ninth Amendment to Work Order (this “Ninth Amendment”) is effective as of May 11, 2016,
            and amends that certain Work Order, dated as of September 2, 2015, as amended by the First Amendment
            to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated as of October
            19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth Amendment to
            Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as of February 14,
            2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the Seventh Amendment to
            Work Order, dated as of April 10, 2016, and the Eighth Amendment to Work Order, dated as of April 22,
            2016 (the “Work Order”), by and between Scoobeez, Inc., a California corporation (“you”) and Amazon
            Logistics, Inc., a Delaware corporation (“Amazon”). All capitalized terms used and not defined in this
            Ninth Amendment have the respective meanings assigned to such terms in the Delivery Provider Terms of
            Service to which you agreed on the Delivery Provider Platform (as the same may be amended, modified,
            or supplemented from time to time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Ninth Amendment and the terms of the Work Order, the terms of this Ninth Amendment will control.

                                                      [Signature Page Follows]




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                                                               Page 76 of 168


                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Ninth Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name:     Hany Elkordy                                Name:     Shahan Ohanessian

               Title:   Director, AMZL NA                            Title:   CEO
                             May 16, 2016
               Date Signed: ____________________________                           May 16, 2016
                                                                     Date Signed: ____________________________




                                          [Signature Page to Ninth Amendment to Work Order]



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                                                               Page 77 of 168


                                                             Schedule B

                                                         Distribution Points

                 1. DCH1 – Alsip, IL

                 2. DCH2 – Chicago, IL

                 3. DCH3 – Lisle, IL

                 4. UCA1 – San Francisco, CA

                 5. UCA2 – Redondo Beach, CA

                 6. UCA3 – Los Angeles, CA

                 7. UCA4 – Irvine, CA

                 8. UCA5 – Los Angeles, CA

                 9. UCA6 – San Diego, CA

                 10. UCA8 – Berkeley, CA

                 11. UCA9 – Sacramento, CA

                 12. UIL1 – Chicago, IL

                 13. UNV1 – Las Vegas, NV




                                                     Exhibit A - page 80
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                                                                Page 78 of 168


                                                             Schedule C

                                                     Fees Payable by Amazon

            Part I – Prime Now

              Distribution       Duration of            Fees for Services   Uniform and     Total (per
              Point              Planned Route          (per Planned        Vehicle Brand   Planned Route)
                                                        Route)              Promotion Fee
                                                                            (per Planned
                                                                            Route)
              UCA1               4.5 hours              $102.00             $5.00           $107.00
                                 6.5 hours              $155.50             $5.00           $160.50
                                 8.5 hours              $209.00             $5.00           $214.00
                                 10.5 hours             $262.50             $5.00           $267.50
              UCA2, UCA3,        4.5 hours              $86.04              $5.00           $91.04
              UCA4, UCA5,        6.5 hours              $131.56             $5.00           $136.56
              UCA6, and          8.5 hours              $177.08             $5.00           $182.08
              UCA9               10.5 hours             $222.60             $5.00           $227.60
              UCA8               4.5 hours              $97.60              $5.00           $102.60
                                 6.5 hours              $148.90             $5.00           $153.90
                                 8.5 hours              $200.20             $5.00           $205.20
                                 10.5 hours             $251.50             $5.00           $256.50
              UIL1               4.5 hours              $88.56              $5.00           $93.56
                                 5.5 hours              $111.95             $5.00           $116.95
                                 6.5 hours              $135.34             $5.00           $140.34
                                 8.5 hours              $182.12             $5.00           $187.12
                                 9.5 hours              $205.51             $5.00           $210.51
                                 10.5 hours             $228.90             $5.00           $233.90
              UNV1               4.5 hours              $73.00              $5.00           $78.00
                                 6.5 hours              $112.00             $5.00           $117.00
                                 8.5 hours              $151.00             $5.00           $156.00
                                 10.5 hours             $190.00             $5.00           $195.00




                                                     Exhibit A - page 81
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     Part II – Parcel

      Distribution Point   Duration of     Base Route Rate (per   Uniform and Vehicle    Dispatcher Fee (per   Fuel
                           Planned Route   Planned Route)         Brand Promotion Fee    calendar week per     Allowance
                                                                  (per Planned Route)    Distribution Point)
      DCH1, DCH2,          5.5 hours       $190.00                $5.00                  $1,400.00             See below.
      and DCH3             6.5 hours       $210.00                $5.00
                           7.5 hours       $230.00                $5.00
                           8.5 hours       $250.00                $5.00
                           9.5 hours       $271.00                $5.00
                           10.5 hours      $294.00                $5.00

            1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
               Planned Route that is actually performed by you.

            2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
               corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
               C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
               For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
               calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
               will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
               EIA      prices     used     to    calculate    the    Fuel     Allowance       can   be      found    at
               http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
               average planned miles (based on Amazon’s route planning technology) for all Planned Routes
               originating from the applicable Distribution Point during the prior calendar month, provided that if
               there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
               be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
               for all Planned Routes originating from the applicable Distribution Point during the current calendar
               month.

            3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
               dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
               Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
               Fee set forth above on a weekly basis for each calendar week during which you actually provide a
               dispatcher in connection with performing Services. If, for any given calendar week, the daily average
               number of Planned Routes that you perform from a specific Distribution Point is greater than 30
               Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

            4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
               Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
               otherwise interacting with customers will wear a uniform that complies with the specifications set forth
               on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
               Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
               specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
               time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
               insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
               receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
               notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late




                                                     Exhibit A - page 82
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                 arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
                 circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
                 hours at a rate equal to $31.00 per hour at DCH1, DCH2, and DCH3.




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                                              Attachment 1 to Part II of Schedule C

                                            Index Price
                                                                           Fuel Allowance
                                        (Dollars per Gallon)
                                      From                To              Dollars per Mile
                                      $1.20              $1.32                 $0.11
                                      $1.33              $1.45                 $0.12
                                      $1.46              $1.58                 $0.13
                                      $1.59              $1.71                 $0.14
                                      $1.72              $1.84                 $0.15
                                      $1.85              $1.97                 $0.16
                                      $1.98              $2.10                 $0.17
                                      $2.11              $2.23                 $0.18
                                      $2.24              $2.36                 $0.19
                                      $2.37              $2.49                 $0.20
                                      $2.50              $2.62                 $0.21
                                      $2.63              $2.75                 $0.22
                                      $2.76              $2.88                 $0.23
                                      $2.89              $3.01                 $0.24
                                      $3.02              $3.14                 $0.25
                                      $3.15              $3.27                 $0.26
                                      $3.28              $3.40                 $0.27
                                      $3.41              $3.53                 $0.28
                                      $3.54              $3.66                 $0.29
                                      $3.67              $3.79                 $0.30
                                      $3.80              $3.92                 $0.31
                                      $3.93              $4.05                 $0.32
                                      $4.06              $4.18                 $0.33
                                      $4.19              $4.31                 $0.34
                                      $4.32              $4.44                 $0.35
                                      $4.45              $4.57                 $0.36
                                      $4.58              $4.70                 $0.37
                                      $4.71              $4.83                 $0.38
                                      $4.84              $4.96                 $0.39
                                      $4.97              $5.09                 $0.40
                                      $5.10              $5.22                 $0.41
                                      $5.23              $5.35                 $0.42
                                      $5.36              $5.48                 $0.43
                                      $5.49              $5.61                 $0.44
                                      $5.62              $5.74                 $0.45
                                      $5.75              $5.87                 $0.46
                                      $5.88              $6.00                 $0.47




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                          EXHIBIT 12

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                                                        Tenth Amendment
                                                          to Work Order
                                           under the Delivery Provider Terms of Service

                     This Tenth Amendment to Work Order (this “Tenth Amendment”) is effective as of June 2, 2016,
             and amends that certain Work Order, dated as of September 2, 2015, as amended by the First Amendment
             to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated as of October
             19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth Amendment to
             Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as of February 14,
             2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the Seventh Amendment to
             Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order, dated as of April 22, 2016,
             and the Ninth Amendment to Work Order, dated as of May 11, 2016 (the “Work Order”), by and between
             Scoobeez, Inc., a California corporation (“you”) and Amazon Logistics, Inc., a Delaware corporation
             (“Amazon”). All capitalized terms used and not defined in this Tenth Amendment have the respective
             meanings assigned to such terms in the Delivery Provider Terms of Service to which you agreed on the
             Delivery Provider Platform (as the same may be amended, modified, or supplemented from time to time,
             the “Terms”).

                     Amazon and you agree as follows:

                     1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
             and replaced with Schedule B attached hereto.

                     2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
             and replaced with Schedule C attached hereto.

                      3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
             remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
             of this Tenth Amendment and the terms of the Work Order, the terms of this Tenth Amendment will control.

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                                                                Page 84 of 168


                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
             executed this Tenth Amendment.

               Amazon Logistics, Inc.                                 Scoobeez, Inc.


               By:                                                    By:
               Name: Hany Elkordy                                     Name: Shahan Ohanessian
               Title: Director, AMZL NA                               Title: CEO
                             June 2, 2016
               Date Signed: ____________________________                           June 2, 2016
                                                                      Date Signed: ____________________________




                                           [Signature Page to Tenth Amendment to Work Order]



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                                                                Page 85 of 168


                                                                Schedule B

                                                             Distribution Points

                 1. DCH1 – Alsip, IL

                 2. DCH2 – Chicago, IL

                 3. DCH3 – Lisle, IL

                 4. DLA3 – Commerce, CA

                 5. DLA7 – Site location TBD

                 6. DLA8 – Hawthorne, CA

                 7. DLA9 – Irvine, CA

                 8. DSD1 – San Diego, CA

                 9. DSD2 – Carlsbad, CA

                 10. DSF3 – San Jose, CA

                 11. DSF4 – San Leandro, CA

                 12. DSF5 – San Francisco, CA

                 13. DSF6 – Richmond, CA

                 14. UCA1 – San Francisco, CA

                 15. UCA2 – Redondo Beach, CA

                 16. UCA3 – Los Angeles, CA

                 17. UCA4 – Irvine, CA

                 18. UCA5 – Los Angeles, CA

                 19. UCA6 – San Diego, CA

                 20. UCA8 – Berkeley, CA

                 21. UCA9 – Sacramento, CA

                 22. UIL1 – Chicago, IL

                 23. UNV1 – Las Vegas, NV




                                                      Exhibit A - page 88
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                                                                 Page 86 of 168


                                                             Schedule C

                                                      Fees Payable by Amazon

             Part I – Prime Now

              Distribution        Duration of            Fees for Services   Uniform and     Total (per
              Point               Planned Route          (per Planned        Vehicle Brand   Planned Route)
                                                         Route)              Promotion Fee
                                                                             (per Planned
                                                                             Route)
              UCA1                4.5 hours              $102.00             $5.00           $107.00
                                  6.5 hours              $155.50             $5.00           $160.50
                                  8.5 hours              $209.00             $5.00           $214.00
                                  10.5 hours             $262.50             $5.00           $267.50
              UCA2, UCA3,         4.5 hours              $86.04              $5.00           $91.04
              UCA4, UCA5,         6.5 hours              $131.56             $5.00           $136.56
              UCA6, and           8.5 hours              $177.08             $5.00           $182.08
              UCA9                10.5 hours             $222.60             $5.00           $227.60
              UCA8                4.5 hours              $97.60              $5.00           $102.60
                                  6.5 hours              $148.90             $5.00           $153.90
                                  8.5 hours              $200.20             $5.00           $205.20
                                  10.5 hours             $251.50             $5.00           $256.50
              UIL1                4.5 hours              $88.56              $5.00           $93.56
                                  5.5 hours              $111.95             $5.00           $116.95
                                  6.5 hours              $135.34             $5.00           $140.34
                                  8.5 hours              $182.12             $5.00           $187.12
                                  9.5 hours              $205.51             $5.00           $210.51
                                  10.5 hours             $228.90             $5.00           $233.90
              UNV1                4.5 hours              $73.00              $5.00           $78.00
                                  6.5 hours              $112.00             $5.00           $117.00
                                  8.5 hours              $151.00             $5.00           $156.00
                                  10.5 hours             $190.00             $5.00           $195.00




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     Part II – Parcel

      Distribution Point   Duration of      Base Route Rate (per   Uniform and Vehicle   Dispatcher Fee (per   Fuel
                           Planned Route    Planned Route)         Brand Promotion Fee   calendar week per     Allowance
                                                                   (per Planned Route)   Distribution Point)
      DCH1, DCH2,          5.5 hours        $190.00                $5.00                 $1,400.00             See below.
      and DCH3             6.5 hours        $210.00                $5.00
                           7.5 hours        $230.00                $5.00
                           8.5 hours        $250.00                $5.00
                           9.5 hours        $271.00                $5.00
                           10.5 hours       $294.00                $5.00
      DLA3                 5.5 hours        $174.40                $5.00                 $1,500.00             See below.
                           6.5 hours        $188.20                $5.00
                           7.5 hours        $202.00                $5.00
                           8.5 hours        $226.84                $5.00
                           9.5 hours        $248.92                $5.00
                           10.5 hours       $271.00                $5.00
      DLA7                 5.5 hours        $180.25                $5.00                 $1,500.00             See below.
                           6.5 hours        $194.50                $5.00
                           7.5 hours        $208.75                $5.00
                           8.5 hours        $234.40                $5.00
                           9.5 hours        $257.20                $5.00
                           10.5 hours       $280.00                $5.00
      DLA8 and DLA9        5.5 hours        $181.55                $5.00                 $1,500.00             See below.
                           6.5 hours        $195.90                $5.00
                           7.5 hours        $210.25                $5.00
                           8.5 hours        $236.08                $5.00
                           9.5 hours        $259.04                $5.00
                           10.5 hours       $282.00                $5.00
      DSD1 and DSD2        5.5 hours        $175.70                $5.00                 $1,400.00             See below.
                           6.5 hours        $189.60                $5.00
                           7.5 hours        $203.50                $5.00
                           8.5 hours        $228.52                $5.00
                           9.5 hours        $250.76                $5.00
                           10.5 hours       $273.00                $5.00
      DSF3                 5.5 hours        $203.00                $5.00                 $1,500.00             See below.
                           6.5 hours        $219.00                $5.00
                           7.5 hours        $235.00                $5.00
                           8.5 hours        $263.80                $5.00
                           9.5 hours        $289.40                $5.00
                           10.5 hours       $315.00                $5.00
      DSF4 and DSF5        5.5 hours        $206.25                $5.00                 $1,500.00             See below.
                           6.5 hours        $222.50                $5.00
                           7.5 hours        $238.75                $5.00
                           8.5 hours        $268.00                $5.00
                           9.5 hours        $294.00                $5.00
                           10.5 hours       $320.00                $5.00
      DSF6                 5.5 hours        $196.50                $5.00                 $1,500.00             See below.
                           6.5 hours        $212.00                $5.00
                           7.5 hours        $227.50                $5.00
                           8.5 hours        $255.40                $5.00
                           9.5 hours        $280.20                $5.00
                           10.5 hours       $305.00                $5.00




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             1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
                Planned Route that is actually performed by you.

             2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
                corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
                C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
                For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
                calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
                will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
                EIA       prices     used      to     calculate    the    Fuel      Allowance       can     be      found
                at http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
                average planned miles (based on Amazon’s route planning technology) for all Planned Routes
                originating from the applicable Distribution Point during the prior calendar month, provided that if
                there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
                be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
                for all Planned Routes originating from the applicable Distribution Point during the current calendar
                month.

             3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
                dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
                Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
                Fee set forth above on a weekly basis for each calendar week during which you actually provide a
                dispatcher in connection with performing Services. If, for any given calendar week, the daily average
                number of Planned Routes that you perform from a specific Distribution Point is greater than 30
                Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

             4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
                Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
                otherwise interacting with customers will wear a uniform that complies with the specifications set forth
                on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
                Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
                specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
                time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
                insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
                receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
                notice.

             5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
                to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
                arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
                circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
                hours at a rate equal to (a) $31.00 per hour at DCH1, DCH2, DCH3, and DSF6, (b) $27.60 per hour at
                DLA3 and DLA7, (c) $28.70 per hour at DLA8 and DLA9, (d) $27.80 per hour at DSD1 and DSD2,
                (e) $32.00 per hour at DSF3, and (f) $32.50 per hour at DSF4 and DSF5.

             6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
                experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
                will pay you (a) $194.35 per Training Route at DLA3, DLA7, DLA8, and DLA9, (b) $179.01 per
                Training Route at DSD1 and DSD2, (c) $210.64 per Training Route at DSF3, (d) $214.67 per Training
                Route at DSF4 and DSF5, and (e) $207.91 per Training Route at DSF6.



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                                               Attachment 1 to Part II of Schedule C

                                            Index Price
                                                                            Fuel Allowance
                                        (Dollars per Gallon)
                                      From                To               Dollars per Mile
                                      $1.20              $1.32                  $0.11
                                      $1.33              $1.45                  $0.12
                                      $1.46              $1.58                  $0.13
                                      $1.59              $1.71                  $0.14
                                      $1.72              $1.84                  $0.15
                                      $1.85              $1.97                  $0.16
                                      $1.98              $2.10                  $0.17
                                      $2.11              $2.23                  $0.18
                                      $2.24              $2.36                  $0.19
                                      $2.37              $2.49                  $0.20
                                      $2.50              $2.62                  $0.21
                                      $2.63              $2.75                  $0.22
                                      $2.76              $2.88                  $0.23
                                      $2.89              $3.01                  $0.24
                                      $3.02              $3.14                  $0.25
                                      $3.15              $3.27                  $0.26
                                      $3.28              $3.40                  $0.27
                                      $3.41              $3.53                  $0.28
                                      $3.54              $3.66                  $0.29
                                      $3.67              $3.79                  $0.30
                                      $3.80              $3.92                  $0.31
                                      $3.93              $4.05                  $0.32
                                      $4.06              $4.18                  $0.33
                                      $4.19              $4.31                  $0.34
                                      $4.32              $4.44                  $0.35
                                      $4.45              $4.57                  $0.36
                                      $4.58              $4.70                  $0.37
                                      $4.71              $4.83                  $0.38
                                      $4.84              $4.96                  $0.39
                                      $4.97              $5.09                  $0.40
                                      $5.10              $5.22                  $0.41
                                      $5.23              $5.35                  $0.42
                                      $5.36              $5.48                  $0.43
                                      $5.49              $5.61                  $0.44
                                      $5.62              $5.74                  $0.45
                                      $5.75              $5.87                  $0.46
                                      $5.88              $6.00                  $0.47




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                          EXHIBIT 13

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                                                    EleventhAmendment
                                                        to Work Order
                                         under the Delivery Provider Terms of Service

                    This Eleventh Amendment to Work Order (this “Eleventh Amendment”) is effective as of July 26,
            2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth
            Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as
            of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the Seventh
            Amendment to Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order, dated as of
            April 22, 2016, the Ninth Amendment to Work Order, dated as of May 11, 2016, and the Tenth Amendment
            to Work Order, dated as of June 2, 2016 (the “Work Order”), by and between Scoobeez, Inc., a California
            corporation (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”). All capitalized terms
            used and not defined in this Eleventh Amendment have the respective meanings assigned to such terms in
            the Delivery Provider Terms of Service to which you agreed on the Delivery Provider Platform (as the same
            may be amended, modified, or supplemented from time to time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Eleventh Amendment and the terms of the Work Order, the terms of this Eleventh Amendment will
            control.

                                                     [Signature Page Follows]




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                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Eleventh Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name:     Hany Elkordy                                Name: Shahan Ohanessian
               Title:   Director, AMZL NA                            Title:   CEO
                              July 28, 2016
               Date Signed: ____________________________                           July 28, 2016
                                                                     Date Signed: ____________________________




                                        [Signature Page to Eleventh Amendment to Work Order]



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                                                             Schedule B

                                                        Distribution Points

                1. DCH1 – Alsip, IL

                2. DCH2 – Chicago, IL

                3. DCH3 – Lisle, IL

                4. DLA1 – Inglewood, CA

                5. DLA2 – Buena Park, CA

                6. DLA3 – Commerce, CA

                7. DLA4 – Los Angeles, CA

                8. DLA7 – Site location TBD

                9. DLA8 – Hawthorne, CA

                10. DLA9 – Irvine, CA

                11. DSD1 – San Diego, CA

                12. DSD2 – Carlsbad, CA

                13. DSF3 – San Jose, CA

                14. DSF4 – San Leandro, CA

                15. DSF5 – San Francisco, CA

                16. DSF6 – Richmond, CA

                17. UCA1 – San Francisco, CA

                18. UCA2 – Redondo Beach, CA

                19. UCA3 – Los Angeles, CA

                20. UCA4 – Irvine, CA

                21. UCA5 – Los Angeles, CA

                22. UCA6 – San Diego, CA

                23. UCA8 – Berkeley, CA

                24. UCA9 – Sacramento, CA



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                25. UIL1 – Chicago, IL

                26. UNV1 – Las Vegas, NV




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                                                             Schedule C

                                                     Fees Payable by Amazon

            Part I – Prime Now

              Distribution       Duration of           Fees for Services   Uniform and     Total (per
              Point              Planned Route         (per Planned        Vehicle Brand   Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1               4.5 hours             $102.00             $5.00           $107.00
                                 6.5 hours             $155.50             $5.00           $160.50
                                 8.5 hours             $209.00             $5.00           $214.00
                                 10.5 hours            $262.50             $5.00           $267.50
              UCA2, UCA3,        4.5 hours             $86.04              $5.00           $91.04
              UCA4, UCA5,        6.5 hours             $131.56             $5.00           $136.56
              UCA6, and          8.5 hours             $177.08             $5.00           $182.08
              UCA9               10.5 hours            $222.60             $5.00           $227.60
              UCA8               4.5 hours             $97.60              $5.00           $102.60
                                 6.5 hours             $148.90             $5.00           $153.90
                                 8.5 hours             $200.20             $5.00           $205.20
                                 10.5 hours            $251.50             $5.00           $256.50
              UIL1               4.5 hours             $88.56              $5.00           $93.56
                                 5.5 hours             $111.95             $5.00           $116.95
                                 6.5 hours             $135.34             $5.00           $140.34
                                 8.5 hours             $182.12             $5.00           $187.12
                                 9.5 hours             $205.51             $5.00           $210.51
                                 10.5 hours            $228.90             $5.00           $233.90
              UNV1               4.5 hours             $73.00              $5.00           $78.00
                                 6.5 hours             $112.00             $5.00           $117.00
                                 8.5 hours             $151.00             $5.00           $156.00
                                 10.5 hours            $190.00             $5.00           $195.00




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     Part II – Parcel

      Distribution Point   Duration of     Base Route Rate (per   Uniform and Vehicle   Dispatcher Fee (per   Fuel
                           Planned Route   Planned Route)         Brand Promotion Fee   calendar week per     Allowance
                                                                  (per Planned Route)   Distribution Point)
      DCH1, DCH2,          5.5 hours       $190.00                $5.00                 $1,400.00             See below.
      and DCH3             6.5 hours       $210.00                $5.00
                           7.5 hours       $230.00                $5.00
                           8.5 hours       $250.00                $5.00
                           9.5 hours       $271.00                $5.00
                           10.5 hours      $294.00                $5.00
      DLA1, DLA2,          5.5 hours       $174.40                $5.00                 $1,500.00             See below.
      DLA3, and DLA4       6.5 hours       $188.20                $5.00
                           7.5 hours       $202.00                $5.00
                           8.5 hours       $226.84                $5.00
                           9.5 hours       $248.92                $5.00
                           10.5 hours      $271.00                $5.00
      DLA7                 5.5 hours       $180.25                $5.00                 $1,500.00             See below.
                           6.5 hours       $194.50                $5.00
                           7.5 hours       $208.75                $5.00
                           8.5 hours       $234.40                $5.00
                           9.5 hours       $257.20                $5.00
                           10.5 hours      $280.00                $5.00
      DLA8 and DLA9        5.5 hours       $181.55                $5.00                 $1,500.00             See below.
                           6.5 hours       $195.90                $5.00
                           7.5 hours       $210.25                $5.00
                           8.5 hours       $236.08                $5.00
                           9.5 hours       $259.04                $5.00
                           10.5 hours      $282.00                $5.00
      DSD1 and DSD2        5.5 hours       $175.70                $5.00                 $1,400.00             See below.
                           6.5 hours       $189.60                $5.00
                           7.5 hours       $203.50                $5.00
                           8.5 hours       $228.52                $5.00
                           9.5 hours       $250.76                $5.00
                           10.5 hours      $273.00                $5.00
      DSF3                 5.5 hours       $203.00                $5.00                 $1,500.00             See below.
                           6.5 hours       $219.00                $5.00
                           7.5 hours       $235.00                $5.00
                           8.5 hours       $263.80                $5.00
                           9.5 hours       $289.40                $5.00
                           10.5 hours      $315.00                $5.00
      DSF4 and DSF5        5.5 hours       $206.25                $5.00                 $1,500.00             See below.
                           6.5 hours       $222.50                $5.00
                           7.5 hours       $238.75                $5.00
                           8.5 hours       $268.00                $5.00
                           9.5 hours       $294.00                $5.00
                           10.5 hours      $320.00                $5.00
      DSF6                 5.5 hours       $196.50                $5.00                 $1,500.00             See below.
                           6.5 hours       $212.00                $5.00
                           7.5 hours       $227.50                $5.00
                           8.5 hours       $255.40                $5.00
                           9.5 hours       $280.20                $5.00
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            1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
               Planned Route that is actually performed by you.

            2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
               corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
               C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
               For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
               calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
               will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
               EIA       prices     used      to     calculate    the    Fuel      Allowance       can     be      found
               at http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
               average planned miles (based on Amazon’s route planning technology) for all Planned Routes
               originating from the applicable Distribution Point during the prior calendar month, provided that if
               there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
               be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
               for all Planned Routes originating from the applicable Distribution Point during the current calendar
               month.

            3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
               dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
               Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
               Fee set forth above on a weekly basis for each calendar week during which you actually provide a
               dispatcher in connection with performing Services. If, for any given calendar week, the daily average
               number of Planned Routes that you perform from a specific Distribution Point is greater than 30
               Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

            4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
               Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
               otherwise interacting with customers will wear a uniform that complies with the specifications set forth
               on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
               Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
               specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
               time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
               insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
               receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
               notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
               arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
               circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
               hours at a rate equal to (a) $31.00 per hour at DCH1, DCH2, DCH3, and DSF6, (b) $27.60 per hour at
               DLA1, DLA2, DLA3, DLA4, and DLA7, (c) $28.70 per hour at DLA8 and DLA9, (d) $27.80 per hour
               at DSD1 and DSD2, (e) $32.00 per hour at DSF3, and (f) $32.50 per hour at DSF4 and DSF5.

            6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
               experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
               will pay you (a) $194.35 per Training Route at DLA1, DLA2, DLA3, DLA4, DLA7, DLA8, and DLA9,
               (b) $179.01 per Training Route at DSD1 and DSD2, (c) $210.64 per Training Route at DSF3, (d)
               $214.67 per Training Route at DSF4 and DSF5, and (e) $207.91 per Training Route at DSF6.



                                                    Exhibit A - page 100
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                                              Attachment 1 to Part II of Schedule C

                                           Index Price
                                                                           Fuel Allowance
                                       (Dollars per Gallon)
                                     From                To               Dollars per Mile
                                     $1.20              $1.32                  $0.11
                                     $1.33              $1.45                  $0.12
                                     $1.46              $1.58                  $0.13
                                     $1.59              $1.71                  $0.14
                                     $1.72              $1.84                  $0.15
                                     $1.85              $1.97                  $0.16
                                     $1.98              $2.10                  $0.17
                                     $2.11              $2.23                  $0.18
                                     $2.24              $2.36                  $0.19
                                     $2.37              $2.49                  $0.20
                                     $2.50              $2.62                  $0.21
                                     $2.63              $2.75                  $0.22
                                     $2.76              $2.88                  $0.23
                                     $2.89              $3.01                  $0.24
                                     $3.02              $3.14                  $0.25
                                     $3.15              $3.27                  $0.26
                                     $3.28              $3.40                  $0.27
                                     $3.41              $3.53                  $0.28
                                     $3.54              $3.66                  $0.29
                                     $3.67              $3.79                  $0.30
                                     $3.80              $3.92                  $0.31
                                     $3.93              $4.05                  $0.32
                                     $4.06              $4.18                  $0.33
                                     $4.19              $4.31                  $0.34
                                     $4.32              $4.44                  $0.35
                                     $4.45              $4.57                  $0.36
                                     $4.58              $4.70                  $0.37
                                     $4.71              $4.83                  $0.38
                                     $4.84              $4.96                  $0.39
                                     $4.97              $5.09                  $0.40
                                     $5.10              $5.22                  $0.41
                                     $5.23              $5.35                  $0.42
                                     $5.36              $5.48                  $0.43
                                     $5.49              $5.61                  $0.44
                                     $5.62              $5.74                  $0.45
                                     $5.75              $5.87                  $0.46
                                     $5.88              $6.00                  $0.47




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                          EXHIBIT 14

                             Exhibit A - page 102
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                                                    Twelfth Amendment
                                                        to Work Order
                                         under the Delivery Provider Terms of Service

                    This Twelfth Amendment to Work Order (this “Twelfth Amendment”) is effective as of August
            14, 2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth
            Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as
            of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the Seventh
            Amendment to Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order, dated as of
            April 22, 2016, the Ninth Amendment to Work Order, dated as of May 11, 2016, the Tenth Amendment to
            Work Order, dated as of June 2, 2016, and the Eleventh Amendment to Work Order, dated as of July 26,
            2016 (the “Work Order”), by and between Scoobeez, Inc., a California corporation (“you”) and Amazon
            Logistics, Inc., a Delaware corporation (“Amazon”). All capitalized terms used and not defined in this
            Twelfth Amendment have the respective meanings assigned to such terms in the Delivery Provider Terms
            of Service to which you agreed on the Delivery Provider Platform (as the same may be amended, modified,
            or supplemented from time to time, the “Terms”).

                    Amazon and you agree as follows:

                    1.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     2.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Twelfth Amendment and the terms of the Work Order, the terms of this Twelfth Amendment will
            control.

                                                     [Signature Page Follows]




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                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Twelfth Amendment.

              Amazon Logistics, Inc.                                Scoobeez, Inc.


              By:                                                   By:
              Name:     Hany Elkordy                                Name: Shahan Ohanessian
              Title:   Director, AMZL NA                            Title:   CEO
                           August 13, 2016
              Date Signed: ____________________________                           August 13, 2016
                                                                    Date Signed: ____________________________




                                        [Signature Page to Twelfth Amendment to Work Order]



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                                                             Schedule C

                                                    Fees Payable by Amazon

            Part I – Prime Now

             Distribution       Duration of           Fees for Services   Uniform and           Total (per
             Point              Planned Route         (per Planned        Vehicle Brand         Planned Route)
                                                      Route)              Promotion Fee
                                                                          (per Planned
                                                                          Route)
             UCA1               4.5 hours             $102.00             $5.00                 $107.00
                                6.5 hours             $155.50             $5.00                 $160.50
                                8.5 hours             $209.00             $5.00                 $214.00
                                10.5 hours            $262.50             $5.00                 $267.50
             UCA2, UCA3,        4.5 hours             $86.04              $5.00                 $91.04
             UCA4, UCA5,        6.5 hours             $131.56             $5.00                 $136.56
             UCA6, and          8.5 hours             $177.08             $5.00                 $182.08
             UCA9               10.5 hours            $222.60             $5.00                 $227.60
             UCA8               4.5 hours             $97.60              $5.00                 $102.60
                                6.5 hours             $148.90             $5.00                 $153.90
                                8.5 hours             $200.20             $5.00                 $205.20
                                10.5 hours            $251.50             $5.00                 $256.50
             UIL1               4.5 hours             $88.56              $5.00                 $93.56
                                5.5 hours             $111.95             $5.00                 $116.95
                                6.5 hours             $135.34             $5.00                 $140.34
                                8.5 hours             $182.12             $5.00                 $187.12
                                9.5 hours             $205.51             $5.00                 $210.51
                                10.5 hours            $228.90             $5.00                 $233.90
             UNV1               4.5 hours             $73.00              $5.00                 $78.00
                                6.5 hours             $112.00             $5.00                 $117.00
                                8.5 hours             $151.00             $5.00                 $156.00
                                10.5 hours            $190.00             $5.00                 $195.00


            At UCA8, in addition to the applicable Planned Route rate set forth in the table above, Amazon will pay
            you $2.50 per delivery for Amazon Fresh deliveries only.




                                                   Exhibit A - page 105
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     Part II – Parcel

      Distribution Point   Duration of     Base Route Rate (per   Uniform and Vehicle   Dispatcher Fee (per   Fuel
                           Planned Route   Planned Route)         Brand Promotion Fee   calendar week per     Allowance
                                                                  (per Planned Route)   Distribution Point)
      DCH1, DCH2,          5.5 hours       $190.00                $5.00                 $1,400.00             See below.
      and DCH3             6.5 hours       $210.00                $5.00
                           7.5 hours       $230.00                $5.00
                           8.5 hours       $250.00                $5.00
                           9.5 hours       $271.00                $5.00
                           10.5 hours      $294.00                $5.00
      DLA1, DLA2,          5.5 hours       $174.40                $5.00                 $1,500.00             See below.
      DLA3, and DLA4       6.5 hours       $188.20                $5.00
                           7.5 hours       $202.00                $5.00
                           8.5 hours       $226.84                $5.00
                           9.5 hours       $248.92                $5.00
                           10.5 hours      $271.00                $5.00
      DLA7                 5.5 hours       $180.25                $5.00                 $1,500.00             See below.
                           6.5 hours       $194.50                $5.00
                           7.5 hours       $208.75                $5.00
                           8.5 hours       $234.40                $5.00
                           9.5 hours       $257.20                $5.00
                           10.5 hours      $280.00                $5.00
      DLA8 and DLA9        5.5 hours       $181.55                $5.00                 $1,500.00             See below.
                           6.5 hours       $195.90                $5.00
                           7.5 hours       $210.25                $5.00
                           8.5 hours       $236.08                $5.00
                           9.5 hours       $259.04                $5.00
                           10.5 hours      $282.00                $5.00
      DSD1 and DSD2        5.5 hours       $175.70                $5.00                 $1,400.00             See below.
                           6.5 hours       $189.60                $5.00
                           7.5 hours       $203.50                $5.00
                           8.5 hours       $228.52                $5.00
                           9.5 hours       $250.76                $5.00
                           10.5 hours      $273.00                $5.00
      DSF3                 5.5 hours       $203.00                $5.00                 $1,500.00             See below.
                           6.5 hours       $219.00                $5.00
                           7.5 hours       $235.00                $5.00
                           8.5 hours       $263.80                $5.00
                           9.5 hours       $289.40                $5.00
                           10.5 hours      $315.00                $5.00
      DSF4 and DSF5        5.5 hours       $206.25                $5.00                 $1,500.00             See below.
                           6.5 hours       $222.50                $5.00
                           7.5 hours       $238.75                $5.00
                           8.5 hours       $268.00                $5.00
                           9.5 hours       $294.00                $5.00
                           10.5 hours      $320.00                $5.00
      DSF6                 5.5 hours       $196.50                $5.00                 $1,500.00             See below.
                           6.5 hours       $212.00                $5.00
                           7.5 hours       $227.50                $5.00
                           8.5 hours       $255.40                $5.00
                           9.5 hours       $280.20                $5.00
                           10.5 hours      $305.00                $5.00




                                                     Exhibit A - page 106
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            1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
               Planned Route that is actually performed by you.

            2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
               corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
               C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
               For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
               calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
               will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
               EIA       prices     used      to     calculate    the    Fuel      Allowance       can     be      found
               at http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
               average planned miles (based on Amazon’s route planning technology) for all Planned Routes
               originating from the applicable Distribution Point during the prior calendar month, provided that if
               there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
               be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
               for all Planned Routes originating from the applicable Distribution Point during the current calendar
               month.

            3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
               dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
               Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
               Fee set forth above on a weekly basis for each calendar week during which you actually provide a
               dispatcher in connection with performing Services. If, for any given calendar week, the daily average
               number of Planned Routes that you perform from a specific Distribution Point is greater than 30
               Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

            4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
               Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
               otherwise interacting with customers will wear a uniform that complies with the specifications set forth
               on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
               Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
               specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
               time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
               insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
               receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
               notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
               arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
               circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
               hours at a rate equal to (a) $31.00 per hour at DCH1, DCH2, DCH3, and DSF6, (b) $27.60 per hour at
               DLA1, DLA2, DLA3, DLA4, and DLA7, (c) $28.70 per hour at DLA8 and DLA9, (d) $27.80 per hour
               at DSD1 and DSD2, (e) $32.00 per hour at DSF3, and (f) $32.50 per hour at DSF4 and DSF5.

            6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
               experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
               will pay you (a) $194.35 per Training Route at DLA1, DLA2, DLA3, DLA4, DLA7, DLA8, and DLA9,
               (b) $179.01 per Training Route at DSD1 and DSD2, (c) $210.64 per Training Route at DSF3, (d)
               $214.67 per Training Route at DSF4 and DSF5, and (e) $207.91 per Training Route at DSF6.



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                                             Attachment 1 to Part II of Schedule C

                                           Index Price
                                                                          Fuel Allowance
                                       (Dollars per Gallon)
                                     From                To              Dollars per Mile
                                     $1.20              $1.32                 $0.11
                                     $1.33              $1.45                 $0.12
                                     $1.46              $1.58                 $0.13
                                     $1.59              $1.71                 $0.14
                                     $1.72              $1.84                 $0.15
                                     $1.85              $1.97                 $0.16
                                     $1.98              $2.10                 $0.17
                                     $2.11              $2.23                 $0.18
                                     $2.24              $2.36                 $0.19
                                     $2.37              $2.49                 $0.20
                                     $2.50              $2.62                 $0.21
                                     $2.63              $2.75                 $0.22
                                     $2.76              $2.88                 $0.23
                                     $2.89              $3.01                 $0.24
                                     $3.02              $3.14                 $0.25
                                     $3.15              $3.27                 $0.26
                                     $3.28              $3.40                 $0.27
                                     $3.41              $3.53                 $0.28
                                     $3.54              $3.66                 $0.29
                                     $3.67              $3.79                 $0.30
                                     $3.80              $3.92                 $0.31
                                     $3.93              $4.05                 $0.32
                                     $4.06              $4.18                 $0.33
                                     $4.19              $4.31                 $0.34
                                     $4.32              $4.44                 $0.35
                                     $4.45              $4.57                 $0.36
                                     $4.58              $4.70                 $0.37
                                     $4.71              $4.83                 $0.38
                                     $4.84              $4.96                 $0.39
                                     $4.97              $5.09                 $0.40
                                     $5.10              $5.22                 $0.41
                                     $5.23              $5.35                 $0.42
                                     $5.36              $5.48                 $0.43
                                     $5.49              $5.61                 $0.44
                                     $5.62              $5.74                 $0.45
                                     $5.75              $5.87                 $0.46
                                     $5.88              $6.00                 $0.47




                                                   Exhibit A - page 108
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                          EXHIBIT 15

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                                                    Thirteenth Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                    This Thirteenth Amendment to Work Order (this “Thirteenth Amendment”) is effective as of
            August 28, 2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by the
            First Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order,
            dated as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the
            Fourth Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order,
            dated as of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the
            Seventh Amendment to Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order,
            dated as of April 22, 2016, the Ninth Amendment to Work Order, dated as of May 11, 2016, the Tenth
            Amendment to Work Order, dated as of June 2, 2016, the Eleventh Amendment to Work Order, dated as
            of July 26, 2016, and the Twelfth Amendment to Work Order, dated as of August 14, 2016 (the “Work
            Order”), by and between Scoobeez, Inc., a California corporation (“you”) and Amazon Logistics, Inc., a
            Delaware corporation (“Amazon”). All capitalized terms used and not defined in this Thirteenth
            Amendment have the respective meanings assigned to such terms in the Delivery Provider Terms of Service
            to which you agreed on the Delivery Provider Platform (as the same may be amended, modified, or
            supplemented from time to time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Thirteenth Amendment and the terms of the Work Order, the terms of this Thirteenth Amendment
            will control.

                                                      [Signature Page Follows]




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                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Thirteenth Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name:   Hany Elkordy                                  Name:     Shahan Ohanessian

               Title: Director, AMZL NA                              Title:   CEO
                             August 20, 2016
               Date Signed: ____________________________             Date Signed: August 20, 2016
                                                                                  ____________________________




                                       [Signature Page to Thirteenth Amendment to Work Order]



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                                                             Schedule B

                                                        Distribution Points

                1. DCH1 – Alsip, IL

                2. DCH2 – Chicago, IL

                3. DCH3 – Lisle, IL

                4. DDA1 – Farmers Branch, TX

                5. DDA2 – Garland, TX

                6. DDA3 – Ft. Worth, TX

                7. DLA1 – Inglewood, CA

                8. DLA2 – Buena Park, CA

                9. DLA3 – Commerce, CA

                10. DLA4 – Los Angeles, CA

                11. DLA7 – Site location TBD

                12. DLA8 – Hawthorne, CA

                13. DLA9 – Irvine, CA

                14. DMI1 – Miami, FL

                15. DMI2 – Miami Gardens, FL

                16. DMI3 – Miami, FL

                17. DSD1 – San Diego, CA

                18. DSD2 – Carlsbad, CA

                19. DSF3 – San Jose, CA

                20. DSF4 – San Leandro, CA

                21. DSF5 – San Francisco, CA

                22. DSF6 – Richmond, CA

                23. UCA1 – San Francisco, CA

                24. UCA2 – Redondo Beach, CA




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                25. UCA3 – Los Angeles, CA

                26. UCA4 – Irvine, CA

                27. UCA5 – Los Angeles, CA

                28. UCA6 – San Diego, CA

                29. UCA8 – Berkeley, CA

                30. UCA9 – Sacramento, CA

                31. UIL1 – Chicago, IL

                32. UNV1 – Las Vegas, NV




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                                                             Schedule C

                                                     Fees Payable by Amazon

            Part I – Prime Now

              Distribution       Duration of           Fees for Services   Uniform and          Total (per
              Point              Planned Route         (per Planned        Vehicle Brand        Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1               4.5 hours             $102.00             $5.00                $107.00
                                 6.5 hours             $155.50             $5.00                $160.50
                                 8.5 hours             $209.00             $5.00                $214.00
                                 10.5 hours            $262.50             $5.00                $267.50
              UCA2, UCA3,        4.5 hours             $86.04              $5.00                $91.04
              UCA4, UCA5,        6.5 hours             $131.56             $5.00                $136.56
              UCA6, and          8.5 hours             $177.08             $5.00                $182.08
              UCA9               10.5 hours            $222.60             $5.00                $227.60
              UCA8               4.5 hours             $97.60              $5.00                $102.60
                                 6.5 hours             $148.90             $5.00                $153.90
                                 8.5 hours             $200.20             $5.00                $205.20
                                 10.5 hours            $251.50             $5.00                $256.50
              UIL1               4.5 hours             $88.56              $5.00                $93.56
                                 5.5 hours             $111.95             $5.00                $116.95
                                 6.5 hours             $135.34             $5.00                $140.34
                                 8.5 hours             $182.12             $5.00                $187.12
                                 9.5 hours             $205.51             $5.00                $210.51
                                 10.5 hours            $228.90             $5.00                $233.90
              UNV1               4.5 hours             $73.00              $5.00                $78.00
                                 6.5 hours             $112.00             $5.00                $117.00
                                 8.5 hours             $151.00             $5.00                $156.00
                                 10.5 hours            $190.00             $5.00                $195.00


            At UCA8, in addition to the applicable Planned Route rate set forth in the table above, Amazon will pay
            you $2.50 per delivery for Amazon Fresh deliveries only.




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     Part II – Parcel

      Distribution Point   Duration of     Base Route Rate (per   Uniform and Vehicle   Dispatcher Fee (per   Fuel
                           Planned Route   Planned Route)         Brand Promotion Fee   calendar week per     Allowance
                                                                  (per Planned Route)   Distribution Point)
      DCH1, DCH2,          5.5 hours       $190.00                $5.00                 $1,400.00             See below.
      and DCH3             6.5 hours       $210.00                $5.00
                           7.5 hours       $230.00                $5.00
                           8.5 hours       $250.00                $5.00
                           9.5 hours       $271.00                $5.00
                           10.5 hours      $294.00                $5.00
      DDA1, DDA2,          5.5 hours       $163.20                $5.00                 $1,450.00             See below.
      and DDA3             6.5 hours       $184.00                $5.00
                           7.5 hours       $194.50                $5.00
                           8.5 hours       $220.00                $5.00
                           9.5 hours       $244.00                $5.00
                           10.5 hours      $251.10                $5.00
      DLA1, DLA2,          5.5 hours       $174.40                $5.00                 $1,500.00             See below.
      DLA3, and DLA4       6.5 hours       $188.20                $5.00
                           7.5 hours       $202.00                $5.00
                           8.5 hours       $226.84                $5.00
                           9.5 hours       $248.92                $5.00
                           10.5 hours      $271.00                $5.00
      DLA7                 5.5 hours       $180.25                $5.00                 $1,500.00             See below.
                           6.5 hours       $194.50                $5.00
                           7.5 hours       $208.75                $5.00
                           8.5 hours       $234.40                $5.00
                           9.5 hours       $257.20                $5.00
                           10.5 hours      $280.00                $5.00
      DLA8 and DLA9        5.5 hours       $181.55                $5.00                 $1,500.00             See below.
                           6.5 hours       $195.90                $5.00
                           7.5 hours       $210.25                $5.00
                           8.5 hours       $236.08                $5.00
                           9.5 hours       $259.04                $5.00
                           10.5 hours      $282.00                $5.00
      DMI1                 5.5 hours       $197.12                $5.00                 $1,450.00             See below.
                           6.5 hours       $202.55                $5.00
                           7.5 hours       $220.39                $5.00
                           8.5 hours       $233.83                $5.00
                           9.5 hours       $239.98                $5.00
                           10.5 hours      $249.98                $5.00
      DMI2 and DMI3        5.5 hours       $169.79                $5.00                 $1,450.00             See below.
                           6.5 hours       $181.29                $5.00
                           7.5 hours       $193.12                $5.00
                           8.5 hours       $211.92                $5.00
                           9.5 hours       $230.79                $5.00
                           10.5 hours      $248.25                $5.00
      DSD1 and DSD2        5.5 hours       $175.70                $5.00                 $1,400.00             See below.
                           6.5 hours       $189.60                $5.00
                           7.5 hours       $203.50                $5.00
                           8.5 hours       $228.52                $5.00
                           9.5 hours       $250.76                $5.00
                           10.5 hours      $273.00                $5.00




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      DSF3                5.5 hours        $203.00                $5.00                   $1,500.00           See below.
                          6.5 hours        $219.00                $5.00
                          7.5 hours        $235.00                $5.00
                          8.5 hours        $263.80                $5.00
                          9.5 hours        $289.40                $5.00
                          10.5 hours       $315.00                $5.00
      DSF4 and DSF5       5.5 hours        $206.25                $5.00                   $1,500.00           See below.
                          6.5 hours        $222.50                $5.00
                          7.5 hours        $238.75                $5.00
                          8.5 hours        $268.00                $5.00
                          9.5 hours        $294.00                $5.00
                          10.5 hours       $320.00                $5.00
      DSF6                5.5 hours        $196.50                $5.00                   $1,500.00           See below.
                          6.5 hours        $212.00                $5.00
                          7.5 hours        $227.50                $5.00
                          8.5 hours        $255.40                $5.00
                          9.5 hours        $280.20                $5.00
                          10.5 hours       $305.00                $5.00

             1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
                Planned Route that is actually performed by you.

             2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
                corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
                C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
                For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
                calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
                will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
                EIA       prices     used      to     calculate    the    Fuel      Allowance       can     be      found
                at http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
                average planned miles (based on Amazon’s route planning technology) for all Planned Routes
                originating from the applicable Distribution Point during the prior calendar month, provided that if
                there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
                be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
                for all Planned Routes originating from the applicable Distribution Point during the current calendar
                month.

             3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
                dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
                Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
                Fee set forth above on a weekly basis for each calendar week during which you actually provide a
                dispatcher in connection with performing Services. If, for any given calendar week, the daily average
                number of Planned Routes that you perform from a specific Distribution Point is greater than 30
                Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

             4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
                Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
                otherwise interacting with customers will wear a uniform that complies with the specifications set forth
                on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
                Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
                specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
                time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and



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                insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
                receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
                notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
               arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
               circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
               hours at a rate equal to (a) $29.00 per hour at DDA1, DDA2, and DDA3, (b) $31.00 per hour at DCH1,
               DCH2, DCH3, and DSF6, (c) $27.60 per hour at DLA1, DLA2, DLA3, DLA4, and DLA7, (d) $28.70
               per hour at DLA8 and DLA9, (e) $28.50 per hour at DMI1, DMI2, and DMI3, (f) $27.80 per hour at
               DSD1 and DSD2, (g) $32.00 per hour at DSF3, and (h) $32.50 per hour at DSF4 and DSF5.

            6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
               experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
               will pay you (a) $189.60 per Training Route at DDA1, DDA2, and DDA3, (b) $194.35 per Training
               Route at DLA1, DLA2, DLA3, DLA4, DLA7, DLA8, and DLA9, (c) $160.00 per Training Route at
               DMI1, DMI2, and DMI3, (d) $179.01 per Training Route at DSD1 and DSD2, (e) $210.64 per Training
               Route at DSF3, (f) $214.67 per Training Route at DSF4 and DSF5, and (g) $207.91 per Training Route
               at DSF6.




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                                              Attachment 1 to Part II of Schedule C

                                           Index Price
                                                                           Fuel Allowance
                                       (Dollars per Gallon)
                                     From                To               Dollars per Mile
                                     $1.20              $1.32                  $0.11
                                     $1.33              $1.45                  $0.12
                                     $1.46              $1.58                  $0.13
                                     $1.59              $1.71                  $0.14
                                     $1.72              $1.84                  $0.15
                                     $1.85              $1.97                  $0.16
                                     $1.98              $2.10                  $0.17
                                     $2.11              $2.23                  $0.18
                                     $2.24              $2.36                  $0.19
                                     $2.37              $2.49                  $0.20
                                     $2.50              $2.62                  $0.21
                                     $2.63              $2.75                  $0.22
                                     $2.76              $2.88                  $0.23
                                     $2.89              $3.01                  $0.24
                                     $3.02              $3.14                  $0.25
                                     $3.15              $3.27                  $0.26
                                     $3.28              $3.40                  $0.27
                                     $3.41              $3.53                  $0.28
                                     $3.54              $3.66                  $0.29
                                     $3.67              $3.79                  $0.30
                                     $3.80              $3.92                  $0.31
                                     $3.93              $4.05                  $0.32
                                     $4.06              $4.18                  $0.33
                                     $4.19              $4.31                  $0.34
                                     $4.32              $4.44                  $0.35
                                     $4.45              $4.57                  $0.36
                                     $4.58              $4.70                  $0.37
                                     $4.71              $4.83                  $0.38
                                     $4.84              $4.96                  $0.39
                                     $4.97              $5.09                  $0.40
                                     $5.10              $5.22                  $0.41
                                     $5.23              $5.35                  $0.42
                                     $5.36              $5.48                  $0.43
                                     $5.49              $5.61                  $0.44
                                     $5.62              $5.74                  $0.45
                                     $5.75              $5.87                  $0.46
                                     $5.88              $6.00                  $0.47




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                          EXHIBIT 16

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                                                    Fourteenth Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                     This Fourteenth Amendment to Work Order (this “Fourteenth Amendment”) is effective as of
            September 18, 2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by
            the First Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work
            Order, dated as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015,
            the Fourth Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order,
            dated as of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the
            Seventh Amendment to Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order,
            dated as of April 22, 2016, the Ninth Amendment to Work Order, dated as of May 11, 2016, the Tenth
            Amendment to Work Order, dated as of June 2, 2016, the Eleventh Amendment to Work Order, dated as
            of July 26, 2016, the Twelfth Amendment to Work Order, dated as of August 14, 2016, and the Thirteenth
            Amendment to Work Order, dated as of August 28, 2016 (the “Work Order”), by and between Scoobeez,
            Inc., a California corporation (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”).
            All capitalized terms used and not defined in this Fourteenth Amendment have the respective meanings
            assigned to such terms in the Delivery Provider Terms of Service to which you agreed on the Delivery
            Provider Platform (as the same may be amended, modified, or supplemented from time to time, the
            “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Fourteenth Amendment and the terms of the Work Order, the terms of this Fourteenth Amendment
            will control.

                                                      [Signature Page Follows]




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                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Fourteenth Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name:    Hany Elkordy                                 Name: Shahan Ohanessian
               Title:   Director, AMZL NA                            Title:   CEO

                             September 11, 2016
               Date Signed: ____________________________                            September 11, 2016
                                                                     Date Signed: ____________________________




                                       [Signature Page to Fourteenth Amendment to Work Order]



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                                                             Schedule B

                                                        Distribution Points

                 1. DCH1 – Alsip, IL

                 2. DCH2 – Chicago, IL

                 3. DCH3 – Lisle, IL

                 4. DDA1 – Farmers Branch, TX

                 5. DDA2 – Garland, TX

                 6. DDA3 – Ft. Worth, TX

                 7. DLA1 – Inglewood, CA

                 8. DLA2 – Buena Park, CA

                 9. DLA3 – Commerce, CA

                 10. DLA4 – Los Angeles, CA

                 11. DLA7 – Site location TBD

                 12. DLA8 – Hawthorne, CA

                 13. DLA9 – Irvine, CA

                 14. DMI1 – Miami, FL

                 15. DMI2 – Miami Gardens, FL

                 16. DMI3 – Miami, FL

                 17. DSD1 – San Diego, CA

                 18. DSD2 – Carlsbad, CA

                 19. DSF3 – San Jose, CA

                 20. DSF4 – San Leandro, CA

                 21. DSF5 – San Francisco, CA

                 22. DSF6 – Richmond, CA

                 23. SAT5 – San Antonio, TX

                 24. UCA1 – San Francisco, CA




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                 25. UCA2 – Redondo Beach, CA

                 26. UCA3 – Los Angeles, CA

                 27. UCA4 – Irvine, CA

                 28. UCA5 – Los Angeles, CA

                 29. UCA6 – San Diego, CA

                 30. UCA8 – Berkeley, CA

                 31. UCA9 – Sacramento, CA

                 32. UIL1 – Chicago, IL

                 33. UNV1 – Las Vegas, NV




                                                    Exhibit A - page 123
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                                                             Schedule C

                                                     Fees Payable by Amazon

            Part I – Prime Now

              Distribution       Duration of           Fees for Services   Uniform and          Total (per
              Point              Planned Route         (per Planned        Vehicle Brand        Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1               4.5 hours             $102.00             $5.00                $107.00
                                 6.5 hours             $155.50             $5.00                $160.50
                                 8.5 hours             $209.00             $5.00                $214.00
                                 10.5 hours            $262.50             $5.00                $267.50
              UCA2, UCA3,        4.5 hours             $86.04              $5.00                $91.04
              UCA4, UCA5,        6.5 hours             $131.56             $5.00                $136.56
              UCA6, and          8.5 hours             $177.08             $5.00                $182.08
              UCA9               10.5 hours            $222.60             $5.00                $227.60
              UCA8               4.5 hours             $97.60              $5.00                $102.60
                                 6.5 hours             $148.90             $5.00                $153.90
                                 8.5 hours             $200.20             $5.00                $205.20
                                 10.5 hours            $251.50             $5.00                $256.50
              UIL1               4.5 hours             $88.56              $5.00                $93.56
                                 5.5 hours             $111.95             $5.00                $116.95
                                 6.5 hours             $135.34             $5.00                $140.34
                                 8.5 hours             $182.12             $5.00                $187.12
                                 9.5 hours             $205.51             $5.00                $210.51
                                 10.5 hours            $228.90             $5.00                $233.90
              UNV1               4.5 hours             $73.00              $5.00                $78.00
                                 6.5 hours             $112.00             $5.00                $117.00
                                 8.5 hours             $151.00             $5.00                $156.00
                                 10.5 hours            $190.00             $5.00                $195.00


            At UCA8, in addition to the applicable Planned Route rate set forth in the table above, Amazon will pay
            you $2.50 per delivery for Amazon Fresh deliveries only.




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     Part II – Parcel

      Distribution Point   Duration/Type   Base Route Rate (per   Uniform and Vehicle   Dispatcher Fee (per   Fuel
                           of Planned      Planned Route)         Brand Promotion Fee   calendar week per     Allowance
                           Route                                  (per Planned Route)   Distribution Point)
      DCH1, DCH2,          5.5 hours       $190.00                $5.00                 $1,400.00             See below.
      and DCH3             6.5 hours       $210.00                $5.00
                           7.5 hours       $230.00                $5.00
                           8.5 hours       $250.00                $5.00
                           9.5 hours       $271.00                $5.00
                           10.5 hours      $294.00                $5.00
      DDA1, DDA2,          5.5 hours       $163.20                $5.00                 $1,450.00             See below.
      and DDA3             6.5 hours       $184.00                $5.00
                           7.5 hours       $194.50                $5.00
                           8.5 hours       $220.00                $5.00
                           9.5 hours       $244.00                $5.00
                           10.5 hours      $251.10                $5.00
      DLA1, DLA2,          5.5 hours       $174.40                $5.00                 $1,500.00             See below.
      DLA3, and DLA4       6.5 hours       $188.20                $5.00
                           7.5 hours       $202.00                $5.00
                           8.5 hours       $226.84                $5.00
                           9.5 hours       $248.92                $5.00
                           10.5 hours      $271.00                $5.00
      DLA7                 5.5 hours       $180.25                $5.00                 $1,500.00             See below.
                           6.5 hours       $194.50                $5.00
                           7.5 hours       $208.75                $5.00
                           8.5 hours       $234.40                $5.00
                           9.5 hours       $257.20                $5.00
                           10.5 hours      $280.00                $5.00
      DLA8 and DLA9        5.5 hours       $181.55                $5.00                 $1,500.00             See below.
                           6.5 hours       $195.90                $5.00
                           7.5 hours       $210.25                $5.00
                           8.5 hours       $236.08                $5.00
                           9.5 hours       $259.04                $5.00
                           10.5 hours      $282.00                $5.00
      DMI1                 5.5 hours       $197.12                $5.00                 $1,450.00             See below.
                           6.5 hours       $202.55                $5.00
                           7.5 hours       $220.39                $5.00
                           8.5 hours       $233.83                $5.00
                           9.5 hours       $239.98                $5.00
                           10.5 hours      $249.98                $5.00
      DMI2 and DMI3        5.5 hours       $169.79                $5.00                 $1,450.00             See below.
                           6.5 hours       $181.29                $5.00
                           7.5 hours       $193.12                $5.00
                           8.5 hours       $211.92                $5.00
                           9.5 hours       $230.79                $5.00
                           10.5 hours      $248.25                $5.00
      DSD1 and DSD2        5.5 hours       $175.70                $5.00                 $1,400.00             See below.
                           6.5 hours       $189.60                $5.00
                           7.5 hours       $203.50                $5.00
                           8.5 hours       $228.52                $5.00
                           9.5 hours       $250.76                $5.00
                           10.5 hours      $273.00                $5.00




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      Distribution Point   Duration/Type   Base Route Rate (per   Uniform and Vehicle     Dispatcher Fee (per   Fuel
                           of Planned      Planned Route)         Brand Promotion Fee     calendar week per     Allowance
                           Route                                  (per Planned Route)     Distribution Point)
      DSF3                 5.5 hours       $203.00                $5.00                   $1,500.00             See below.
                           6.5 hours       $219.00                $5.00
                           7.5 hours       $235.00                $5.00
                           8.5 hours       $263.80                $5.00
                           9.5 hours       $289.40                $5.00
                           10.5 hours      $315.00                $5.00
      DSF4 and DSF5        5.5 hours       $206.25                $5.00                   $1,500.00             See below.
                           6.5 hours       $222.50                $5.00
                           7.5 hours       $238.75                $5.00
                           8.5 hours       $268.00                $5.00
                           9.5 hours       $294.00                $5.00
                           10.5 hours      $320.00                $5.00
      DSF6                 5.5 hours       $196.50                $5.00                   $1,500.00             See below.
                           6.5 hours       $212.00                $5.00
                           7.5 hours       $227.50                $5.00
                           8.5 hours       $255.40                $5.00
                           9.5 hours       $280.20                $5.00
                           10.5 hours      $305.00                $5.00
      SAT5                 5.5 hours       $164.06                $5.00                   $1,450.00             See below.
                           6.5 hours       $184.15                $5.00
                           7.5 hours       $195.60                $5.00
                           8.5 hours       $211.19                $5.00
                           9.5 hours       $230.12                $5.00
                           10.5 hours      $252.51                $5.00
                           Helper (if      $135.32                N/A
                           applicable)

             1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
                Planned Route that is actually performed by you.

             2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
                corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
                C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
                For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
                calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
                will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
                EIA      prices     used     to    calculate    the    Fuel     Allowance       can   be      found    at
                http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
                average planned miles (based on Amazon’s route planning technology) for all Planned Routes
                originating from the applicable Distribution Point during the prior calendar month, provided that if
                there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
                be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
                for all Planned Routes originating from the applicable Distribution Point during the current calendar
                month.

             3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
                dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
                Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
                Fee set forth above on a weekly basis for each calendar week during which you actually provide a




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                 dispatcher in connection with performing Services. If, for any given calendar week, the daily average
                 number of Planned Routes that you perform from a specific Distribution Point is greater than 30
                 Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

            4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
               Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
               otherwise interacting with customers will wear a uniform that complies with the specifications set forth
               on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
               Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
               specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
               time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
               insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
               receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
               notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
               arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
               circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
               hours at a rate equal to (a) $29.00 per hour at DDA1, DDA2, and DDA3, (b) $31.00 per hour at DCH1,
               DCH2, DCH3, and DSF6, (c) $27.60 per hour at DLA1, DLA2, DLA3, DLA4, and DLA7, (d) $28.70
               per hour at DLA8 and DLA9, (e) $28.50 per hour at DMI1, DMI2, and DMI3, (f) $27.80 per hour at
               DSD1 and DSD2, (g) $32.00 per hour at DSF3, (h) $32.50 per hour at DSF4 and DSF5, and (i) $28.00
               per hour at SAT5.

            6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
               experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
               will pay you (a) $189.60 per Training Route at DDA1, DDA2, and DDA3, (b) $194.35 per Training
               Route at DLA1, DLA2, DLA3, DLA4, DLA7, DLA8, and DLA9, (c) $160.00 per Training Route at
               DMI1, DMI2, and DMI3, (d) $179.01 per Training Route at DSD1 and DSD2, (e) $210.64 per Training
               Route at DSF3, (f) $214.67 per Training Route at DSF4 and DSF5, (g) $207.91 per Training Route at
               DSF6, and (h) $161.56 per Training Route at SAT5.




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                                              Attachment 1 to Part II of Schedule C

                                            Index Price
                                                                           Fuel Allowance
                                        (Dollars per Gallon)
                                      From                To              Dollars per Mile
                                      $1.20              $1.32                 $0.11
                                      $1.33              $1.45                 $0.12
                                      $1.46              $1.58                 $0.13
                                      $1.59              $1.71                 $0.14
                                      $1.72              $1.84                 $0.15
                                      $1.85              $1.97                 $0.16
                                      $1.98              $2.10                 $0.17
                                      $2.11              $2.23                 $0.18
                                      $2.24              $2.36                 $0.19
                                      $2.37              $2.49                 $0.20
                                      $2.50              $2.62                 $0.21
                                      $2.63              $2.75                 $0.22
                                      $2.76              $2.88                 $0.23
                                      $2.89              $3.01                 $0.24
                                      $3.02              $3.14                 $0.25
                                      $3.15              $3.27                 $0.26
                                      $3.28              $3.40                 $0.27
                                      $3.41              $3.53                 $0.28
                                      $3.54              $3.66                 $0.29
                                      $3.67              $3.79                 $0.30
                                      $3.80              $3.92                 $0.31
                                      $3.93              $4.05                 $0.32
                                      $4.06              $4.18                 $0.33
                                      $4.19              $4.31                 $0.34
                                      $4.32              $4.44                 $0.35
                                      $4.45              $4.57                 $0.36
                                      $4.58              $4.70                 $0.37
                                      $4.71              $4.83                 $0.38
                                      $4.84              $4.96                 $0.39
                                      $4.97              $5.09                 $0.40
                                      $5.10              $5.22                 $0.41
                                      $5.23              $5.35                 $0.42
                                      $5.36              $5.48                 $0.43
                                      $5.49              $5.61                 $0.44
                                      $5.62              $5.74                 $0.45
                                      $5.75              $5.87                 $0.46
                                      $5.88              $6.00                 $0.47




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                          EXHIBIT 17

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                                                    Fifteenth Amendment
                                                        to Work Order
                                         under the Delivery Provider Terms of Service

                     This Fifteenth Amendment to Work Order (this “Fifteenth Amendment”) is effective as of
            September 18, 2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by
            the First Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work
            Order, dated as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015,
            the Fourth Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order,
            dated as of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the
            Seventh Amendment to Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order,
            dated as of April 22, 2016, the Ninth Amendment to Work Order, dated as of May 11, 2016, the Tenth
            Amendment to Work Order, dated as of June 2, 2016, the Eleventh Amendment to Work Order, dated as
            of July 26, 2016, the Twelfth Amendment to Work Order, dated as of August 14, 2016, the Thirteenth
            Amendment to Work Order, dated as of August 28, 2016, and the Fourteenth Amendment to Work Order,
            dated as of September 18, 2016 (the “Work Order”), by and between Scoobeez, Inc., a California
            corporation (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”). All capitalized terms
            used and not defined in this Fifteenth Amendment have the respective meanings assigned to such terms in
            the Delivery Provider Terms of Service to which you agreed on the Delivery Provider Platform (as the same
            may be amended, modified, or supplemented from time to time, the “Terms”).

                    Amazon and you agree as follows:

                    1.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     2.       No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Fifteenth Amendment and the terms of the Work Order, the terms of this Fifteenth Amendment will
            control.

                                                     [Signature Page Follows]




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                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Fifteenth Amendment.

              Amazon Logistics, Inc.                                Scoobeez, Inc.


              By:                                                   By:
              Name: Shahan Ohanessian                               Name:    Hany Elkordy

              Title: CEO                                            Title:   Director, AMZL NA
                             September 16, 2016
              Date Signed: ____________________________                           September 16, 2016
                                                                    Date Signed: ____________________________




                                       [Signature Page to Fifteenth Amendment to Work Order]



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                                                             Schedule C

                                                   Fees Payable by Amazon

            Part I – Prime Now

             Distribution       Duration of          Fees for Services    Uniform and           Total (per
             Point              Planned Route        (per Planned         Vehicle Brand         Planned Route)
                                                     Route)               Promotion Fee
                                                                          (per Planned
                                                                          Route)
             UCA1               4.5 hours            $102.00              $5.00                 $107.00
                                6.5 hours            $155.50              $5.00                 $160.50
                                8.5 hours            $209.00              $5.00                 $214.00
                                10.5 hours           $262.50              $5.00                 $267.50
             UCA2, UCA3,        4.5 hours            $86.04               $5.00                 $91.04
             UCA4, UCA5,        6.5 hours            $131.56              $5.00                 $136.56
             UCA6, and          8.5 hours            $177.08              $5.00                 $182.08
             UCA9               10.5 hours           $222.60              $5.00                 $227.60
             UCA8               4.5 hours            $97.60               $5.00                 $102.60
                                6.5 hours            $148.90              $5.00                 $153.90
                                8.5 hours            $200.20              $5.00                 $205.20
                                10.5 hours           $251.50              $5.00                 $256.50
             UIL1               4.5 hours            $88.56               $5.00                 $93.56
                                5.5 hours            $111.95              $5.00                 $116.95
                                6.5 hours            $135.34              $5.00                 $140.34
                                8.5 hours            $182.12              $5.00                 $187.12
                                9.5 hours            $205.51              $5.00                 $210.51
                                10.5 hours           $228.90              $5.00                 $233.90
             UNV1               4.5 hours            $73.00               $5.00                 $78.00
                                6.5 hours            $112.00              $5.00                 $117.00
                                8.5 hours            $151.00              $5.00                 $156.00
                                10.5 hours           $190.00              $5.00                 $195.00


            At UCA8, in addition to the applicable Planned Route rate set forth in the table above, Amazon will pay
            you $5.00 per delivery for Amazon Fresh deliveries only, effective as of September 4, 2016.




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     Part II – Parcel

      Distribution Point   Duration/Type   Base Route Rate (per   Uniform and Vehicle   Dispatcher Fee (per   Fuel
                           of Planned      Planned Route)         Brand Promotion Fee   calendar week per     Allowance
                           Route                                  (per Planned Route)   Distribution Point)
      DCH1, DCH2,          5.5 hours       $190.00                $5.00                 $1,400.00             See below.
      and DCH3             6.5 hours       $210.00                $5.00
                           7.5 hours       $230.00                $5.00
                           8.5 hours       $250.00                $5.00
                           9.5 hours       $271.00                $5.00
                           10.5 hours      $294.00                $5.00
      DDA1, DDA2,          5.5 hours       $163.20                $5.00                 $1,450.00             See below.
      and DDA3             6.5 hours       $184.00                $5.00
                           7.5 hours       $194.50                $5.00
                           8.5 hours       $220.00                $5.00
                           9.5 hours       $244.00                $5.00
                           10.5 hours      $251.10                $5.00
      DLA1, DLA2,          5.5 hours       $174.40                $5.00                 $1,500.00             See below.
      DLA3, and DLA4       6.5 hours       $188.20                $5.00
                           7.5 hours       $202.00                $5.00
                           8.5 hours       $226.84                $5.00
                           9.5 hours       $248.92                $5.00
                           10.5 hours      $271.00                $5.00
                           Same Day        Your Vehicle:          $5.00
                           Planned Route   $222.00
                           (7 hours)
                                           Delivery Associate
                                           Personal Vehicle:
                                           $205.00
      DLA7                 5.5 hours       $180.25                $5.00                 $1,500.00             See below.
                           6.5 hours       $194.50                $5.00
                           7.5 hours       $208.75                $5.00
                           8.5 hours       $234.40                $5.00
                           9.5 hours       $257.20                $5.00
                           10.5 hours      $280.00                $5.00
                           Same Day        Your Vehicle:          $5.00
                           Planned Route   $222.00
                           (7 hours)
                                           Delivery Associate
                                           Personal Vehicle:
                                           $205.00
      DLA8 and DLA9        5.5 hours       $181.55                $5.00                 $1,500.00             See below.
                           6.5 hours       $195.90                $5.00
                           7.5 hours       $210.25                $5.00
                           8.5 hours       $236.08                $5.00
                           9.5 hours       $259.04                $5.00
                           10.5 hours      $282.00                $5.00
                           Same Day        Your Vehicle:          $5.00
                           Planned Route   $222.00
                           (7 hours)
                                           Delivery Associate
                                           Personal Vehicle:
                                           $205.00
      DMI1                 5.5 hours       $197.12                $5.00                 $1,450.00             See below.




                                                    Exhibit A - page 133
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      Distribution Point   Duration/Type   Base Route Rate (per   Uniform and Vehicle     Dispatcher Fee (per   Fuel
                           of Planned      Planned Route)         Brand Promotion Fee     calendar week per     Allowance
                           Route                                  (per Planned Route)     Distribution Point)
                           6.5 hours       $202.55                $5.00
                           7.5 hours       $220.39                $5.00
                           8.5 hours       $233.83                $5.00
                           9.5 hours       $239.98                $5.00
                           10.5 hours      $249.98                $5.00
      DMI2 and DMI3        5.5 hours       $169.79                $5.00                   $1,450.00             See below.
                           6.5 hours       $181.29                $5.00
                           7.5 hours       $193.12                $5.00
                           8.5 hours       $211.92                $5.00
                           9.5 hours       $230.79                $5.00
                           10.5 hours      $248.25                $5.00
      DSD1 and DSD2        5.5 hours       $175.70                $5.00                   $1,400.00             See below.
                           6.5 hours       $189.60                $5.00
                           7.5 hours       $203.50                $5.00
                           8.5 hours       $228.52                $5.00
                           9.5 hours       $250.76                $5.00
                           10.5 hours      $273.00                $5.00
      DSF3                 5.5 hours       $203.00                $5.00                   $1,500.00             See below.
                           6.5 hours       $219.00                $5.00
                           7.5 hours       $235.00                $5.00
                           8.5 hours       $263.80                $5.00
                           9.5 hours       $289.40                $5.00
                           10.5 hours      $315.00                $5.00
      DSF4 and DSF5        5.5 hours       $206.25                $5.00                   $1,500.00             See below.
                           6.5 hours       $222.50                $5.00
                           7.5 hours       $238.75                $5.00
                           8.5 hours       $268.00                $5.00
                           9.5 hours       $294.00                $5.00
                           10.5 hours      $320.00                $5.00
      DSF6                 5.5 hours       $196.50                $5.00                   $1,500.00             See below.
                           6.5 hours       $212.00                $5.00
                           7.5 hours       $227.50                $5.00
                           8.5 hours       $255.40                $5.00
                           9.5 hours       $280.20                $5.00
                           10.5 hours      $305.00                $5.00
      SAT5                 5.5 hours       $164.06                $5.00                   $1,450.00             See below.
                           6.5 hours       $184.15                $5.00
                           7.5 hours       $195.60                $5.00
                           8.5 hours       $211.19                $5.00
                           9.5 hours       $230.12                $5.00
                           10.5 hours      $252.51                $5.00
                           Helper (if      $135.32                N/A
                           applicable)

             1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
                Planned Route that is actually performed by you.

             2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
                corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
                C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.




                                                     Exhibit A - page 134
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                For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
                calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
                will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
                EIA       prices     used      to     calculate    the    Fuel      Allowance       can    be     found
                at http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
                average planned miles (based on Amazon’s route planning technology) for all Planned Routes
                originating from the applicable Distribution Point during the prior calendar month, provided that if
                there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
                be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
                for all Planned Routes originating from the applicable Distribution Point during the current calendar
                month.

            3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
               dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
               Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
               Fee set forth above on a weekly basis for each calendar week during which you actually provide a
               dispatcher in connection with performing Services. If, for any given calendar week, the daily average
               number of Planned Routes that you perform from a specific Distribution Point is greater than 30
               Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

            4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
               Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
               otherwise interacting with customers will wear a uniform that complies with the specifications set forth
               on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
               Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
               specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
               time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
               insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
               receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
               notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
               arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
               circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
               hours at a rate equal to (a) $29.00 per hour at DDA1, DDA2, and DDA3, (b) $31.00 per hour at DCH1,
               DCH2, DCH3, and DSF6, (c) $27.60 per hour at DLA1, DLA2, DLA3, DLA4, and DLA7, (d) $28.70
               per hour at DLA8 and DLA9, (e) $28.50 per hour at DMI1, DMI2, and DMI3, (f) $27.80 per hour at
               DSD1 and DSD2, (g) $32.00 per hour at DSF3, (h) $32.50 per hour at DSF4 and DSF5, and (i) $28.00
               per hour at SAT5.

            6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
               experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
               will pay you (a) $189.60 per Training Route at DDA1, DDA2, and DDA3, (b) $194.35 per Training
               Route at DLA1, DLA2, DLA3, DLA4, DLA7, DLA8, and DLA9, (c) $160.00 per Training Route at
               DMI1, DMI2, and DMI3, (d) $179.01 per Training Route at DSD1 and DSD2, (e) $210.64 per Training
               Route at DSF3, (f) $214.67 per Training Route at DSF4 and DSF5, (g) $207.91 per Training Route at
               DSF6, and (h) $161.56 per Training Route at SAT5.




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                                            Attachment 1 to Part II of Schedule C

                                          Index Price
                                                                         Fuel Allowance
                                      (Dollars per Gallon)
                                    From                To              Dollars per Mile
                                    $1.20              $1.32                 $0.11
                                    $1.33              $1.45                 $0.12
                                    $1.46              $1.58                 $0.13
                                    $1.59              $1.71                 $0.14
                                    $1.72              $1.84                 $0.15
                                    $1.85              $1.97                 $0.16
                                    $1.98              $2.10                 $0.17
                                    $2.11              $2.23                 $0.18
                                    $2.24              $2.36                 $0.19
                                    $2.37              $2.49                 $0.20
                                    $2.50              $2.62                 $0.21
                                    $2.63              $2.75                 $0.22
                                    $2.76              $2.88                 $0.23
                                    $2.89              $3.01                 $0.24
                                    $3.02              $3.14                 $0.25
                                    $3.15              $3.27                 $0.26
                                    $3.28              $3.40                 $0.27
                                    $3.41              $3.53                 $0.28
                                    $3.54              $3.66                 $0.29
                                    $3.67              $3.79                 $0.30
                                    $3.80              $3.92                 $0.31
                                    $3.93              $4.05                 $0.32
                                    $4.06              $4.18                 $0.33
                                    $4.19              $4.31                 $0.34
                                    $4.32              $4.44                 $0.35
                                    $4.45              $4.57                 $0.36
                                    $4.58              $4.70                 $0.37
                                    $4.71              $4.83                 $0.38
                                    $4.84              $4.96                 $0.39
                                    $4.97              $5.09                 $0.40
                                    $5.10              $5.22                 $0.41
                                    $5.23              $5.35                 $0.42
                                    $5.36              $5.48                 $0.43
                                    $5.49              $5.61                 $0.44
                                    $5.62              $5.74                 $0.45
                                    $5.75              $5.87                 $0.46
                                    $5.88              $6.00                 $0.47




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                          EXHIBIT 18

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                                                     Sixteenth Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                    This Sixteenth Amendment to Work Order (this “Sixteenth Amendment”) is effective as of January
            1, 2017, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth
            Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as
            of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the Seventh
            Amendment to Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order, dated as of
            April 22, 2016, the Ninth Amendment to Work Order, dated as of May 11, 2016, the Tenth Amendment to
            Work Order, dated as of June 2, 2016, the Eleventh Amendment to Work Order, dated as of July 26, 2016,
            the Twelfth Amendment to Work Order, dated as of August 14, 2016, the Thirteenth Amendment to Work
            Order, dated as of August 28, 2016, the Fourteenth Amendment to Work Order, dated as of September 18,
            2016, and the Fifteenth Amendment to Work Order, dated as of September 18, 2016 (the “Work Order”),
            by and between Scoobeez, Inc., a California corporation (“you”) and Amazon Logistics, Inc., a Delaware
            corporation (“Amazon”). All capitalized terms used and not defined in this Sixteenth Amendment have the
            respective meanings assigned to such terms in the Delivery Provider Terms of Service to which you agreed
            on the Delivery Provider Platform (as the same may be amended, modified, or supplemented from time to
            time, the “Terms”).


                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Sixteenth Amendment and the terms of the Work Order, the terms of this Sixteenth Amendment will
            control.

                                                      [Signature Page Follows]




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                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Sixteenth Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name:    Penny Register-Shaw                          Name: Shahan Ohanessian
               Title: Director Contractor Relations                  Title:   CEO
                             January 17, 2017
               Date Signed: ____________________________                           January 17, 2017
                                                                     Date Signed: ____________________________




                                        [Signature Page to Sixteenth Amendment to Work Order]



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                                                             Schedule B

                                                        Distribution Points

                 1. DAU1 – Austin, TX

                 2. DCH1 – Alsip, IL

                 3. DCH2 – Chicago, IL

                 4. DCH3 – Lisle, IL

                 5. DDA1 – Farmers Branch, TX

                 6. DDA2 – Garland, TX

                 7. DDA3 – Ft. Worth, TX

                 8. DLA1 – Inglewood, CA

                 9. DLA2 – Buena Park, CA

                 10. DLA3 – Commerce, CA

                 11. DLA4 – Los Angeles, CA

                 12. DLA7 – Site location TBD

                 13. DLA8 – Hawthorne, CA

                 14. DLA9 – Irvine, CA

                 15. DMI1 – Miami, FL

                 16. DMI2 – Miami Gardens, FL

                 17. DMI3 – Miami, FL

                 18. DSD1 – San Diego, CA

                 19. DSD2 – Carlsbad, CA

                 20. DSF3 – San Jose, CA

                 21. DSF4 – San Leandro, CA

                 22. DSF5 – San Francisco, CA

                 23. DSF6 – Richmond, CA

                 24. SAT5 – San Antonio, TX




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                 25. UCA1 – San Francisco, CA

                 26. UCA2 – Redondo Beach, CA

                 27. UCA3 – Los Angeles, CA

                 28. UCA4 – Irvine, CA

                 29. UCA5 – Los Angeles, CA

                 30. UCA6 – San Diego, CA

                 31. UCA8 – Berkeley, CA

                 32. UCA9 – Sacramento, CA

                 33. UIL1 – Chicago, IL

                 34. UNV1 – Las Vegas, NV




                                                    Exhibit A - page 141
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                                                             Schedule C

                                                     Fees Payable by Amazon

            Part I – Prime Now

              Distribution       Duration of           Fees for Services   Uniform and          Total (per
              Point              Planned Route         (per Planned        Vehicle Brand        Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1               4.5 hours             $102.00             $5.00                $107.00
                                 6.5 hours             $155.50             $5.00                $160.50
                                 8.5 hours             $209.00             $5.00                $214.00
                                 10.5 hours            $262.50             $5.00                $267.50
              UCA2, UCA3,        4.5 hours             $86.04              $5.00                $91.04
              and UCA5           6.5 hours             $131.56             $5.00                $136.56
                                 8.5 hours             $177.08             $5.00                $182.08
                                 10.5 hours            $222.60             $5.00                $227.60
              UCA4, UCA6,        2 hours               $43.70              $5.00                $48.70
              and UCA9           4 hours               $92.40              $5.00                $97.40
                                 6 hours               $141.10             $5.00                $146.10
                                 8 hours               $189.80             $5.00                $194.80
                                 9 hours               $214.15             $5.00                $219.15
                                 10 hours              $238.50             $5.00                $243.50
              UCA8               4.5 hours             $97.60              $5.00                $102.60
                                 6.5 hours             $148.90             $5.00                $153.90
                                 8.5 hours             $200.20             $5.00                $205.20
                                 10.5 hours            $251.50             $5.00                $256.50
              UIL1               4.5 hours             $88.56              $5.00                $93.56
                                 5.5 hours             $111.95             $5.00                $116.95
                                 6.5 hours             $135.34             $5.00                $140.34
                                 8.5 hours             $182.12             $5.00                $187.12
                                 9.5 hours             $205.51             $5.00                $210.51
                                 10.5 hours            $228.90             $5.00                $233.90
              UNV1               4.5 hours             $73.00              $5.00                $78.00
                                 6.5 hours             $112.00             $5.00                $117.00
                                 8.5 hours             $151.00             $5.00                $156.00
                                 10.5 hours            $190.00             $5.00                $195.00


            At UCA8, in addition to the applicable Planned Route rate set forth in the table above, Amazon will pay
            you $5.00 per delivery for Amazon Fresh deliveries only, effective as of September 4, 2016.




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     Part II – Parcel

      Distribution Point   Duration/Type   Base Route Rate (per   Uniform and Vehicle   Dispatcher Fee (per   Fuel
                           of Planned      Planned Route)         Brand Promotion Fee   calendar week per     Allowance
                           Route                                  (per Planned Route)   Distribution Point)
      DAU1                 5.5 hours        $ 177.11              $5.00                 $1,450.00             See below.
                           6.5 hours        $ 184.55              $5.00
                           7.5 hours        $ 196.23              $5.00
                           8.5 hours        $ 216.05              $5.00
                           9.5 hours        $ 235.57              $5.00
                           10.5 hours       $ 279.00              $5.00
                           Same Day                               $5.00
                           Planned Route
                           (6.5 hours)      $ 184.55
      DCH1, DCH2,          5.5 hours       $190.00                $5.00                 $1,400.00             See below.
      and DCH3             6.5 hours       $210.00                $5.00
                           7.5 hours       $230.00                $5.00
                           8.5 hours       $250.00                $5.00
                           9.5 hours       $271.00                $5.00
                           10.5 hours      $294.00                $5.00
      DDA1, DDA2,          5.5 hours       $163.20                $5.00                 $1,450.00             See below.
      and DDA3             6.5 hours       $184.00                $5.00
                           7.5 hours       $194.50                $5.00
                           8.5 hours       $220.00                $5.00
                           9.5 hours       $244.00                $5.00
                           10.5 hours      $251.10                $5.00
      DLA1, DLA2,          5.5 hours       $174.40                $5.00                 $1,500.00             See below.
      DLA3, and DLA4       6.5 hours       $188.20                $5.00
                           7.5 hours       $202.00                $5.00
                           8.5 hours       $226.84                $5.00
                           9.5 hours       $248.92                $5.00
                           10.5 hours      $271.00                $5.00
                           Same Day        Your Vehicle:          $5.00
                           Planned Route   $222.00
                           (7 hours)
                                           Delivery Associate
                                           Personal Vehicle:
                                           $205.00
      DLA7                 5.5 hours       $180.25                $5.00                 $1,500.00             See below.
                           6.5 hours       $194.50                $5.00
                           7.5 hours       $208.75                $5.00
                           8.5 hours       $234.40                $5.00
                           9.5 hours       $257.20                $5.00
                           10.5 hours      $280.00                $5.00
                           Same Day        Your Vehicle:          $5.00
                           Planned Route   $222.00
                           (7 hours)
                                           Delivery Associate
                                           Personal Vehicle:
                                           $205.00
      DLA8 and DLA9        5.5 hours       $181.55                $5.00                 $1,500.00             See below.
                           6.5 hours       $195.90                $5.00
                           7.5 hours       $210.25                $5.00




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      Distribution Point   Duration/Type   Base Route Rate (per   Uniform and Vehicle   Dispatcher Fee (per   Fuel
                           of Planned      Planned Route)         Brand Promotion Fee   calendar week per     Allowance
                           Route                                  (per Planned Route)   Distribution Point)
                           8.5 hours       $236.08                $5.00
                           9.5 hours       $259.04                $5.00
                           10.5 hours      $282.00                $5.00
                           Same Day        Your Vehicle:          $5.00
                           Planned Route   $222.00
                           (7 hours)
                                           Delivery Associate
                                           Personal Vehicle:
                                           $205.00
      DMI1                 5.5 hours       $197.12                $5.00                 $1,450.00             See below.
                           6.5 hours       $202.55                $5.00
                           7.5 hours       $220.39                $5.00
                           8.5 hours       $233.83                $5.00
                           9.5 hours       $239.98                $5.00
                           10.5 hours      $249.98                $5.00
      DMI2 and DMI3        5.5 hours       $169.79                $5.00                 $1,450.00             See below.
                           6.5 hours       $181.29                $5.00
                           7.5 hours       $193.12                $5.00
                           8.5 hours       $211.92                $5.00
                           9.5 hours       $230.79                $5.00
                           10.5 hours      $248.25                $5.00
      DSD1 and DSD2        5.5 hours       $175.70                $5.00                 $1,400.00             See below.
                           6.5 hours       $189.60                $5.00
                           7.5 hours       $203.50                $5.00
                           8.5 hours       $228.52                $5.00
                           9.5 hours       $250.76                $5.00
                           10.5 hours      $273.00                $5.00
      DSF3                 5.5 hours       $203.00                $5.00                 $1,500.00             See below.
                           6.5 hours       $219.00                $5.00
                           7.5 hours       $235.00                $5.00
                           8.5 hours       $263.80                $5.00
                           9.5 hours       $289.40                $5.00
                           10.5 hours      $315.00                $5.00
      DSF4 and DSF5        5.5 hours       $206.25                $5.00                 $1,500.00             See below.
                           6.5 hours       $222.50                $5.00
                           7.5 hours       $238.75                $5.00
                           8.5 hours       $268.00                $5.00
                           9.5 hours       $294.00                $5.00
                           10.5 hours      $320.00                $5.00
      DSF6                 5.5 hours       $196.50                $5.00                 $1,500.00             See below.
                           6.5 hours       $212.00                $5.00
                           7.5 hours       $227.50                $5.00
                           8.5 hours       $255.40                $5.00
                           9.5 hours       $280.20                $5.00
                           10.5 hours      $305.00                $5.00
      SAT5                 5.5 hours       $164.06                $5.00                 $1,450.00             See below.
                           6.5 hours       $184.15                $5.00
                           7.5 hours       $195.60                $5.00
                           8.5 hours       $211.19                $5.00
                           9.5 hours       $230.12                $5.00
                           10.5 hours      $252.51                $5.00




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      Distribution Point   Duration/Type   Base Route Rate (per   Uniform and Vehicle    Dispatcher Fee (per   Fuel
                           of Planned      Planned Route)         Brand Promotion Fee    calendar week per     Allowance
                           Route                                  (per Planned Route)    Distribution Point)
                           Helper (if      $135.32                N/A
                           applicable)

            1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
               Planned Route that is actually performed by you.

            2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
               corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
               C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
               For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
               calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
               will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
               EIA       prices     used      to     calculate    the    Fuel      Allowance       can     be      found
               at http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
               average planned miles (based on Amazon’s route planning technology) for all Planned Routes
               originating from the applicable Distribution Point during the prior calendar month, provided that if
               there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
               be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
               for all Planned Routes originating from the applicable Distribution Point during the current calendar
               month.

            3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
               dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
               Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
               Fee set forth above on a weekly basis for each calendar week during which you actually provide a
               dispatcher in connection with performing Services. If, for any given calendar week, the daily average
               number of Planned Routes that you perform from a specific Distribution Point is greater than 30
               Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

            4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
               Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
               otherwise interacting with customers will wear a uniform that complies with the specifications set forth
               on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
               Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
               specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
               time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
               insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
               receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
               notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
               arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
               circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
               hours at a rate equal to (a) $29.00 per hour at DDA1, DDA2, and DDA3, (b) $31.00 per hour at DCH1,
               DCH2, DCH3, and DSF6, (c) $27.60 per hour at DLA1, DLA2, DLA3, DLA4, and DLA7, (d) $28.70
               per hour at DLA8 and DLA9, (e) $28.50 per hour at DMI1, DMI2, and DMI3, (f) $27.80 per hour at




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                 DSD1 and DSD2, (g) $32.00 per hour at DSF3, (h) $32.50 per hour at DSF4 and DSF5, (i) $28.00 per
                 hour at SAT5, and (j) $30.00 per hour at DAU1.

            6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
               experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
               will pay you (a) $189.60 per Training Route at DDA1, DDA2, and DDA3, (b) $194.35 per Training
               Route at DLA1, DLA2, DLA3, DLA4, DLA7, DLA8, and DLA9, (c) $160.00 per Training Route at
               DMI1, DMI2, and DMI3, (d) $179.01 per Training Route at DSD1 and DSD2, (e) $210.64 per Training
               Route at DSF3, (f) $214.67 per Training Route at DSF4 and DSF5, (g) $207.91 per Training Route at
               DSF6, (h) $161.56 per Training Route at SAT5, and (i) $173.63 per Training Route at DAU1.




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                                              Attachment 1 to Part II of Schedule C

                                            Index Price
                                                                           Fuel Allowance
                                        (Dollars per Gallon)
                                      From                To              Dollars per Mile
                                      $1.20              $1.32                 $0.11
                                      $1.33              $1.45                 $0.12
                                      $1.46              $1.58                 $0.13
                                      $1.59              $1.71                 $0.14
                                      $1.72              $1.84                 $0.15
                                      $1.85              $1.97                 $0.16
                                      $1.98              $2.10                 $0.17
                                      $2.11              $2.23                 $0.18
                                      $2.24              $2.36                 $0.19
                                      $2.37              $2.49                 $0.20
                                      $2.50              $2.62                 $0.21
                                      $2.63              $2.75                 $0.22
                                      $2.76              $2.88                 $0.23
                                      $2.89              $3.01                 $0.24
                                      $3.02              $3.14                 $0.25
                                      $3.15              $3.27                 $0.26
                                      $3.28              $3.40                 $0.27
                                      $3.41              $3.53                 $0.28
                                      $3.54              $3.66                 $0.29
                                      $3.67              $3.79                 $0.30
                                      $3.80              $3.92                 $0.31
                                      $3.93              $4.05                 $0.32
                                      $4.06              $4.18                 $0.33
                                      $4.19              $4.31                 $0.34
                                      $4.32              $4.44                 $0.35
                                      $4.45              $4.57                 $0.36
                                      $4.58              $4.70                 $0.37
                                      $4.71              $4.83                 $0.38
                                      $4.84              $4.96                 $0.39
                                      $4.97              $5.09                 $0.40
                                      $5.10              $5.22                 $0.41
                                      $5.23              $5.35                 $0.42
                                      $5.36              $5.48                 $0.43
                                      $5.49              $5.61                 $0.44
                                      $5.62              $5.74                 $0.45
                                      $5.75              $5.87                 $0.46
                                      $5.88              $6.00                 $0.47




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                          EXHIBIT 19

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                                                   Seventeenth Amendment
                                                        to Work Order
                                         under the Delivery Provider Terms of Service

                     This Seventeenth Amendment to Work Order (this “Seventeenth Amendment”) is effective as of
            April 9, 2017, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth
            Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as
            of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the Seventh
            Amendment to Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order, dated as of
            April 22, 2016, the Ninth Amendment to Work Order, dated as of May 11, 2016, the Tenth Amendment to
            Work Order, dated as of June 2, 2016, the Eleventh Amendment to Work Order, dated as of July 26, 2016,
            the Twelfth Amendment to Work Order, dated as of August 14, 2016, the Thirteenth Amendment to Work
            Order, dated as of August 28, 2016, the Fourteenth Amendment to Work Order, dated as of September 18,
            2016, the Fifteenth Amendment to Work Order, dated as of September 18, 2016, and the Sixteenth
            Amendment to Work Order, dated as of January 1, 2017 (the “Work Order”), by and between Scoobeez,
            Inc., a California corporation (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”).
            All capitalized terms used and not defined in this Seventeenth Amendment have the respective meanings
            assigned to such terms in the Delivery Provider Terms of Service to which you agreed on the Delivery
            Provider Platform (as the same may be amended, modified, or supplemented from time to time, the
            “Terms”).


                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Seventeenth Amendment and the terms of the Work Order, the terms of this Seventeenth Amendment
            will control.

                                                     [Signature Page Follows]




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                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Seventeenth Amendment.

               Amazon Logistics, Inc.                               Scoobeez, Inc.


               By:                                                  By:

               Name: Penny Register-Shaw                            Name: Shahan Ohanessian

               Title: Director Contractor Relations                 Title: CEO
                                                                                  April 11, 2017
               Date Signed: April 11, 2017
                            ____________________________            Date Signed: ____________________________




                                      [Signature Page to Seventeenth Amendment to Work Order]



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                                                             Schedule B

                                                       Distribution Points

                1. DAU1 – Austin, TX

                2. DCH1 – Alsip, IL

                3. DCH2 – Chicago, IL

                4. DCH3 – Lisle, IL

                5. DDA1 – Farmers Branch, TX

                6. DDA2 – Garland, TX

                7. DDA3 – Ft. Worth, TX

                8. DLA1 – Inglewood, CA

                9. DLA2 – Buena Park, CA

                10. DLA3 – Commerce, CA

                11. DLA4 – Los Angeles, CA

                12. DLA7 – Site location TBD

                13. DLA8 – Hawthorne, CA

                14. DLA9 – Irvine, CA

                15. DMI1 – Miami, FL

                16. DMI2 – Miami Gardens, FL

                17. DMI3 – Miami, FL

                18. DSD1 – San Diego, CA

                19. DSD2 – Carlsbad, CA

                20. DSF3 – San Jose, CA

                21. DSF4 – San Leandro, CA

                22. DSF5 – San Francisco, CA

                23. DSF6 – Richmond, CA

                24. SAT5 – San Antonio, TX




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                25. UCA1 – San Francisco, CA

                26. UCA2 – Redondo Beach, CA

                27. UCA3 – Los Angeles, CA

                28. UCA4 – Irvine, CA

                29. UCA5 – Los Angeles, CA

                30. UCA6 – San Diego, CA

                31. UCA8 – Berkeley, CA

                32. UCA9 – Sacramento, CA

                33. UIL1 – Chicago, IL

                34. UNV1 – Las Vegas, NV




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                                                             Schedule C

                                                    Fees Payable by Amazon

            Part I – Prime Now

             Distribution       Duration of           Fees for Services   Uniform and           Total (per
             Point              Planned Route         (per Planned        Vehicle Brand         Planned Route)
                                                      Route)              Promotion Fee
                                                                          (per Planned
                                                                          Route)
             UCA1               4.5 hours             $102.00             $5.00                 $107.00
                                6.5 hours             $155.50             $5.00                 $160.50
                                8.5 hours             $209.00             $5.00                 $214.00
                                10.5 hours            $262.50             $5.00                 $267.50
             UCA2, UCA3,        4.5 hours             $86.04              $5.00                 $91.04
             and UCA5           6.5 hours             $131.56             $5.00                 $136.56
                                8.5 hours             $177.08             $5.00                 $182.08
                                10.5 hours            $222.60             $5.00                 $227.60
             UCA4, UCA6,        2 hours               $43.70              $5.00                 $48.70
             and UCA9           4 hours               $92.40              $5.00                 $97.40
                                6 hours               $141.10             $5.00                 $146.10
                                8 hours               $189.80             $5.00                 $194.80
                                9 hours               $214.15             $5.00                 $219.15
                                10 hours              $238.50             $5.00                 $243.50
             UCA8               4.5 hours             $97.60              $5.00                 $102.60
                                6.5 hours             $148.90             $5.00                 $153.90
                                8.5 hours             $200.20             $5.00                 $205.20
                                10.5 hours            $251.50             $5.00                 $256.50
             UIL1               4.5 hours             $88.56              $5.00                 $93.56
                                5.5 hours             $111.95             $5.00                 $116.95
                                6.5 hours             $135.34             $5.00                 $140.34
                                8.5 hours             $182.12             $5.00                 $187.12
                                9.5 hours             $205.51             $5.00                 $210.51
                                10.5 hours            $228.90             $5.00                 $233.90
             UNV1               4.5 hours             $73.00              $5.00                 $78.00
                                6.5 hours             $112.00             $5.00                 $117.00
                                8.5 hours             $151.00             $5.00                 $156.00
                                10.5 hours            $190.00             $5.00                 $195.00


            At UCA8, in addition to the applicable Planned Route rate set forth in the table above, Amazon will pay
            you $5.00 per delivery for Amazon Fresh deliveries only, effective as of September 4, 2016.




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     Part II – Parcel


                                                              Uniform and          Dispatcher Fee
                            Duration/Type   Base Route        Vehicle Brand        (per calendar
             Distribution
                            of Planned      Rate (per         Promotion Fee        week per          Fuel Allowance
             Point
                            Route           Planned Route)    (per Planned         Distribution
                                                              Route)               Point)
                            5.5 hours               $198.36                $5.00
                            6.5 hours               $206.70               $5.00
                            7.5 hours               $219.78               $5.00
                            8.5 hours               $241.98               $5.00
             DAU1           9.5 hours               $263.84               $5.00          $1,800.00   See below.
                            10.5 hours              $312.48               $5.00
                            Same Day
                            Planned Route           $198.36               $5.00
                            (6.5 hours)
                            5.5 hours               $214.70               $5.00
                            6.5 hours               $237.30               $5.00
                            7.5 hours               $259.90               $5.00
                            8.5 hours               $282.50               $5.00
                DCH1        9.5 hours               $306.23               $5.00       $1,800.00         See below.
                            10.5 hours              $332.22               $5.00

                            Same Day
                            Planned Route           $222.60               $5.00
                            (6.5 hours)

                            5.5 hours               $212.80               $5.00
                            6.5 hours               $235.20               $5.00
                            7.5 hours               $257.60               $5.00
                            8.5 hours               $280.00               $5.00
              DCH2, and
                            9.5 hours               $303.52               $5.00       $1,800.00         See below.
               DCH3
                            10.5 hours              $329.28               $5.00
                            Same Day
                            Planned Route           $291.76               $5.00
                            (6.5 hours)
                            5.5 hours               $182.78               $5.00
                            6.5 hours               $206.08               $5.00
               DDA1,        7.5 hours               $217.84               $5.00
              DDA2, and     8.5 hours               $246.40               $5.00       $1,800.00         See below.
               DDA3
                            9.5 hours               $273.28               $5.00

                            10.5 hours              $281.23               $5.00




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                           Same Day
                           Planned Route            $182.78        $5.00
                           (5.5 hours)
                           5.5 hours                $190.34        $5.00
                           6.5 hours                $205.40        $5.00
                           7.5 hours                $220.46        $5.00
                           8.5 hours                $247.57        $5.00
                           9.5 hours                $271.67        $5.00
                           10.5 hours               $295.77        $5.00
             DLA1,
             DLA2,
                                            Your Vehicle:                     $1,800.00   See below.
             DLA3,
             DLA4                           $205.4

                           Same Day
                           Planned Route    Delivery               $5.00
                           (6 hours)        Associate
                                            Personal
                                            Vehicle:
                                            $205.40
                           5.5 hours                $194.37        $5.00
                           6.5 hours                $209.73        $5.00
                           7.5 hours                $225.09        $5.00
                           8.5 hours                $252.75        $5.00
                           9.5 hours                $277.33        $5.00
                           10.5 hours               $301.91        $5.00

             DLA8                           Your Vehicle:                     $1,800.00   See below.
                                            $194.36

                           Same Day
                           Planned Route    Delivery               $5.00
                           (6 hours)        Associate
                                            Personal
                                            Vehicle:
                                            $194.36
                           5.5 hours                $190.63        $5.00
                           6.5 hours                $205.70        $5.00
                           7.5 hours                $220.76        $5.00
                           8.5 hours                $247.88        $5.00
                           9.5 hours                $271.99        $5.00
             DLA9          10.5 hours               $296.10        $5.00      $1,800.00   See below.


                           Same Day         Your Vehicle:
                           Planned Route    $210.95                $5.00
                           (6 hours)




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                                            Delivery
                                            Associate
                                            Personal
                                            Vehicle:
                                            $210.95
                           5.5 hours                $206.25                 $5.00
                           6.5 hours                $222.50                 $5.00
                           7.5 hours                $238.75                 $5.00
                           8.5 hours                $268.00                 $5.00
                DSF4       9.5 hours                $294.00                 $5.00      $1,800.00         See below.
                           10.5 hours               $325.00                 $5.00

                           Same Day
                           Planned Route            $210.00                 $5.00
                           (5.5 hours)

                           5.5 hours                $233.96                 $5.00
                           6.5 hours                $252.40                 $5.00
                           7.5 hours                $270.83                 $5.00
                           8.5 hours                $304.01                 $5.00
                DSF5       9.5 hours                $333.51                 $5.00      $1,800.00         See below.
                           10.5 hours               $363.00                 $5.00

                           Same Day
                           Planned Route            $252.66                 $5.00
                           (5.5 hours)

                           5.5 hours                $183.75                 $5.00
                           6.5 hours                $206.25                 $5.00
                           7.5 hours                $219.07                 $5.00
                           8.5 hours                $236.53                 $5.00
                           9.5 hours                $257.73                 $5.00
                           10.5 hours               $282.81                 $5.00
                SAT5                                                                   $1,800.00         See below.
                           Helper (if
                                                    $135.32   N/A
                           applicable)

                           Same Day
                           Planned Route            $183.75                 $5.00
                           (5.5 hours)


            1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
               Planned Route that is actually performed by you.

            2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
               corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
               C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
               For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to




                                                   Exhibit A - page 156
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                calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
                will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
                EIA      prices     used     to    calculate    the    Fuel     Allowance       can   be    found    at
                http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
                average planned miles (based on Amazon’s route planning technology) for all Planned Routes
                originating from the applicable Distribution Point during the prior calendar month, provided that if
                there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
                be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
                for all Planned Routes originating from the applicable Distribution Point during the current calendar
                month.

            3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
               dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
               Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
               Fee set forth above on a weekly basis for each calendar week during which you actually provide a
               dispatcher in connection with performing Services. If, for any given calendar week, the daily average
               number of Planned Routes that you perform from a specific Distribution Point is greater than 30
               Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

            4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
               Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
               otherwise interacting with customers will wear a uniform that complies with the specifications set forth
               on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
               Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
               specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
               time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
               insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
               receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
               notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
               arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
               circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
               hours at a rate equal to (a) $29.00 per hour at DDA1, DDA2, and DDA3, (b) $31.00 per hour at DCH1,
               DCH2, DCH3, and DSF6, (c) $27.60 per hour at DLA1, DLA2, DLA3, DLA4, and DLA7, (d) $28.70
               per hour at DLA8 and DLA9, (e) $28.50 per hour at DMI1, DMI2, and DMI3, (f) $27.80 per hour at
               DSD1 and DSD2, (g) $32.00 per hour at DSF3, (h) $32.50 per hour at DSF4 and DSF5, (i) $28.00 per
               hour at SAT5, and (j) $30.00 per hour at DAU1.

            6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
               experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
               will pay you (a) $189.60 per Training Route at DDA1, DDA2, and DDA3, (b) $194.35 per Training
               Route at DLA1, DLA2, DLA3, DLA4, DLA7, DLA8, and DLA9, (c) $160.00 per Training Route at
               DMI1, DMI2, and DMI3, (d) $179.01 per Training Route at DSD1 and DSD2, (e) $210.64 per Training
               Route at DSF3, (f) $214.67 per Training Route at DSF4 and DSF5, (g) $207.91 per Training Route at
               DSF6, (h) $161.56 per Training Route at SAT5, and (i) $173.63 per Training Route at DAU1.




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                                             Attachment 1 to Part II of Schedule C

                                           Index Price
                                                                          Fuel Allowance
                                       (Dollars per Gallon)
                                     From                To              Dollars per Mile
                                     $1.20              $1.32                 $0.11
                                     $1.33              $1.45                 $0.12
                                     $1.46              $1.58                 $0.13
                                     $1.59              $1.71                 $0.14
                                     $1.72              $1.84                 $0.15
                                     $1.85              $1.97                 $0.16
                                     $1.98              $2.10                 $0.17
                                     $2.11              $2.23                 $0.18
                                     $2.24              $2.36                 $0.19
                                     $2.37              $2.49                 $0.20
                                     $2.50              $2.62                 $0.21
                                     $2.63              $2.75                 $0.22
                                     $2.76              $2.88                 $0.23
                                     $2.89              $3.01                 $0.24
                                     $3.02              $3.14                 $0.25
                                     $3.15              $3.27                 $0.26
                                     $3.28              $3.40                 $0.27
                                     $3.41              $3.53                 $0.28
                                     $3.54              $3.66                 $0.29
                                     $3.67              $3.79                 $0.30
                                     $3.80              $3.92                 $0.31
                                     $3.93              $4.05                 $0.32
                                     $4.06              $4.18                 $0.33
                                     $4.19              $4.31                 $0.34
                                     $4.32              $4.44                 $0.35
                                     $4.45              $4.57                 $0.36
                                     $4.58              $4.70                 $0.37
                                     $4.71              $4.83                 $0.38
                                     $4.84              $4.96                 $0.39
                                     $4.97              $5.09                 $0.40
                                     $5.10              $5.22                 $0.41
                                     $5.23              $5.35                 $0.42
                                     $5.36              $5.48                 $0.43
                                     $5.49              $5.61                 $0.44
                                     $5.62              $5.74                 $0.45
                                     $5.75              $5.87                 $0.46
                                     $5.88              $6.00                 $0.47




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                          EXHIBIT 20

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                                                    Eighteenth Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                     This Eighteenth Amendment to Work Order (this “Eighteenth Amendment”) is effective as of April
            30, 2017, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth
            Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as
            of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the Seventh
            Amendment to Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order, dated as of
            April 22, 2016, the Ninth Amendment to Work Order, dated as of May 11, 2016, the Tenth Amendment to
            Work Order, dated as of June 2, 2016, the Eleventh Amendment to Work Order, dated as of July 26, 2016,
            the Twelfth Amendment to Work Order, dated as of August 14, 2016, the Thirteenth Amendment to Work
            Order, dated as of August 28, 2016, the Fourteenth Amendment to Work Order, dated as of September 18,
            2016, the Fifteenth Amendment to Work Order, dated as of September 18, 2016, the Sixteenth Amendment
            to Work Order, dated as of January 1, 2017, and the Seventeenth Amendment to Work Order, dated as of
            April 9, 2017 (the “Work Order”), by and between Scoobeez, Inc., a California corporation (“you”) and
            Amazon Logistics, Inc., a Delaware corporation (“Amazon”). All capitalized terms used and not defined
            in this Eighteenth Amendment have the respective meanings assigned to such terms in the Delivery Provider
            Terms of Service to which you agreed on the Delivery Provider Platform (as the same may be amended,
            modified, or supplemented from time to time, the “Terms”).


                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Eighteenth Amendment and the terms of the Work Order, the terms of this Eighteenth Amendment
            will control.

                                                       [Signature Page Follows]




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                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Eighteenth Amendment.

               Amazon Logistics, Inc.                                 Scoobeez, Inc.


               By:                                                    By:
               Name: Penny Register-Shaw                              Name: Shahan Ohanessian
               Title: Director Contractor Relations                   Title: CEO
               Date Signed: May 5, 2017
                            ____________________________              Date Signed: May 2, 2017
                                                                                   ____________________________




                                        [Signature Page to Eighteenth Amendment to Work Order]



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                                                             Schedule B

                                                         Distribution Points

                 1. DAU1 – Austin, TX

                 2. DCH1 – Alsip, IL

                 3. DCH2 – Chicago, IL

                 4. DCH3 – Lisle, IL

                 5. DDA1 – Farmers Branch, TX

                 6. DDA2 – Garland, TX

                 7. DDA3 – Ft. Worth, TX

                 8. DLA1 – Inglewood, CA

                 9. DLA2 – Buena Park, CA

                 10. DLA3 – Commerce, CA

                 11. DLA4 – Los Angeles, CA

                 12. DLA7 – Site location TBD

                 13. DLA8 – Hawthorne, CA

                 14. DLA9 – Irvine, CA

                 15. DMI1 – Miami, FL

                 16. DMI2 – Miami Gardens, FL

                 17. DMI3 – Miami, FL

                 18. DSD1 – San Diego, CA

                 19. DSD2 – Carlsbad, CA

                 20. DSD3 – San Diego, CA

                 21. DSF3 – San Jose, CA

                 22. DSF4 – San Leandro, CA

                 23. DSF5 – San Francisco, CA

                 24. DSF6 – Richmond, CA




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                 25. SAT5 – San Antonio, TX

                 26. UCA1 – San Francisco, CA

                 27. UCA2 – Redondo Beach, CA

                 28. UCA3 – Los Angeles, CA

                 29. UCA4 – Irvine, CA

                 30. UCA5 – Los Angeles, CA

                 31. UCA6 – San Diego, CA

                 32. UCA8 – Berkeley, CA

                 33. UCA9 – Sacramento, CA

                 34. UIL1 – Chicago, IL

                 35. UNV1 – Las Vegas, NV




                                                     Exhibit A - page 163
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                                                             Schedule C

                                                      Fees Payable by Amazon

            Part I – Prime Now

              Distribution       Duration of            Fees for Services   Uniform and         Total (per
              Point              Planned Route          (per Planned        Vehicle Brand       Planned Route)
                                                        Route)              Promotion Fee
                                                                            (per Planned
                                                                            Route)
              UCA1               4.5 hours              $102.00             $5.00               $107.00
                                 6.5 hours              $155.50             $5.00               $160.50
                                 8.5 hours              $209.00             $5.00               $214.00
                                 10.5 hours             $262.50             $5.00               $267.50
              UCA2, UCA3,        4.5 hours              $86.04              $5.00               $91.04
              and UCA5           6.5 hours              $131.56             $5.00               $136.56
                                 8.5 hours              $177.08             $5.00               $182.08
                                 10.5 hours             $222.60             $5.00               $227.60
              UCA4, UCA6,        2 hours                $43.70              $5.00               $48.70
              and UCA9           4 hours                $92.40              $5.00               $97.40
                                 6 hours                $141.10             $5.00               $146.10
                                 8 hours                $189.80             $5.00               $194.80
                                 9 hours                $214.15             $5.00               $219.15
                                 10 hours               $238.50             $5.00               $243.50
              UCA8               4.5 hours              $97.60              $5.00               $102.60
                                 6.5 hours              $148.90             $5.00               $153.90
                                 8.5 hours              $200.20             $5.00               $205.20
                                 10.5 hours             $251.50             $5.00               $256.50
              UIL1               4.5 hours              $88.56              $5.00               $93.56
                                 5.5 hours              $111.95             $5.00               $116.95
                                 6.5 hours              $135.34             $5.00               $140.34
                                 8.5 hours              $182.12             $5.00               $187.12
                                 9.5 hours              $205.51             $5.00               $210.51
                                 10.5 hours             $228.90             $5.00               $233.90
              UNV1               4.5 hours              $73.00              $5.00               $78.00
                                 6.5 hours              $112.00             $5.00               $117.00
                                 8.5 hours              $151.00             $5.00               $156.00
                                 10.5 hours             $190.00             $5.00               $195.00


            At UCA8, in addition to the applicable Planned Route rate set forth in the table above, Amazon will pay
            you $5.00 per delivery for Amazon Fresh deliveries only, effective as of September 4, 2016.




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     Part II – Parcel


                                                                Uniform and          Dispatcher Fee
                             Duration/Type    Base Route        Vehicle Brand        (per calendar
              Distribution
                             of Planned       Rate (per         Promotion Fee        week per          Fuel Allowance
              Point
                             Route            Planned Route)    (per Planned         Distribution
                                                                Route)               Point)
                             5.5 hours                $198.36                $5.00
                             6.5 hours                $206.70               $5.00
                             7.5 hours                $219.78               $5.00
                             8.5 hours                $241.98               $5.00
              DAU1           9.5 hours                $263.84               $5.00          $1,800.00   See below.
                             10.5 hours               $312.48               $5.00
                             Same Day
                             Planned Route            $198.36               $5.00
                             (6.5 hours)
                             5.5 hours                $214.70               $5.00
                             6.5 hours                $237.30               $5.00
                             7.5 hours                $259.90               $5.00
                             8.5 hours                $282.50               $5.00
                 DCH1        9.5 hours                $306.23               $5.00       $1,800.00         See below.
                             10.5 hours               $332.22               $5.00

                             Same Day
                             Planned Route            $222.60               $5.00
                             (6.5 hours)

                             5.5 hours                $212.80               $5.00
                             6.5 hours                $235.20               $5.00
                             7.5 hours                $257.60               $5.00
                             8.5 hours                $280.00               $5.00
              DCH2, and
                             9.5 hours                $303.52               $5.00       $1,800.00         See below.
               DCH3
                             10.5 hours               $329.28               $5.00
                             Same Day
                             Planned Route            $291.76               $5.00
                             (6.5 hours)
                             5.5 hours                $182.78               $5.00
                             6.5 hours                $206.08               $5.00
               DDA1,         7.5 hours                $217.84               $5.00
              DDA2, and      8.5 hours                $246.40               $5.00       $1,800.00         See below.
               DDA3
                             9.5 hours                $273.28               $5.00

                             10.5 hours               $281.23               $5.00




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                            Same Day
                            Planned Route             $182.78        $5.00
                            (5.5 hours)
                            5.5 hours                 $190.34        $5.00
                            6.5 hours                 $205.40        $5.00
                            7.5 hours                 $220.46        $5.00
                            8.5 hours                 $247.57        $5.00
                            9.5 hours                 $271.67        $5.00
                            10.5 hours                $295.77        $5.00
              DLA1,
              DLA2,
                                              Your Vehicle:                     $1,800.00   See below.
              DLA3,
              DLA4                            $205.4

                            Same Day
                            Planned Route     Delivery               $5.00
                            (6 hours)         Associate
                                              Personal
                                              Vehicle:
                                              $205.40
                            5.5 hours                 $194.37        $5.00
                            6.5 hours                 $209.73        $5.00
                            7.5 hours                 $225.09        $5.00
                            8.5 hours                 $252.75        $5.00
                            9.5 hours                 $277.33        $5.00
                            10.5 hours                $301.91        $5.00

              DLA8                            Your Vehicle:                     $1,800.00   See below.
                                              $194.36

                            Same Day
                            Planned Route     Delivery               $5.00
                            (6 hours)         Associate
                                              Personal
                                              Vehicle:
                                              $194.36
                            5.5 hours                 $190.63        $5.00
                            6.5 hours                 $205.70        $5.00
                            7.5 hours                 $220.76        $5.00
                            8.5 hours                 $247.88        $5.00
                            9.5 hours                 $271.99        $5.00
              DLA9          10.5 hours                $296.10        $5.00      $1,800.00   See below.


                            Same Day          Your Vehicle:
                            Planned Route     $210.95                $5.00
                            (6 hours)




                                                     Exhibit A - page 166
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                                              Delivery
                                              Associate
                                              Personal
                                              Vehicle:
                                              $210.95
                            5.5 hours                 $188.99         $5.00
                            6.5 hours                 $201.99         $5.00
               DSD1,        7.5 hours                 $217.99         $5.00
              DSD2, and                                                       $1,800.00    See below.
               DSD3         8.5 hours                 $220.99         $5.00
                            9.5 hours                 $228.99         $5.00
                            10.5 hours                $279.99         $5.00
                            5.5 hours                 $206.25         $5.00
                            6.5 hours                 $222.50         $5.00
                            7.5 hours                 $238.75         $5.00
                            8.5 hours                 $268.00         $5.00
                 DSF4       9.5 hours                 $294.00         $5.00   $1,800.00    See below.
                            10.5 hours                $325.00         $5.00

                            Same Day
                            Planned Route             $210.00         $5.00
                            (5.5 hours)

                            5.5 hours                 $233.96         $5.00
                            6.5 hours                 $252.40         $5.00
                            7.5 hours                 $270.83         $5.00
                            8.5 hours                 $304.01         $5.00
                 DSF5       9.5 hours                 $333.51         $5.00   $1,800.00    See below.
                            10.5 hours                $363.00         $5.00

                            Same Day
                            Planned Route             $252.66         $5.00
                            (5.5 hours)

                            5.5 hours                 $183.75         $5.00
                            6.5 hours                 $206.25         $5.00
                            7.5 hours                 $219.07         $5.00
                            8.5 hours                 $236.53         $5.00
                            9.5 hours                 $257.73         $5.00
                            10.5 hours                $282.81         $5.00
                 SAT5                                                         $1,800.00    See below.
                            Helper (if
                                                      $135.32   N/A
                            applicable)

                            Same Day
                            Planned Route             $183.75         $5.00
                            (5.5 hours)




                                                     Exhibit A - page 167
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            1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
               Planned Route that is actually performed by you.

            2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
               corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
               C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
               For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
               calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
               will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
               EIA      prices     used     to    calculate    the    Fuel     Allowance       can   be      found    at
               http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
               average planned miles (based on Amazon’s route planning technology) for all Planned Routes
               originating from the applicable Distribution Point during the prior calendar month, provided that if
               there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
               be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
               for all Planned Routes originating from the applicable Distribution Point during the current calendar
               month.

            3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
               dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
               Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
               Fee set forth above on a weekly basis for each calendar week during which you actually provide a
               dispatcher in connection with performing Services. If, for any given calendar week, the daily average
               number of Planned Routes that you perform from a specific Distribution Point is greater than 30
               Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

            4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
               Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
               otherwise interacting with customers will wear a uniform that complies with the specifications set forth
               on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
               Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
               specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
               time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
               insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
               receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
               notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
               arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
               circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
               hours at a rate equal to (a) $29.00 per hour at DDA1, DDA2, and DDA3, (b) $31.00 per hour at DCH1,
               DCH2, DCH3, and DSF6, (c) $27.60 per hour at DLA1, DLA2, DLA3, DLA4, and DLA7, (d) $28.70
               per hour at DLA8 and DLA9, (e) $28.50 per hour at DMI1, DMI2, and DMI3, (f) $27.80 per hour at
               DSD1, DSD2 and DSD3, (g) $32.00 per hour at DSF3, (h) $32.50 per hour at DSF4 and DSF5, (i)
               $28.00 per hour at SAT5, and (j) $30.00 per hour at DAU1.

            6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
               experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
               will pay you (a) $189.60 per Training Route at DDA1, DDA2, and DDA3, (b) $194.35 per Training




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                 Route at DLA1, DLA2, DLA3, DLA4, DLA7, DLA8, and DLA9, (c) $160.00 per Training Route at
                 DMI1, DMI2, and DMI3, (d) $179.01 per Training Route at DSD1, DSD2 and DSD3, (e) $210.64 per
                 Training Route at DSF3, (f) $214.67 per Training Route at DSF4 and DSF5, (g) $207.91 per Training
                 Route at DSF6, (h) $161.56 per Training Route at SAT5, and (i) $173.63 per Training Route at DAU1.




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                                               Attachment 1 to Part II of Schedule C

                                            Index Price
                                                                            Fuel Allowance
                                        (Dollars per Gallon)
                                      From                To               Dollars per Mile
                                      $1.20              $1.32                  $0.11
                                      $1.33              $1.45                  $0.12
                                      $1.46              $1.58                  $0.13
                                      $1.59              $1.71                  $0.14
                                      $1.72              $1.84                  $0.15
                                      $1.85              $1.97                  $0.16
                                      $1.98              $2.10                  $0.17
                                      $2.11              $2.23                  $0.18
                                      $2.24              $2.36                  $0.19
                                      $2.37              $2.49                  $0.20
                                      $2.50              $2.62                  $0.21
                                      $2.63              $2.75                  $0.22
                                      $2.76              $2.88                  $0.23
                                      $2.89              $3.01                  $0.24
                                      $3.02              $3.14                  $0.25
                                      $3.15              $3.27                  $0.26
                                      $3.28              $3.40                  $0.27
                                      $3.41              $3.53                  $0.28
                                      $3.54              $3.66                  $0.29
                                      $3.67              $3.79                  $0.30
                                      $3.80              $3.92                  $0.31
                                      $3.93              $4.05                  $0.32
                                      $4.06              $4.18                  $0.33
                                      $4.19              $4.31                  $0.34
                                      $4.32              $4.44                  $0.35
                                      $4.45              $4.57                  $0.36
                                      $4.58              $4.70                  $0.37
                                      $4.71              $4.83                  $0.38
                                      $4.84              $4.96                  $0.39
                                      $4.97              $5.09                  $0.40
                                      $5.10              $5.22                  $0.41
                                      $5.23              $5.35                  $0.42
                                      $5.36              $5.48                  $0.43
                                      $5.49              $5.61                  $0.44
                                      $5.62              $5.74                  $0.45
                                      $5.75              $5.87                  $0.46
                                      $5.88              $6.00                  $0.47




                                                     Exhibit A - page 170
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                 EXHIBIT B
                             Exhibit B - page 171
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                                                                                consent, despite provision in lease giving lessor
                                                                                right of first refusal on any offer to purchase
     KeyCite Yellow Flag - Negative Treatment                                   lessee's business; right of first refusal did not
Disagreed With by Dick Broadcasting Co., Inc. of Tennessee v. Oak Ridge
                                                                                impose duty to consent to contemporaneous
FM, Inc., Tenn., January 17, 2013
                                                                                lease assignment.
                     84 Wash.App. 755
              Court of Appeals of Washington,                                   4 Cases that cite this headnote
                         Division 1.

       Elmer JOHNSON and his marital community;                           [2]   Contracts
        Robert Lenhart and his marital community;                                   Terms implied as part of contract
            d/b/a Little Deli Mart, Appellants,                                 Duty of good faith exists only in relation to
                             v.                                                 performance of specific contract terms, and does
            M.P. YOUSOOFIAN and Jane Doe                                        not obligate party to accept new obligations.
           Yousoofian, his wife, and the marital
                                                                                25 Cases that cite this headnote
        community composed thereof, Respondents.

                       No. 35860–0–I.                                     [3]   Contracts
                               |                                                    Terms implied as part of contract
                        Dec. 16, 1996.                                          Implied duty of good faith is derivative, in that
                               |                                                it applies to performance of specific contract
                 Order Granting in Part Motion                                  obligations; if there is no contractual duty, there
                   to Publish Jan. 29, 1997.                                    is nothing that must be performed in good faith.

Synopsis                                                                        30 Cases that cite this headnote
Lessees brought action for declaratory relief and damages for
breach of commercial lease and intentional interference with
business expectancy, based on lessor's failure to consent to              [4]   Landlord and Tenant
lease assignment. The Superior Court, King County, Sally                            Consent of Lessor, and Waiver Thereof
Passette, J., entered judgment in favor of lessor and denied                    Parties to lease are free to negotiate standard
lessee's motion to reconsider. Lessees appealed. The Court                      governing landlord's decision to grant or refuse
of Appeals, Coleman, J., held that: (1) lease requiring lessee                  consent to assignment.
to obtain lessor's consent to assignment imposed no implied
covenant of good faith requiring lessor to be reasonable                        1 Cases that cite this headnote
in refusing such consent, and (2) fact that lessor withheld
consent to assignment of lease did not support lessees' claim             [5]   Torts
of tortious interference with business expectancy.                                   Landlord and tenant
                                                                                Fact that lessor withheld consent to assignment
Affirmed.                                                                       of lease to prospective purchaser of lessee's
                                                                                business did not support lessees' claim of tortious
                                                                                interference with business expectancy, where
 West Headnotes (7)                                                             lease required that lessee obtain lessor's consent
                                                                                to any assignment and imposed no explicit duty
                                                                                on lessor to be reasonable in refusing such
 [1]      Landlord and Tenant                                                   consent.
              Reasonableness
          Lease containing unqualified requirement that                         3 Cases that cite this headnote
          lessee obtain lessor's consent to any assignment
          imposed no implied covenant of good faith                       [6]   Torts
          requiring lessor to be reasonable in refusing such


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                                                              U.S. Government Works.                                                  1
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             Business relations or economic advantage,             expectancy, because without Yousoofian's consent to the lease
        in general                                                 assignment, a prospective sale of the lessees' business failed
        Torts                                                      to close. We affirm.
             Contracts
        Torts
             Prospective advantage, contract or relations;                                      FACTS
        expectancy
                                                                   Johnson and Lenhart own and operate a business known as
        Prima facie elements of tortious interference
                                                                   Little Deli Mart, which includes a number of stores that sell
        with business expectancy are existence of valid
                                                                   sandwiches and deli food. In 1982, they opened the first Little
        contractual relationship or business expectancy;
                                                                   Deli Mart at 2701 Airport Way South, Seattle, Washington.
        knowledge of relationship or expectancy on part
                                                                   This property was and is owned by M.P. Yousoofian, who
        of interferer; intentional interference inducing
                                                                   granted Johnson and Lenhart a ten-year lease with an option
        or causing breach or termination of relationship
                                                                   for five additional years.
        or expectancy; that defendant interfered for
        improper purpose or used improper means; and
                                                                   Sometime in 1991, Johnson and Lenhart agreed that they
        resultant damage.
                                                                   would sell their Little Deli Mart stores one at a time. By
        1 Cases that cite this headnote                            letter dated November 25, 1991, however, the lessees wrote to
                                                                   Yousoofian to express their desire to enter into a new ten-year
                                                                   lease for the Airport Way property. Although Yousoofian was
 [7]    Torts                                                      initially only willing to grant the five-year extension under the
             Burden of proof                                       original lease, he ultimately agreed to a new ten-year lease,
        Once elements of tortious interference with                which was executed on May 6, 1992.
        business expectancy are established, interferer
        bears burden of legally justifying interference or         The new lease included an assignment clause that was
        establishing claim of privilege.                           identical to that of the original lease. Paragraph 12 provided
                                                                   in relevant part:
        1 Cases that cite this headnote
                                                                      *757 Lessee shall not ... assign this lease or any
                                                                     part thereof without the written consent of the Lessor,
                                                                     or Lessor's agents. In the event of any assignment so
Attorneys and Law Firms                                              consented to, a minimum charge of 10% of one month's
                                                                     rent shall be made by M.P. YOUSOOFIAN for their [sic
**922 *755 David Balint and David Gossard, De Funis &                ] services in transferring or assigning this lease, and shall
Balint, P.S., Seattle, for Appellants.                               be paid by Lessee. This lease shall not be assignable by
                                                                     operation of law.
Jeffrey Broihier,   Broihier    &   Wotipka,    Seattle,     for
Respondents.
                                                                   In June 1992, Johnson and Lenhart advised their real estate
                                                                   broker, Sam Yun, that they wished to sell the Airport Way
                                                                   business. Yun soon found a prospective purchaser, James
                         OPINION                                   Y. Lee, who agreed to purchase the business for $320,000,
                                                                   contingent upon Yousoofian's consent to a lease assignment.
*756 COLEMAN, Judge.
                                                                   The purchase agreement stated a closing date of September
Elmer Johnson and Robert Lenhart argue that the trial court        30, 1992. On August 18, 1992, the lessees sent a registered
erred in holding that their landlord, M.P. Yousoofian, had         letter to Yousoofian informing him of the purchase terms and
no implied duty to act in good faith under a lease provision       of his contractual right of first refusal, but they did not request
that prohibited assignment without the landlord's consent.         consent to assign the lease to Lee.
They also claim that the trial court erred in holding that
they failed to prove tortious interference with a business



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On July 27, 1992, the Airport Way building's insurer,
Unigard Insurance, had expressed concern to Yousoofian's           On November 4, 1992, Lee offered to further extend the sale
agent, Susan Thompson, about perceived structural problems.        closing date, but lowered his purchase offer to $300,000.
Thompson inspected the building with Yousoofian on August          Johnson and Lenhart rejected the offer. Their attorney again
21, 1992. Yousoofian informed Thompson that the lessees            wrote to Yousoofian's attorney requesting a consent to
would be making improvements on the building that would            assignment, offering $8,000 as consideration. Yousoofian
address Unigard's concerns. Thompson persuaded Unigard to          rejected this offer by letter dated November 9, 1992. The
continue insuring property. In an August 25, 1992, letter to       parties made no further communications.
the lessees, Yousoofian requested a prompt reply as to the
date they would begin remodeling the building, but he did not      On November 17, 1992, Johnson and Lenhart commenced
mention the proposed sale of the business to Lee.                  this action for declaratory relief and damages for breach
                                                                   of lease and intentional interference with business *759
When the lessees failed to respond to this letter, Yousoofian      expectancy. Six days later, the Lee purchase and sale
mailed it again on September 8, 1992, with a postscript            agreement was rescinded. On June 3, 1993, the court granted
again requesting response to the remodeling question. The          partial summary judgment for the lessees, holding that the
lessees replied by letter dated September 10, 1992, that they      lease contained no requirement that the lessees remodel the
intended to repair a sagging canopy, but the letter made           premises. The order provided that Yousoofian's right to refuse
no mention of remodeling the building. On September 21,            consent to assignment was governed by lease paragraph 12,
1992, Yousoofian's attorney wrote to the lessees, reiterating      and reserved all other issues for trial. Within two months,
his client's request **923 for a timetable of the expected         Yousoofian consented to an assignment of the remaining lease
remodel. Again, no reply followed.                                 term to another purchaser, who bought the Airport Way Store
                                                                   for $235,000.
 *758 On September 28, 1992, the lessees had still not
requested Yousoofian's consent to assignment. They signed          At trial, the court ruled that:
an addendum to the purchase and sale agreement with Lee,
extending the closing date to October 15, 1992. The lessees'
attorney then prepared a letter requesting Yousoofian's                         Paragraph 12 of the lease does
signature on an Assignment of Lease form. The letter, dated                     not impose an obligation on the
October 5, 1992, made no mention of remodeling.                                 Defendant to consent to assignment
                                                                                of the lease. Paragraph 12 rather
On October 9, 1992, Yousoofian's attorney wrote a letter to                     imposes a prohibition upon tenants
the lessees' attorney, stating that Yousoofian had relied on the                from assigning the lease without the
lessees' promise to remodel when he agreed to the new lease                     written consent of the landlord. Under
and that he would not discuss any lease assignment until the                    Paragraph 12, the Defendant was
remodel matter was resolved. The lessees did not reply to                       legally privileged to withhold consent.
this letter. On October 27, 1992, the lessees' attorney again
requested Yousoofian's written consent to assignment, but the
letter did not mention the remodel issue.                          The court added that the implied covenant of good
                                                                   faith imposed no duty to consent to any proposed
On October 27, 1992, a commercial lender approved Lee's            assignment without an express contractual obligation.
purchase loan request subject to receipt of the written consent    Holding additionally that the lessees had failed to prove
to lease assignment and a consent to encumber per Small            improper interference with a business expectancy, the court
Business Administration requirements. The lessees' attorney        awarded $25,000 in attorney fees to Yousoofian, subject to an
wrote to Yousoofian's attorney on October 30, 1992, again          offset of $7,500 for the lessees' fees in the partial summary
requesting consent to the assignment and offering to place         judgment proceeding. The award was made pursuant to a
$90,000 of the Little Deli Mart sale proceeds in escrow.           lease provision. The court denied the lessees' motion to
Yousoofian's attorney responded by letter dated November 4,        reconsider.
1992, that Yousoofian would not consent to any assignment
until the remodeling issue was resolved.



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                                                                              shall be made by the lessors for said
                                                                              assignment.”
                         ANALYSIS

 [1] The central issue here is whether the implied covenant
of good faith requires a landlord to be reasonable in refusing    Alwen, 131 Wash. at 79, 228 P. 851. The original tenants
consent to a lease assignment, when the lease prohibits           subsequently assigned the lease, with the landlord's consent,
assignment without the landlord's consent but imposes no          to John Alwen. Alwen, 131 Wash. at 79, 228 P. 851. Alwen
explicit standard of conduct.                                     then contracted to sell the lease to another party for $400.
                                                                  Alwen, 131 Wash. at 79, 228 P. 851. When Alwen sought
Paragraph 12 is an unqualified prohibition on assignment by       the landlord's consent to the *761 assignment, the landlord
the lessees without the landlord's consent. *760 The lessees      demanded $800 consideration, which Alwen paid under
argue that under the implied covenant of good faith, a landlord   protest. Alwen, 131 Wash. at 79, 228 P. 851. After the
may not arbitrarily refuse consent to proposed assignments.       assignment was complete, Alwen brought suit against the
Yousoofian argues that paragraph 12 imposes no obligation         landlord to recover $700, the difference between the amount
to consent to any assignment, so that he has no duty to           he paid the landlord and the assignment charge the lease
which the implied covenant of good faith can attach. Contract     required. Alwen, 131 Wash. at 79, 228 P. 851.
interpretation is a matter of law that this **924 court reviews
de novo on appeal. Absher Constr. Co. v. Kent School Dist.        The Supreme Court held that despite the provision for a ten
415, 77 Wash.App. 137, 890 P.2d 1071 (1995). We agree with        percent charge, the landlord had acted within his rights in
Yousoofian and affirm.                                            exacting greater consideration for his consent. Alwen, 131
                                                                  Wash. at 80, 228 P. 851. It reasoned that the lease, requiring
This issue was resolved by the Supreme Court in Alwen v.          the landlord's consent before the lease could be assigned,
Tramontin, 131 Wash. 78, 228 P. 851, 40 A.L.R. 551 (1924),        imposed no duty on the landlord. Alwen, 131 Wash. at 80–81,
and Coulos v. Desimone, 34 Wash.2d 87, 208 P.2d 105 (1949).       228 P. 851. Thus, imposing conditions on his consent was not
Both cases held that a lease's unqualified requirement of the     a legal basis for complaint, “however much [Alwen] or others
landlord's consent to the tenant's assignment imposes no duty     may think the exaction was not justified in morals.” Alwen,
on the landlord to be reasonable in refusing consent. Alwen,      131 Wash. at 80, 228 P. 851.
131 Wash. at 81, 228 P. 851; Coulos, 34 Wash.2d at 98–99,
208 P.2d 105. No subsequent Washington case has revisited         In 1949, the Supreme Court affirmed the view that a landlord's
the issue. But since Alwen and Coulos were decided, courts        consent may be arbitrarily refused. Coulos v. Desimone, 34
have recognized an implied duty to perform all contractual        Wash.2d at 99, 208 P.2d 105. The court acknowledged that
duties in good faith. E.g., Miller v. Othello Packers, Inc.,      lease covenants requiring the landlord's consent to assignment
67 Wash.2d 842, 844, 410 P.2d 33 (1966). The dispute here         are restraints on alienation and should be strictly construed.
centers on the effect of this development on the reasoning of     Coulos, 34 Wash.2d at 95, 208 P.2d 105. But it held that
Alwen and Coulos.                                                 because nothing in the contract qualified the prohibition on
                                                                  assignment without consent, the landlord had “the full and
In Alwen, tenants leased an apartment house for $1,000            arbitrary right to refuse to give his consent to an assignment,
per month. Alwen, 131 Wash. at 79, 228 P. 851. The lease          irrespective of the character of the proposed assignee and
contained an assignment clause almost identical to paragraph      although he is actuated by mere caprice or whim.' ” Coulos,
12 at issue in this case:                                         34 Wash.2d at 98, 208 P.2d 105 (quoting 32 Am.Jur. Landlord
                                                                  & Tenant, § 343 (1941)).

            “Neither this lease nor any part thereof               [2] Although Alwen and Coulos have never been expressly
            shall be assigned ... without the written             overruled, Johnson and Lenhart argue that the court's
            consent of the lessors, or their agents,              subsequent recognition of the implied duty of good faith
            being indorsed thereon. But in case an                and fair dealing in the performance of all contractual duties
            assignment of this lease is consented                 should alter their result. They concede that the duty of good
            to by said lessors, a charge of not to                faith “exists only in relation to the performance of specific
            exceed ten percent of one month's rent                contract terms and does not obligate [a] party to accept new



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                                                                      [5] This conclusion forecloses the lessees' argument that the
obligations,” citing Miller v. U.S. Bank of Washington, 72
                                                                     trial court erroneously dismissed their tortious interference
Wash.App. 416, 425, 865 P.2d 536 (1994). *762 But they
                                                                     claim. Because Yousoofian had an absolute privilege to refuse
argue that Yousoofian assumed the obligation to consent to
                                                                     consent to assignment under the lease, we affirm the judgment
reasonable assignments under the contract.
                                                                     for Yousoofian on this tort claim.
The lessees point to Yousoofian's contractual right of
                                                                     [6] [7] The tort of interference with a business expectancy
first refusal concerning any offer to purchase the Airport
                                                                    prohibits wrongful interference of valid contractual
Way store. They claim that, reading the contract as a
                                                                    expectancies by third parties. The prima facie elements
whole, **925 this provision is “rendered meaningless” if
                                                                    are: (1) the existence of a valid contractual relationship
Yousoofian has the right to thwart the sale of the business
                                                                    or business expectancy; (2) knowledge of the relationship
by refusing consent to assign the lease to the prospective
                                                                    or expectancy on the part of the interferor; (3) intentional
buyer. They conclude that the right of first refusal provision
                                                                    interference inducing or causing a breach or termination of the
proves that the lease contemplated the possible sale of the
                                                                    relationship or expectancy; (4) that the defendant interfered
Little Deli Mart, and thus imposes a duty to consent to a
                                                                    for an improper purpose or used improper means; and (5)
contemporaneous lease assignment.
                                                                    resultant damage. Sintra, Inc. v. City of Seattle, 119 Wash.2d
 [3] [4] The lessees' argument must fail. The implied duty 1, 28, 829 P.2d 765, cert. denied, Robinson v. City of Seattle,
of good faith is derivative, in that it applies to the performance  506 U.S. 1028, 113 S.Ct. 676, 121 L.Ed.2d 598 (1992). Once
of specific contract obligations. Miller, 72 Wash.App. at 426       these elements are established, the interferor bears the burden
                                                                    of legally justifying the interference or establishing a claim of
n. 5, 865 P.2d 536; see also Betchard–Clayton, Inc. v. King,
                                                                    privilege. Pleas v. City of Seattle, 112 Wash.2d 794, 774 P.2d
41 Wash.App. 887, 890, 707 P.2d 1361, review denied, 104
                                                                    1158 (1989).
Wash.2d 1027 (1985). If there is no contractual duty, there is
nothing that must be performed in good faith. Contrary to the
                                                                    The trial court held that Yousoofian was legally privileged to
lessees' characterization of the trial court's ruling in this case,
                                                                    withhold consent to assignment of the lease under paragraph
it did not create an exception to the good faith requirement
                                                                    12. Johnson and Lenhart's challenge to this conclusion is
for landlord-tenant leases. This lease simply does not impose
                                                                    based on the earlier partial summary judgment order, which
an obligation on the landlord to consent to any assignment
                                                                    rejected Yousoofian's claim for rescission for the lessees'
sought by the lessees. We observe that the parties to a lease are
                                                                    failure to remodel the premises. They claim that this order
free to negotiate a standard governing the landlord's decision
                                                                    removed Yousoofian's “only excuse” to refuse consent. While
to grant or refuse consent. See, e.g., Ernst Home Center,
                                                                    the order precluded Yousoofian from asserting the alleged
Inc. v. Sato, 80 Wash.App. 473, 476, 910 P.2d 486 (1996)
                                                                    oral agreement, paragraph 12 of the lease gives Yousoofian
(lease providing that consent to assignment “shall not be
                                                                    the right to refuse consent to any assignment for any reason.
unreasonably withheld”).

                                                                     We affirm.
Johnson and Lenhart correctly point out that a growing
number of courts have adopted the Restatement view
                                                                     The remainder of this opinion has no precedential value.
that landlords cannot unreasonably withhold consent under
                                                                     Therefore, it will be filed for public record in accordance with
assignment clauses like paragraph 12. Restatement of
                                                                     the rules governing unpublished opinions.
Property Second § 15.2(2) (1977). But this is the minority
view and contrary to established Washington law. This court
is bound by the holdings in Alwen and Coulos. While giving
landlords the right to arbitrarily refuse *763 consent to a          WEBSTER and COX, JJ., concur.
lease assignment may lead to harsh or inequitable results in
some cases, we are not at liberty to overrule Supreme Court          All Citations
precedent.
                                                                     84 Wash.App. 755, 930 P.2d 921


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                                                                       fact and moving party is entitled to judgment as
                                                                       matter of law.
                   80 Wash.App. 416
            Court of Appeals of Washington,                            1 Cases that cite this headnote
                      Division 2.

  Harold MAYER and Maralyn Mayer, husband and                    [2]   Contracts
  wife, and Harold Mayer, Inc., P.S., a Washington                         Existence of ambiguity
    professional service corporation, Appellants,                      Contracts
                          v.                                               Intention of Parties
      PIERCE COUNTY MEDICAL BUREAU,                                    Contracts
    INC., a Washington non-profit corporation,                             Construing whole contract together
      dba Pierce County Medical, Respondent.                           In construing written contract, basic principles
                                                                       require that intent of parties controls, court
                      No. 17941–5–II.                                  ascertains intent from reading contract as whole,
                             |                                         and court will not read ambiguity into contract
                       Dec. 19, 1995.                                  that is otherwise clear and unambiguous.
                             |
             Publication Ordered Feb. 9, 1996.                         41 Cases that cite this headnote

Synopsis
Physician brought breach of contract action against health       [3]   Contracts
care plan for cancelling his preferred provider status without             Ambiguity in general
due process. The Superior Court, Pierce County, Karen                  Interpretation of unambiguous contract is
Strombom, J., granted summary judgment for health care                 question of law.
plan, and physician appealed. The Court of Appeals, Seinfeld,
C.J., held that: (1) preferred participation agreement did             22 Cases that cite this headnote
not require arbitration; (2) plan's bylaw provision for due
process before terminating membership did not apply to           [4]   Judgment
cancellation of preferred provider status without termination              Contract cases in general
of membership in plan; and (3) statute requiring certified
                                                                       If contract is unambiguous, summary judgment
health plan to provide due process before terminating
                                                                       is proper even if parties dispute legal effect of
participation in program did not apply retroactively or codify
                                                                       certain provision.
preexisting common law.
                                                                       18 Cases that cite this headnote
Affirmed.

                                                                 [5]   Alternative Dispute Resolution
                                                                            Construction
 West Headnotes (16)                                                   Preferred participant agreement between
                                                                       physician and nonprofit health care plan could
 [1]    Judgment                                                       be cancelled by plan without arbitration, though
            Absence of issue of fact                                   agreement gave physician right to arbitration if
                                                                       he complained about utilization review, where
        Judgment
                                                                       physician did not request arbitration during
            Presumptions and burden of proof
                                                                       utilization review process or after he received
        Trial court may grant summary judgment only if,                notice of cancellation of his “preferred provider
        after viewing pleadings and record, and drawing                status”; duty of good faith did not require plan to
        all reasonable inferences in favor of nonmoving                initiate arbitration.
        party, it finds there is no genuine issue of material




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                                                                     effect after cancellation of his preferred provider
 [6]    Contracts                                                    status.
            Existence of ambiguity
        Contract provision is “ambiguous” when its
        terms are uncertain or when its terms are capable     [12]   Contracts
        of being understood as having more than one                      General and specific words and clauses
        meaning.
                                                                     When there is inconsistency between general
        33 Cases that cite this headnote                             and specific provision of contract, specific
                                                                     provision ordinarily qualifies meaning of general
                                                                     provision.
 [7]    Contracts
            Existence of ambiguity                                   4 Cases that cite this headnote
        Contract provision is not ambiguous merely
        because parties suggest opposing meanings.            [13]   Contracts
                                                                         Construction as a whole
        34 Cases that cite this headnote
                                                                     Interpretation of writing which gives effect to all
                                                                     of its provisions is favored over interpretation
 [8]    Contracts                                                    which renders some of language meaningless or
            Existence of ambiguity                                   ineffective.
        Ambiguity will not be read into contract where it
        can be reasonably avoided.                                   8 Cases that cite this headnote

        14 Cases that cite this headnote
                                                              [14]   Contracts
                                                                         Application to Contracts in General
 [9]    Contracts                                                    Application of principles for contract
            Terms implied as part of contract                        interpretation is predicated upon finding that
        Implied duty of good faith and fair dealing that             terms of contract are ambiguous or inconsistent.
        is part of every contract only arises in connection
        with terms agreed to by parties.                             8 Cases that cite this headnote

        1 Cases that cite this headnote
                                                              [15]   Health
                                                                          Membership or affiliation with
 [10]   Contracts                                                    organization; contractual relationship
            Option to renew or terminate contract                    Insurance
        Provisions for at will cancellation of agreement,                 Provider networks or other managed care
        although sometimes harsh, are enforceable.                   organizations
                                                                     Statute requiring notice and hearing before
                                                                     health plan can terminate provider's participation
 [11]   Health                                                       in program did not codify existing common-law
             Membership or affiliation with                          due process, so as to have retroactive effect.
        organization; contractual relationship                       West's RCWA 48.43.170.
        Health care plan's bylaw provision prohibiting
        cancellation of physician's participation in
        program without due process did not apply to          [16]   Statutes
        cancellation of his preferred provider status;                    Presumptions and inferences
        physician's participation agreement remained in              Absent contrary legislative intent, statutes are
                                                                     presumed to operate prospectively only.



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                                                                                  differences through binding arbitration
                                                                                  as set forth by the Board of Trustees.


Attorneys and Law Firms
                                                                    1        The term “utilization review” refers to the process of
 **1324 *417 Daniel R. Kyler, Rush, Hannula & Harkins,                       comparing a particular physician's services and charges
Tacoma, for Appellants.                                                      to the average services and charges for all physicians in a
                                                                             particular area of practice. In this way, the Bureau tracks
Jack G. Rosenow, Cheryl A. Asche, Rosenow, Johnson,                          the cost effectiveness of its health care providers.
Graffe, Keay, Pomeroy & Moniz, Tacoma, for Respondent.
                                                                    *419 The final two paragraphs of the Preferred Participant
Opinion                                                             Agreement provide:

*418 SEINFELD, Chief Judge.                                             This Preferred Participant Agreement is in addition to,
                                                                        and does not replace the Participant Agreement between
Dr. Harold Mayer appeals a summary judgment in favor of                 Corporation and Physician filed with the Bureau. All
the Pierce County Medical **1325 Bureau in this breach of               conditions and provisions of the Participant Agreement
contract action. Finding that the trial court properly construed        shall remain binding.
the contract, and that Mayer was not entitled to due process
before cancellation of his Preferred Provider status, we affirm.        THIS AGREEMENT shall be continuous unless and until
                                                                        cancelled by either party at any time, by giving thirty (30)
                                                                        days written notice to the other party hereto.

                            FACTS                                   In November 1991, the Bureau's medical director, Lester A.
                                                                    Reid, M.D., advised Mayer that he “ranked very high” in his
Dr. Mayer practiced internal medicine. In 1966 he became a
                                                                    specialty “in average services and charges per patient, or in
member of the Pierce County Medical Bureau (the Bureau), a
                                                                    specific types of services such as cardiovascular or laboratory
non-profit health care provider, that contracts with physicians
                                                                    services per patient.” Recognizing that the statistics may
and hospitals to provide benefits to its health plan subscribers.
                                                                    reflect “valid differences” among providers, Reid asked to
                                                                    review the records of particular patients. Mayer complied
In 1984, Mayer entered into a “Participation Agreement”
                                                                    with Reid's request.
with the Bureau. Later that year, he entered into a separate
“Preferred Participant Agreement” with the Bureau. In the
                                                                    On or before January 27, 1992, Mayer received a copy of his
latter, the Bureau agreed to compensate Mayer for his
                                                                    Medical Provider Activity Summary showing the Utilization
treatment of Preferred Provider subscribers. In turn, Mayer
                                                                    Review Committee's statistical findings concerning his
agreed to abide by a series of conditions set forth in six
                                                                    medical practice. The graphs in this document confirm that
numbered paragraphs in the Preferred Participant Agreement,
                                                                    Dr. Mayer's “dollar activity” and “services activity” were both
including:
                                                                    high when compared to the specialty average.

                                                                    On January 27, 1992, the Bureau notified Mayer that his
             2. The Preferred Participant agrees                    “level of practice [was] too costly” and, therefore, it was
             to utilization review. [ 1 ] To remain                 cancelling his status as a Preferred Participant as of March
             eligible for preferred participation, the              1, 1992. The letter said that the Bureau based its decision to
             Participant agrees to practice within                  terminate on the information it had gathered and evaluated
             the parameters of care established                     during the utilization review process, and that the cancellation
             by the Corporation, understanding                      did not affect Mayer's participating provider status with the
             that such care meets the criteria of                   Bureau.
             medical necessity, and to resolve any
                                                                    According to Mayer, without the benefit of Preferred
                                                                    Participant status, he could not afford to operate his private



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practice. Consequently, he closed his office and sought              Agreement required the Bureau to resolve any dispute arising
employment elsewhere.                                                from the utilization review through arbitration.

 *420 In December 1992, Mayer filed a complaint, alleging,            [6]    [7]    [8] A contract provision is ambiguous when
inter alia, that the Bureau's cancellation of his Preferred          its terms are uncertain or when its terms are capable of
Participant status breached the parties' contract. The parties       being understood as having more than one meaning. Shafer
filed cross motions for summary judgment. The trial court            v. Board of Trustees of Sandy Hook Yacht Club Estates,
granted the Bureau's motion with regard to the breach of             Inc., 76 Wash.App. 267, 275, 883 P.2d 1387 (1994), review
contract claim on September 20, 1993 and it denied Mayer's           denied, 127 Wash.2d 1003, 898 P.2d 308 (1995). A provision,
motion for reconsideration on October 1, 1993. Mayer                 however, is not ambiguous merely because the parties suggest
appeals these rulings.                                               opposing meanings. Shafer, 76 Wash.App. at 275, 883 P.2d
                                                                     1387. “[A]mbiguity will not be read into a contract where it
                                                                     can be reasonably avoided.” McGary v. Westlake Investors,
                                                                     99 Wash.2d 280, 285, 661 P.2d 971 (1983).
                         ANALYSIS

 [1] [2] A trial court may grant summary judgment only               The terms of the Preferred Participant Agreement are
if, after viewing the pleadings and record, and drawing all          not inconsistent or ambiguous. Paragraph 2 requires the
reasonable inferences in favor of the non-moving party, it           physician, as a condition to remaining eligible as a preferred
 **1326 finds there is no genuine issue of material fact and         provider, to (1) submit to utilization review; (2) practice
the moving party is entitled to judgment as a matter of law.         within the parameters of care established by the Bureau;
Higgins v. Stafford, 123 Wash.2d 160, 168–69, 866 P.2d 31            and (3) resolve any “differences” presumably arising from
(1994). In construing a written contract, the basic principles       the utilization review through binding arbitration. The final
require that (1) the intent of the parties controls; (2) the court   paragraph, on the other hand, provides that the agreement will
ascertains the intent from reading the contract as a whole;          “be continuous unless and until cancelled by either party at
and (3) a court will not read an ambiguity into a contract that      any time, by giving thirty (30) days notice to the other party
is otherwise clear and unambiguous. Felton v. Menan Starch           hereto.”
Co., 66 Wash.2d 792, 797, 405 P.2d 585 (1965).
                                                                 St. Yves v. Mid State Bank, 111 Wash.2d 374, 377, 757 P.2d
 [3]    [4] Interpretation of an unambiguous contract is a 1384 (1988), presents a similar issue. The contract there
question of law. Absher Constr. Co. v. Kent School District      contained a clause allowing for termination of employment
No. 415, 77 Wash.App. 137, 141, 890 P.2d 1071 (1995). “If a      at will and another clause setting forth the employee's term
contract is unambiguous, summary judgment is proper even         of employment. The St. Yves court found that the two clauses
if the parties dispute the legal effect of a certain provision.” dealt with two separate contractual rights and that the term
Voorde Poorte v. Evans, 66 Wash.App. 358, 362, 832 P.2d 105      clause created only a “presumptive term of employment,”
(1992).                                                          which the Bank could terminate by the procedures set forth in
                                                                 the termination clause. St. Yves, 111 Wash.2d at 374–75, 757
                                                                 P.2d 1384.

                               I
                                                                     Reading the Preferred Participant Agreement as a whole,
                                                                     it is apparent that the contested provisions here, as *422
            AMBIGUITY IN THE CONTRACT                                in St. Ives, govern two separate issues. Paragraph 2 is
                                                                     one of six paragraphs that impose certain conditions the
 [5] Mayer contends that paragraph 2 and the final paragraph         Preferred Participant must satisfy to retain his status. The final
are ambiguous and conflict with one another. As the                  paragraph governs cancellation of the agreement, granting
non-drafting party, he argues that any ambiguity in the              both parties the right to cancel the agreement upon thirty
contractual language should be resolved in his favor. *421           days notice. The wording and placement of the contested
See Wise v. Farden, 53 Wash.2d 162, 168, 332 P.2d 454                provisions within the agreement show the parties' intent to
(1958). Accordingly, he argues that the Preferred Participant        trigger the arbitration requirement if and when the Preferred
                                                                     Participant complained about utilization review and the



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intent that the final paragraph modify the entire agreement,              meeting regularly called for the purpose for acts and
including paragraph 2.                                                    conduct deemed prejudicial to the best interests of
                                                                          the corporation and members thereof, provided that
Although the Bureau used its utilization review process to                such member shall first have been served with written
                                                                          notice of the accusations against him and shall have
determine that Mayer's “level of practice [was] too costly,”
                                                                          been given an opportunity to produce his witnesses, if
Mayer did not pursue his contractual right to arbitration.
                                                                          any, and to be heard at the meeting at which such vote
He did not request arbitration during the utilization review
                                                                          is taken.
process or after he **1327 received notice of cancellation
of his Preferred Provider status.                                [14] Application of these principles, however, is predicated
                                                                upon a finding that the terms of the contract are ambiguous
 [9] [10] Finally, although an implied duty of good faith or inconsistent. See International Bhd. of Boilermakers, 28
and fair dealing is part of every contract, this duty only      Wash.2d at 541, 183 P.2d 504; Newsom, 42 Wash.2d at 731,
arises in connection with terms agreed to by the parties.       258 P.2d 812. As the contract terms here are unambiguous
Badgett v. Security State Bank, 116 Wash.2d 563, 569, 807       and consistent, it would be inappropriate for us to apply these
P.2d 356 (1991). As the Bureau did not agree to initiate        interpretative rules.
arbitration, the duty of good faith did not require it to do
so. Provisions providing for the at will cancellation of an     Nor do we find merit in Mayer's claim that the Bureau's
agreement, although sometimes harsh, are enforceable in this    Bylaws prohibit the cancellation of Mayer's Preferred
State. See Thompson v. St. Regis Paper Co., 102 Wash.2d 219,    Provider status without due process. Despite Mayer's
233, 685 P.2d 1081 (1984). Thus, the trial court did not err in assertions to the contrary, the Bureau did not terminate
granting the Bureau summary judgment as a matter of law.        Mayer's membership in the Bureau when it cancelled the
                                                                Preferred Participant Agreement. Accordingly, article VI,
                                                                section 6 of the Bylaws is inapplicable.

                             II

                                                                                            *424 III
       DUE PROCESS: THE BUREAU'S BYLAWS

 [11]    [12]     [13] Mayer also contends that the Bureau's DUE PROCESS: COMMON LAW AND RCW 48.43.170
cancellation of the agreement denied him due process rights
explicitly guaranteed by the arbitration clause of the Preferred  [15]    Mayer contends that RCW 48.43.170 codifies
                                                                 previously existing principles of common law due process.
Participant *423 Agreement and by the Bureau's Bylaws. 2
                                                                 That statute provides, in relevant part:
As support, he cites two principles of general contract
construction: (1) when there is an inconsistency between
a general and a specific provision, the specific provision
ordinarily qualifies the meaning of the general provision,                    If a certified health plan uses
Washington Local Lodge No. 104 of Int'l Bhd. of Boilermakers                  unpublished criteria to judge the
v. International Bhd. of Boilermakers, 28 Wash.2d 536,                        quality and cost-effectiveness of a
541, 183 P.2d 504 (1947) (quoting Restatement of the                          health care provider's practice under
Law of Contracts 327, § 236(c)); and (2) courts favor the                     any specific program within the
interpretation of a writing which gives effect to all of its                  plan, the plan may not reject or
provisions over an interpretation which renders some of the                   terminate the provider participating
language meaningless or ineffective. Newsom v. Miller, 42                     in that program based upon such
Wash.2d 727, 731, 258 P.2d 812 (1953).                                        criteria until the provider has been
                                                                              informed of the criteria that his or
2                                                                             her practice fails to meet and is given
        Article VI, section 6 of the Bureau's Bylaws provides:
                                                                              reasonable opportunity to conform to
           Expulsion. Any member may be suspended from
                                                                              such criteria.
         membership in the corporation by a majority vote
         of the Board of Trustees of the corporation at any




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RCW 48.43.170(2). Although clearly applicable to the                before he can be expelled. Schroeder, 36 Wash.2d at 933, 221
circumstances in this case, Mayer concedes that this                P.2d 544.
legislation did not take effect until 1993, one year after
the Bureau cancelled the Preferred Participant Agreement.           Here, however, Mayer's membership in the Bureau is not at
Nonetheless, he contends that the Legislature's adoption of         issue; the Preferred Participant Agreement expressly states
this statute provides support for his claim that pre-existing       that it does not supplant the Participation Agreement between
common law principles required the Bureau to extend Mayer           the Participant and the Bureau. Similarly, the Bureau's letter
                                                                    of cancellation states that Mayer's Participation Agreement
similar due process rights. See Needelman v. Dade County
                                                                    with the Bureau remains intact.
Medical Ass'n, 205 So.2d 17, 19–20 (Fla.Dist.Ct.App.1967),
cert. denied, 211 So.2d 211 (Fla.1968).
                                                                    Mayer also cites to cases from other jurisdictions. Those,
                                                                    however, also all deal with the due process rights afforded to a
 **1328 [16] Absent contrary legislative intent, statutes are
                                                                    member who is being expelled from an organization, which is
presumed to operate prospectively only. Adcox v. Children's
                                                                    not the case here. Thus, they do not support Mayer's theories
Orthopedic Hosp., 123 Wash.2d 15, 30, 864 P.2d 921 (1993).
                                                                    that the common law recognizes such rights or that RCW
Mayer offers no authority suggesting that the Legislature
                                                                    48.43.170 codified pre-existing common law rights.
intended RCW 48.43.170 to have a retroactive impact.

                                                                    The trial court did not err in determining that the Bureau
Mayer's contention that RCW 48.43.170 codifies pre-existing
                                                                    did not breach its contract with Mayer by cancelling his
common law, while creative, is not persuasive. The only
                                                                    preferred provider status without first providing notice and an
marginal support for this proposition in Washington, *425
                                                                    opportunity to be heard. Consequently, we affirm.
Schroeder v. Meridian Improvement Club, 36 Wash.2d 925,
221 P.2d 544 (1950), addressed the merits of a by-law
provision that cancelled a person's membership for failure to
pay dues. The Schroeder court concluded that such a by-law          BRIDGEWATER, J., and WIGGINS, J. Pro Tem., concur.
provision could be self-executing, but noted that a member
facing expulsion for a “crime or misconduct inimical to the         All Citations
organization's being” must be afforded notice and hearing
                                                                    80 Wash.App. 416, 909 P.2d 1323

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      Case 2:19-bk-14989-WB                      Doc 393 Filed 10/28/19 Entered 10/28/19 12:10:45                                             Desc
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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 Morgan Lewis & Bockius, LLP
 300 S Grand Ave FI 22, Los Angeles CA 90071-3132

A true and correct copy of the foregoing document entitled (specify): Amazon Logistics, Inc.'s Notice of Motion and
 Motion for An Order: (A) Determining That the Automatic Stay Does Not Reguire Amazon to Utilize Debtor's Services,
 and (B) Modifying the Automatic Stay: Memorandum of Points and Authorities and Request to Take Judicial Notice in
 Support Thereof
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______            , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                        D Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date)                      , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed iio later than 24 hours after the document is filed.




                                                                                        D Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY. OVERNIGHT MAIL. FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 10/28/2019           , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

The Hon. Julia W. Brand, Suite 1382
U.S. Bankruptcy Court, Roybal Federal Building
255 E Temple St, Los Angeles CA 90012

                                                                                        D Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

10/28/2019         Renee Robles                                                                        ~~
 Oate                      Printed Name                                                           Signature



            This form is mandatory.   It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                             F 9013-3.1.PROOF .SERVICE
